         1        JAMES L. DAY (WSBA #20474)                      HONORABLE WHITMAN L. HOLT
                  LESLEY BOHLEBER (WSBA #49150)
         2        BUSH KORNFELD LLP
                  601 UNION STREET, SUITE 5000
         3        SEATTLE, WA 98101
                  Tel: (206) 292-2110
         4        jday@bskd.com;
                  lbohleber@bskd.com
         5

         6

         7
                                        UNITED STATES BANKRUPTCY COURT
         8                              EASTERN DISTRICT OF WASHINGTON
         9        In re                                       Chapter 11
       10         AMITY COURT LLC,                            Case No. 25-00240-WLH

       11                                    Debtor.          DECLARATION OF STANLEY XU IN
                                                              SUPPORT OF FIRST DAY MOTIONS
       12

       13                 Stanley Xu declares as follows:
       14                 1.    I am the authorized person and indirect 50% owner of Amity Court LLC
       15         (the “Debtor”). I have personal knowledge of the facts set forth in this declaration and
       16         I am competent to testify to the same. I make this declaration in support of the
       17         Debtor’s first day motions in this case (together, the “Emergency Motions”), including:
       18                 A. Debtor’s Emergency Motion for Order Approving Adequate Assurance to
                             Utilities (the “Utilities Motion”);
       19

       20
                          B. Debtor’s Emergency Motion for Order (1) Authorizing Interim Use of Cash
                             Collateral, (2) Granting Adequate Protection, and (3) Setting Final Hearing
       21                    (the “Cash Collateral Motion”); and

       22                 C. Debtor’s Emergency Motion for Order Authorizing Continued Use of
                             Prepetition Bank Account and Checks (the “Bank Account Motion”).
       23

                                                                                   B USH K ORN FELD L LP
                  DECLARATION OF STANLEY XU IN SUPPORT OF FIRST DAY                         LAW OFFICES
                  MOTIONS – Page 1                                                     601 Union St., Suite 5000
                                                                                    Seattle, Washington 98101-2373
                                                                                       Telephone (206) 292-2110
                                                                                       Facsimile (206) 292-2104
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             25-00240-WLH11        Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51     Pg 1 of 189
         1              Capitalized terms not otherwise defined in this declaration have the same
         2        meaning as in the Emergency Motions.
         3        Background on Debtor’s Operations
         4              2.    The Debtor’s sole member is X & C Holdings LLC (“XC Holdings”). My
         5        wife, Nanling Chen, and I are each 50% members and co-managers of XC Holdings. I
         6        am the person primarily responsible for all business and management decisions of the
         7        Debtor.
         8              3.    The Debtor has no employees.
         9              4.    The Debtor owns a two-story 17,286 SF office building located at 14400
       10         NE Bellevue-Redmond Road, Bellevue, Washington, 98007, with a legal description of
       11               That portion of the Southwest Quarter of the Northeast Quarter of Section
                        27, Township 25 North, Range 5 East, Willamette Meridian, in King
       12
                        County, Washington, described as follows:
       13
                        Beginning on the East line of said subdivision at its intersection with the
       14               Northerly line of the Bellevue-Redmond Road;

       15               Thence North 00°58'16" East along said East line 280.00 feet to the True
                        Point of Beginning; Thence North 88°16'05" West parallel to the North line
       16               of said section 150.00 feet;
       17               Thence South 00°58'16" West parallel to the East line of said subdivision to
                        the Northerly margin of Northup Road (Bellevue-Redmond Road);
       18
                        Thence Easterly along said margin to the East line of said subdivision;
       19

       20
                        Thence North 00°58'16" East along said East line to the True Point of
                        Beginning.
       21
                        Situate in the County of King, State of Washington.
       22
                  (the “Property”).
       23

                                                                                   B USH K ORN FELD L LP
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             25-00240-WLH11       Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51      Pg 2 of 189
         1              5.     The Debtor purchased the Property in September 2021 for $9.5 million,
         2        $5 million of which was financed by Axos Bank (“Axos”). An appraisal prepared on
         3        September 30, 2024 by Colliers International, which Axos caused to be prepared,
         4        values the real property and improvements at $7,780,000. A true and correct copy of
         5        the appraisal is attached hereto as Exhibit A.
         6              6.     Currently, 22 of the 24 offices are leased generating approximately
         7        $35,000 in rents each month (the “Rents”). The Property is managed by Longwell
         8        Company pursuant to a Commercial Property Management Agreement, dated August
         9        15, 2021, between Longwell Company (“Longwell”) and the Debtor. My wife and I
       10         are also each 50% owners of Longwell Company. I am the president and my wife is the
       11         vice president of Longwell Company.
       12               The Axos Loan
       13               7.     On or about September 22, 2021, Axos made a loan to the Debtor in the
       14         amount of $5,000,000 (the “Loan”), evidenced by a Secured Promissory Note (the
       15         “Note”) and secured by a Deed of Trust, Assignment of Leases and Rents, Security
       16         Agreement and Fixture Filing of even date (the “Deed of Trust”) that encumbers the
       17         Property. True and correct copies of the Note and Deed of Trust are attached to this
       18         declaration as Exhibits B and C, respectively.
       19               8.     XC Holdings, Nanling, and I each executed a Guaranty Agreement, dated
       20         September 22, 2021. A true and correct copy of the Guaranty Agreement is attached
       21         hereto as Exhibit D.
       22               9.     Under Section 4.5 of the Note, the Debtor was entitled to extend the
       23         maturity date of the loan for one year, from October 1, 2024, through October 1, 2025.

                                                                                   B USH K ORN FELD L LP
                  DECLARATION OF STANLEY XU IN SUPPORT OF FIRST DAY                         LAW OFFICES
                  MOTIONS – Page 3                                                     601 Union St., Suite 5000
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             25-00240-WLH11       Doc 10    Filed 02/19/25   Entered 02/19/25 16:03:51     Pg 3 of 189
         1        The Debtor made the required extension request by letter dated July 15, 2024, but Axos
         2        never responded to the letter, and never advised the Debtor what, if anything, it needed
         3        to do to consummate the extension. Ultimately, Axos did not extend the Loan, despite
         4        the rights the Debtor held under Section 4.5 of the Note.
         5              10.    On January 24, 2025, Axos filed a Complaint for Appointment of General
         6        Receiver (the “Complaint”) in the Superior Court of the State of Washington for King
         7        County, in the case styled Axos Bank v. Amity Court LLC, case no. 25-2-02385-1-SEA
         8        (the “Receivership Action”). On January 27, 2025, Axos moved for the appointment of
         9        general receiver.
       10               11.    The Debtor filed this bankruptcy case to preserve the equity in the
       11         Property and to consummate a sale of the Property to pay Axos in full.
       12               12.    As of January 3, 2025, Axos alleges the estimated total amount due on the
       13         Loan is $5,629,380.77. I have been unable to verify the payoff amount because I have
       14         not received monthly statements from Axos detailing the amount of interest due,
       15         despite repeated requests to Axos.
       16         Use of Cash Collateral
       17               13.    The Debtor seeks to use Cash Collateral, as that term is defined in the
       18         Debtor’s Emergency Motion for Order (1) Authorizing Interim Use of Cash Collateral,
       19         (2) Approving Adequate Protection and (3) Setting Final Hearing in accordance with
       20         the budget (the “Budget”) attached to this declaration as Exhibit E. No payments will
       21         be made to insiders under the proposed budget, with one exception: the property
       22         manager is Longwell, a related entity having common ownership with the Debtor.
       23

                                                                                   B USH K ORN FELD L LP
                  DECLARATION OF STANLEY XU IN SUPPORT OF FIRST DAY                        LAW OFFICES
                  MOTIONS – Page 4                                                    601 Union St., Suite 5000
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                                                                                      Telephone (206) 292-2110
                                                                                      Facsimile (206) 292-2104
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             25-00240-WLH11       Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51     Pg 4 of 189
         1              14.     As of the Petition Date, the Debtor was holding cash in the amount of
         2        $33,279.06.
         3              15.     The Budget contains the projected cash expenses for the interim period
         4        and for final Cash Collateral use. The Budget tracks the Debtor’s working cash
         5        collateral base, which secures Axos’ prepetition liens.
         6              16.     The Debtor has insufficient funds to operate unless it uses Cash Collateral,
         7        as it holds no unencumbered funds and does not have sources of unencumbered funds.
         8        The present circumstances require the Debtor to use Cash Collateral in order to
         9        maintain its ongoing business for the benefit of its estate and creditors. The use of
       10         Cash Collateral will allow the Debtor to continue to operate and to preserve the
       11         Property, thereby allowing creditors the best opportunity to recover on their claims.
       12               17.     To assure that Axos’ interests are adequately protected and to assure no
       13         diminution in value of its collateral, the Debtor proposes to grant (to the extent
       14         necessary) the Replacement Liens in Postpetition Collateral of the same type in which
       15         its prepetition lien attached to the Prepetition Collateral, in the same priority and
       16         validity as its prepetition liens, as necessary to secure the diminution in Axos’ interests,
       17         if any, as a result of the Debtor’s use of Cash Collateral.
       18               18.     The Debtor will also provide for maintenance of insurance on the
       19         Prepetition Collateral.
       20               19.     The Cash Collateral Motion must be heard on an emergency basis to avoid
       21         irreparable harm to the Debtor and its estate. Without immediate use of cash collateral,
       22         the Debtor will not have the funds necessary to pay the expenses necessary for the
       23

                                                                                     B USH K ORN FELD L LP
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             25-00240-WLH11        Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51       Pg 5 of 189
         1        continued operation of the Debtor’s business and the management and preservation of
         2        the Debtor’s assets and property.
         3        Utilities
         4                20.   The Utility Providers listed on Exhibit A to the Utilities Motion provided
         5        utility services to the Debtor prior to the Petition Date. The continuation of those utility
         6        services is crucial to the Debtor’s continued operations and reorganization, and the
         7        Debtor may suffer irreparable harm if the relief requested in the Utilities Motion is not
         8        granted. The Debtor intends to timely and fully pay all post-petition amounts owed to
         9        its Utility Providers.
       10                 21.   As adequate assurance of future payment to the Utility Providers, the
       11         Debtor proposes to establish and fund an account in the amount of $1,530.64. This
       12         amount is equal to approximately two (2) weeks of utility service from all the Debtor’s
       13         Utility Providers based upon the Debtor’s current and historical utility usage and bills
       14         as reflected on Exhibit A to the Utilities Motion. The Utility Account established by
       15         the Debtor will serve as a cash security deposit to provide adequate assurance of
       16         payment for utility services the Utility Providers provide to the Debtor after the Petition
       17         Date.
       18                 22.   If the Debtor fails to timely pay a Utility Provider for post-petition utility
       19         services, the Utility Provider may submit a payment request to the Debtor, certifying
       20         that the Debtor failed to pay for post-petition utility services and that such amounts
       21         remain outstanding. The Debtor shall then be required to pay the outstanding amount
       22         within seven (7) days following receipt of the payment request from the Utility
       23

                                                                                      B USH K ORN FELD L LP
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                  MOTIONS – Page 6                                                        601 Union St., Suite 5000
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             25-00240-WLH11        Doc 10    Filed 02/19/25   Entered 02/19/25 16:03:51       Pg 6 of 189
         1        Provider, subject to the Debtor’s right to contest the payment request in this Court or
         2        any other court with jurisdiction.
         3              23.     Payments from the Utility Account shall be made in the order that the
         4        Debtor receives requests and the Debtor shall ensure that the Utility Account is
         5        replenished such that its balance remains at or above $1,530.64, or such greater amount
         6        as the court may require.
         7              24.     The Utilities Motion must be heard on an emergency basis because it is
         8        imperative to the Debtor’s operations that it continues to receive utility services,
         9        unaltered and uninterrupted, in light of the Debtor’s provision of adequate assurance to
       10         Utility Providers.
       11         The Bank Account
       12               25.     As of the Petition Date, the Debtor maintained one checking account with
       13         US Bank, account no. ending 6571) (the “Bank Account”), which the Debtor utilizes as
       14         an operating account.
       15               26.     The Debtor uses the Bank Account frequently and it is integral to the
       16         ordinary operation of the Debtor’s business. The Debtor deposits all rental income and
       17         other receipts into the Operating Account and uses that account to pay all business
       18         expenses using a combination of checks and electronic transfers.
       19               27.     Continued use of the Debtor’s Bank Account and checks will help to
       20         ensure a smooth transition into chapter 11 and minimal disruption to the Debtor’s
       21         operations, thereby increasing the likelihood that the Debtor will be able to successfully
       22         reorganize.
       23               28.     The Bank Account has not held $250,000 or more in the year prior the

                                                                                     B USH K ORN FELD L LP
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             25-00240-WLH11        Doc 10     Filed 02/19/25   Entered 02/19/25 16:03:51     Pg 7 of 189
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         1        Petition Date.
         2               29.      I do not anticipate that the balance in the Bank Account will exceed
         3        $250,000 at any point during the chapter 11 proceeding. If the account ever exceeds
         4        $250,000, the Debtor will establish an Excess Funds Account and will deposit will
         5        deposit any funds in excess of $250,000 in the Excess Funds Account.
         6               30.      The Bank Account Motion must be heard on an emergency basis to avoid
         7        the irreparable harm of disruption to and termination of the Debtor’s operations. As
         8        detailed in the Cash Management Motion, the Debtor’s uninterrupted ability to continue
         9        to use its pre-petition bank accounts and checks in the ordinary course of business is
       10         critical to the Debtor’s continued operations post-petition.
       11                I declare under penalty of perjury under the laws of the United States of America
       12         that the foregoing is true and correct.
       13                SIGNED this 19th day of February, 2025, at Bellevue, Washington.
       14

       15                                                      Stanley Xu
       16

       17

       18

       19

       20

       21

       22

       23

                                                                                         B USH K ORN FELD L LP
                  DECLARATION OF STANLEY XU IN SUPPORT OF FIRST DAY                               LAW OFFICES
                  MOTIONS – Page 8                                                           601 Union St., Suite 5000
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             25-00240-WLH11           Doc 10      Filed 02/19/25   Entered 02/19/25 16:03:51     Pg 8 of 189
                          EXHIBIT A




25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 9 of 189
AMITY COURT
14400 Northeast Bellevue-Redmond Road
Bellevue, Washington 98007

APPRAISAL REPORT
Date of Report: September 30, 2024
Colliers File #: SEA240464
Client File #: 24-000246-01-1 / 90099031245




PREPARED FOR                                                                                    PREPARED BY
Rachel Hoss                                                                           COLLIERS INTERNATIONAL
Axos Bank
                                                                               VALUATION & ADVISORY SERVICES
P.O. Box 919008
San Diego, CA 92122




        25-00240-WLH11        Doc 10     Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 10 of 189
                                                                                                                    COLLIERS INTERNATIONAL
LETTER OF TRANSMITTAL                                                                                               VALUATION & ADVISORY SERVICES

                                                                                                                    601 Union Street, Suite 5300
                                                                                                                    Seattle, WA 98101 USA
                                                                                                                    MAIN +1 206 343 7477
                                                                                                                    FAX +1
                                                                                                                    WEB   www.colliers.com/valuationadvisory




September 30, 2024



  Rachel Hoss
  Axos Bank
  P.O. Box 919008
  San Diego, CA 92122




RE: Amity Court
    14400 Northeast Bellevue-Redmond Road
    Bellevue, Washington 98007

Colliers File #: SEA240464
Client File #: 24-000246-01-1 / 90099031245

Ms. Hoss:

This appraisal report satisfies the scope of work and requirements agreed upon by Axos Bank and Colliers
International Valuation & Advisory Services. At the request of the client, this appraisal is presented in an Appraisal
Report format as defined by USPAP Standards Rule 2-2(a). Our appraisal format provides a summary description
of the appraisal process, subject and market data and valuation analyses.
The purpose of this appraisal is to develop opinions of the As-Is Market Value of the subject property’s leased
fee interest. At the request of the client, we have also completed an Insurable Replacement Cost Estimate. The
following table conveys the final opinion of market value of the subject property that are developed within this
appraisal report. Note that the value conclusion is based on the property’s underlying land value, which exceeds
its value as improved.
                          VALUE TYPE                                  INTEREST APPRAISED                              DATE OF VALUE                                     VALUE
                      As-Is Market Value                                        Leased Fee                          September 18, 2024                              $7,780,000
                 OTHER CONCLUSIONS                                                    AS OF SEPTEMBER 18, 2024
               Insurable Replacement Cost                                                                                                                           $3,120,000

The subject is Amity Court, a multi-tenant low-rise office property totaling 16,796 SF of NRA located on a 0.99-
acre site at 14400 Northeast Bellevue-Redmond Road in Bellevue, Washington. The improvements were built in
1978, are in average condition and have a remaining economic life of 2 years based on our estimate.




Colliers International Valuation & Advisory Services, and certain of its subsidiaries, is an independently owned and operated business and a member firm of Colliers International
Property Consultants, an affiliation of independent companies with over 500+ offices throughout more than 68 countries worldwide.
            25-00240-WLH11                          Doc 10             Filed 02/19/25                   Entered 02/19/25 16:03:51                                   Pg 11 of 189
LETTER OF TRANSMITTAL
CONTINUED                                                                                                     SEA240464


The subject property has a multi-tenant design that is currently occupied by third-party tenants, and has a current
occupancy level of 78.0%. Although the subject has leases in place, our market value conclusion indicates that
the underlying land value currently exceeds that subject’s value as-improved. It is anticipated that the subject
property will be a candidate for redevelopment upon the expiration of its in-place leases (which extend through
July 2026 at the latest). As such, any future leasing in the subject is likely to be short-term. A stabilized occupancy
estimate is not relevant in this context.
The analyses, opinions and conclusions communicated within this appraisal report were developed based upon
the requirements and guidelines of the current Uniform Standards of Professional Appraisal Practice (USPAP),
the requirements of the Code of Professional Ethics and the Standards of Professional Appraisal Practice of the
Appraisal Institute. The report is intended to conform to the Financial Institutions Reform, Recovery and
Enforcement Act (FIRREA) standards.
The report, in its entirety, including all assumptions and limiting conditions, is an integral part of, and inseparable
from, this letter. USPAP defines an Extraordinary Assumption as, “an assignment specific-assumption as of the
effective date regarding uncertain information used in an analysis which, if found to be false, could alter the
appraiser’s opinions or conclusions”. USPAP defines a Hypothetical Condition as, “that which is contrary to what
is known by the appraiser to exist on the effective date of the assignment results, but is used for the purpose of
analysis”.
The Extraordinary Assumptions and/or Hypothetical Conditions that were made during the appraisal process to
arrive at our opinions of value are fully discussed below. We advise the client to consider these issues carefully
given the intended use of this appraisal, as their use might have affected the assignment results.
EXTRAORDINARY ASSUMPTIONS
This Appraisal Report is not contingent on any extraordinary assumptions.
HYPOTHETICAL CONDITIONS
This Appraisal Report is not contingent on any hypothetical conditions.
RELIANCE LANGUAGE
Our opinion of value reflects current conditions and the likely actions of market participants as of the date of
value. It is based on the available information gathered and provided to us, as presented in this report, and does
not predict future performance. Changing market or property conditions can and likely will have an effect on the
subject's value.




        25-00240-WLH11
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                                                 SERVICES     Entered 02/19/25 16:03:51          Pg 12 of 189
LETTER OF TRANSMITTAL
CONTINUED                                                                                              SEA240464


The signatures below indicate our assurance to the client that the development process and extent of analysis
for this assignment adhere to the scope requirements and intended use of the appraisal. If you have any specific
questions or concerns regarding the attached appraisal report, or if Colliers International Valuation & Advisory
Services can be of additional assistance, please contact the individuals listed below.
Sincerely,
COLLIERS INTERNATIONAL
VALUATION & ADVISORY SERVICES




  Joseph Liss                                               Reid Erickson, MAI
  Valuation Specialist                                      Executive Managing Director
  Certified General Real Estate Appraiser                   Certified General Real Estate Appraiser
  State of Washington License #22003802                     State of Washington License #1100150
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                                                 SERVICES   Entered 02/19/25 16:03:51       Pg 13 of 189
TABLE OF CONTENTS
                                                                                                  SEA240464



REPORT ORGANIZATION

PROPERTY AND ASSIGNMENT OVERVIEW
  Executive Summary _____________________________________________________________________1
  Area Analysis _________________________________________________________________________ 11
  Exhibits______________________________________________________________________________ 20
  Site Description _______________________________________________________________________25
  Improvement Description ________________________________________________________________27
  Assessment & Taxation _________________________________________________________________ 29
  Zoning Analysis _______________________________________________________________________30
  Market Analysis _______________________________________________________________________31
  Highest & Best Use ____________________________________________________________________37
VALUATION ___________________________________________________________________________ 38
  Valuation Methods _____________________________________________________________________38
  Income Approach ______________________________________________________________________ 39
  Sales Approach _______________________________________________________________________54
  Sales Approach Conclusion ______________________________________________________________59
  Land Valuation ________________________________________________________________________60
  Land Valuation Conclusion_______________________________________________________________69
  Reconciliation of Value Conclusions _______________________________________________________70

CERTIFICATION

ASSUMPTIONS & LIMITING CONDITIONS

ADDENDA
 Engagement Letter
 Rent Roll
 P&L Statements
 Subject Data
 Valuation Glossary
 Qualifications of Appraisers
 Qualifications of Colliers International Valuation & Advisory Services




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 14 of 189
EXECUTIVE SUMMARY
                                                                                                             SEA240464




     GENERAL INFORMATION
     Property Name                                          Amity Court
     Property Type                                          Office - Low-Rise Office
     Address                                                14400 Northeast Bellevue-Redmond Road
     City                                                   Bellevue
     State                                                  Washington
     Zip Code                                               98007
     County                                                 King
     Core Based Statistical Area (CBSA)                     Seattle-Tacoma-Bellevue, WA
     Market                                                 Seattle/Puget Sound
     Submarket                                              Suburban Bellevue
     Latitude                                               47.626030
     Longitude                                              -122.148762
     Number Of Parcels                                      1
     Assessor Parcel                                        272505-9147
     Total Taxable Value                                    $8,190,100
     Census Tract Number                                    0237.02
     SITE INFORMATION
     Land Area                                              Acres                           Square Feet
      Usable                                                0.99                                    43,200
      Unusable                                              0.00                                         0
      Excess                                                0.00                                         0
      Surplus                                               0.00                                         0
      Total                                                 0.99                                    43,200
     Topography                                             Sloping at street grade
     Shape                                                  Generally Rectangular
     Access                                                 Average/Good
     Exposure                                               Average
     Current Zoning                                         BelRed-Commercial/Residential District (BR-CR)
     Flood Zone                                             Zone X (Unshaded)
     Seismic Zone                                           Very High Risk
     IMPROVEMENT INFORMATION
     Gross Building Area SF (GBA)                           17,386 SF
     Net Rentable Area (NRA)                                16,796 SF
     Floor Plate SF                                         8,693 SF
     Total Number Of Stories                                2
     Year Built                                             1978
     Quality                                                Average
     Condition                                              Average
     Building Class                                         D
     Type Of Construction                                   Wood frame
     Land To Building Ratio                                 2.5 : 1
     Site Coverage Ratio                                    20.1%
     Parking Type                                           Surface
     Number of Parking Spaces                               73
     Parking Ratio (Spaces/1,000SF NRA)                     4.3/1,000 SF NRA




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51        Pg 15 of 189           1
EXECUTIVE SUMMARY
CONTINUED                                                                                                   SEA240464



     HIGHEST & BEST USE
                                                            Development Of A Multifamily Residential Property
     As Vacant
                                                            As Market Conditions Warrant
                                                            Continued Use As An Office For The Interim Until
     As Improved                                            Expiration Of In-Place Leases Allows For
                                                            Redevelopment Of The Site As A Multifamily
     EXPOSURE TIME & MARKETING PERIOD
     Exposure Time                                          Six Months or Less
     Marketing Period                                       Six Months or Less
     TENANCY INFORMATION
     Tenancy                                                Multi-Tenant Occupied By Third-Party Tenants
     Occupancy                                              78.0%
     Occupied SF                                            13,096 SF
     Vacant SF                                              3,700 SF
     Number of Tenants in Occupancy                         21
     Number Of Vacant Spaces                                3
     Direct Capitalization NOI                              $294,115
     Total Contract Income (Occupied Space)                 $17.78/SF
     Total Market Income (Occupied Space)                   $17.00/SF
     Contract Income As % of Market Income                  105%
                                             VALUATION SUMMARY
                                                                                            AS-IS
       VALUATION INDICES
                                                                                        MARKET VALUE
       INTEREST APPRAISED                                                               LEASED FEE
       DATE OF VALUE                                                                 SEPTEMBER 18, 2024
                                         INCOME CAPITALIZATION APPROACH
       Direct Capitalization                                                               $4,610,000
         Direct Capitalization $/SF                                                         $274/SF
         NOI Proforma                                                                       $294,115
         NOI $/SF                                                                          $17.51/SF
         Capitalization Rate                                                                 6.25%
       INCOME CONCLUSION                                                                   $4,610,000
          Income Conclusion $/SF                                                            $274/SF
                                          SALES COMPARISON APPROACH
       SALES CONCLUSION                                                                    $4,520,000
         Sales Conclusion $/SF                                                              $269/SF
                                           FINAL VALUE CONCLUSION
       FINAL VALUE                                                                         $7,780,000
                                                LAND VALUATION
       LAND VALUE                                                                          $7,780,000
        Value/SF                                                                            $180.00
       OTHER CONCLUSIONS
       Insurable Replacement Cost                                                          $3,120,000
         Insurable Replacement Cost/SF                                                      $179/SF




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51         Pg 16 of 189         2
PROPERTY & ASSIGNMENT OVERVIEW
                                                                                                  SEA240464



AERIAL PHOTOGRAPH




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 17 of 189     3
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



SUBJECT PHOTOGRAPHS




               SOUTH ELEVATION                                      NORTH AND EAST ELEVATIONS




       EAST ELEVATION AND ENTRANCE                                     MAIN LOBBY AND STAIRS




            TYPICAL CORNER OFFICE                                     TYPICAL OFFICE (VACANT)



        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 18 of 189     4
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464




             TYPICAL OFFICE AREA                                        TYPICAL OFFICE AREA




 STREET VIEW NORTHEAST ALONG BEL-RED                                  STREET VIEW SOUTHWEST
                ROAD




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 19 of 189     5
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                 SEA240464


PROPERTY IDENTIFICATION
The subject is Amity Court, a multi-tenant low-rise office property totaling 16,796 SF NRA located on a 0.99-acre
site at 14400 Northeast Bellevue-Redmond Road in Bellevue, King County, Washington. The assessor’s parcel
number is: 272505-9147.
The legal description of the subject property is as follows:




SCOPE OF WORK
The scope of work for this appraisal assignment is outlined below:
   The appraisers analyzed the regional and local area economic profiles including employment, population,
   household income, and real estate trends.
   The appraisers confirmed and analyzed legal and physical features of the subject, and how they impact the
   functionality and overall competitive position of the property.
   The appraisers completed an office supply/demand market analysis of the Seattle/Puget Sound market and
   Suburban Bellevue sub-market. Conclusions were drawn regarding the subject property’s competitive
   position given its physical and locational characteristics, the prevailing economic conditions and external
   influences.
   The appraisers conducted Highest and Best Use analysis and conclusions were drawn for the highest and
   best use of the subject property As-Vacant and As-Improved.
   The appraisers confirmed and analyzed financial features of the subject property. This information, as well
   as trends established by confirmed market indicators, was used to forecast performance of the subject
   property.
   Selection of the valuation methods was based on the identifications required in USPAP relating to the
   intended use, intended users, definition and date of value, relevant property characteristics and assignment
   conditions. This appraisal developed the Income (Direct Capitalization) and Sales Comparison approaches
   to value, which were adjusted and reconciled as appropriate.
   Reporting of this appraisal is in an Appraisal Report format as required in USPAP Standard 2. The appraiser’s
   analysis and conclusions are summarized within this document.
   We understand the Competency Rule of USPAP and the authors of this report meet the standards.
   No one provided significant real property appraisal assistance to appraisers signing this certification.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES      Entered 02/19/25 16:03:51     Pg 20 of 189        6
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                               SEA240464


SOURCES OF INFORMATION
The following sources were contacted to obtain relevant information:

                                               SOURCES OF INFORMATION
            ITEM                          SOURCE
            Tax Information               King County Tax Records
            Zoning Information            City of Bellevue Zoning Code
            Site Size Information         King County Property Records
            Building Size Information     King County Property Records
            Flood Map                     InterFlood
            Demographics                  Pitney Bowes/Gadberry Group - GroundView®
            Comparable Information        See Comparable Datasheets for details
            Legal Description             Quit Claim Deed from King County Register of Deeds
            Other Property Data           King County Property Records
            Rent Roll (Dated 9/13/2024)   Owner
            Income/Expense Statements     Owner

SUBJECT PROPERTY INSPECTION
The following table illustrates the Colliers International professionals involved with this appraisal report and their
status related to the property inspection.

                                           SUBJECT PROPERTY INSPECTION
         APPRAISER                                INSPECTED                       EXTENT          DATE OF INSPECTION
         Joseph Liss                                   Yes                    Interior/Exterior    September 18, 2024
         Reid Erickson, MAI                            No                            -                     -


Not all suites were available for inspection. It is our understanding that the remaining (non-inspected) tenant
spaces are in similar condition to those inspected, with no interior deferred maintenance present in the other
units.
CLIENT IDENTIFICATION
The client of this specific assignment is Axos Bank.
PURPOSE
The purpose of this appraisal is to develop opinions of the As-Is Market Value and Prospective Value Upon
Stabilization of the subject property’s leased fee interest. At the request of the client, we have also completed an
Insurable Replacement Cost Estimate.
INTENDED USE
The intended use of this appraisal is for loan underwriting and-or credit decisions by Axos Bank and-or
participants.
INTENDED USERS
Intended users of this report include Axos Bank and-or affiliates. Use of this report by third parties and other
unintended users is not permitted. This report must be used in its entirety. Reliance on any portion of the report
independent of others, may lead the reader to erroneous conclusions regarding the property values. Unless
approval is provided by the authors no portion of the report stands alone.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                Entered 02/19/25 16:03:51        Pg 21 of 189         7
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                    SEA240464


ASSIGNMENT DATES
Date of Report                                 September 30, 2024
Date of Inspection                             September 18, 2024
Valuation Date - As-Is                         September 18, 2024

PERSONAL AND/OR INTANGIBLE PROPERTY
No personal property or intangible items are included in this valuation.
PROPERTY AND SALES HISTORY
Current Owner
The subject title is currently recorded in the name of Amity Court LLC, who acquired title to the property on
September 15, 2021, as recorded in document number 20210915000496 of the King County Deed Records.
This appears to be only a reassignment between entities of the same owner. The last arms-length sale was
dated August 18, 2021 for $9,500,000. This appears to have been an above-market price, based on our value
conclusion.
Three-Year Sales History
The subject property has not transferred during the past three years of the effective date of value stated in this
report.
Subject Sale Status
The subject property is not under a current agreement of sale or option and is not currently offered for sale on
the open market.
DEFINITIONS OF VALUE
Given the scope and intended use of this assignment, the definition of Market Value is applicable. The definition
of Market Value, along with all other applicable definitions for this assignment, is located in the Valuation Glossary
section of the Addenda (see Interagency Guidelines definition).
PROPERTY RIGHTS APPRAISED
The property rights appraised constitute the leased fee interest.
VALUE SCENARIOS
The valuation scenarios developed in this appraisal report include the As-Is Market Value of the subject property’s
leased fee interest. At the request of the client, we have also completed an Insurable Replacement Cost
Estimate.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES    Entered 02/19/25 16:03:51          Pg 22 of 189         8
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



REGIONAL MAP




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 23 of 189     9
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



LOCAL AREA MAP




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 24 of 189    10
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                  SEA240464


REGIONAL ANALYSIS
The Seattle-Tacoma-Bellevue, WA Metropolitan Statistical Area is in
western Washington. The population was 4,018,762, according to the
2020 U.S. census. The MSA, also known as the Seattle metropolitan
area, is comprised of three counties: King, Snohomish, and Pierce. The
largest cities in the MSA are Seattle, Tacoma, Bellevue, and Everett. The
Seattle metropolitan area is in the Puget Sound region, an arrangement
of peninsulas and islands in the coastal area of the Pacific Northwest.
The most prominent industries in the Seattle metropolitan area are older
industrial companies, as well as technological, aerospace, and service industries. The Port of Seattle is the third
largest container gateway in North America. Several Fortune 500 companies are headquartered in the region,
including Starbucks, Nordstrom, Costco, Microsoft, and Amazon. Notable biotechnology companies, such as
Corixa and Immunex, are behind large development projects in the region. The Boeing Company’s largest
division operates aircraft manufacturing plants that are a notable source of employment.
In the southern portion of the MSA, the economy is largely dependent on industrial and manufacturing
businesses. Tacoma is home to both Simpson Investment Company and to the U.S. Oil and Refining Company.
The Seattle-Tacoma-Bellevue, WA MSA is also considered a hub for healthcare, with the presence of important
medical foundations, research centers, and hospitals. The Bill & Melinda Gates Foundation, Fred Hutchinson
Research Center, and Washington Global Health Alliance are all headquartered in the region. The St. Joseph
Medical Center, Multicare Health System, The University of Washington Medical Center, and Harborview Medical
Center are prominent hospitals that serve the area.
DEMOGRAPHIC ANALYSIS
The following is a demographic study of the region sourced by Pitney Bowes/Gadberry Group - GroundView®,
an on-line resource center that provides information used to analyze and compare the past, present, and future
trends of geographical areas. Demographic changes are often highly correlated to changes in the underlying
economic climate. Periods of economic uncertainty necessarily make demographic projections somewhat less
reliable than projections in more stable periods. These projections are used as a starting point, but we also
consider current and localized market knowledge in interpreting them within this analysis. Please note that our
demographics provider sets forth income projections in constant dollars which, by definition, reflect projections
after adjustment for inflation. We are aware of other prominent demographic data providers that project income
in current dollars, which do not account for inflation. A simple comparison of projections for a similar market area
made under the constant and current dollar methodologies can and likely will produce data points that vary, in
some cases, widely. Further, all forecasts, regardless of demographer methodology(ies), are subjective in the
sense that the reliability of the forecast is subject to modeling and definitional assumptions and procedures.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51         Pg 25 of 189        11
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                               SEA240464



                                             REGIONAL AREA DEMOGRAPHICS
   YEAR                                US          WA        CBSA     YEAR                         US         WA        CBSA
   POPULATION                                                         NUMBER OF HOUSEHOLDS
    2020 Total Population     331,511,481     7,724,031   4,027,487    2023              129,837,191     3,044,531   1,596,864
    2023 Total Population     334,487,687     7,816,676   4,037,629    2028              134,514,493     3,183,732   1,664,192
    2028 Total Population     342,734,214     8,142,724   4,195,324    CAGR                      0.7%        0.9%        0.8%
    2020 - 2023 CAGR                 0.3%         0.4%        0.1%    AVERAGE HOUSEHOLD SIZE
    2023 - 2028 CAGR                 0.5%         0.8%        0.8%     2023                       2.51        2.52        2.48
   POPULATION DENSITY                                                  2028                       2.49        2.51        2.48
    2023 Per Square Mile                93         115         663     CAGR                    (0.21%)    (0.06%)     (0.05%)
    2028 Per Square Mile                95         120         689    HOUSING UNITS
   MEDIAN AGE                                                          Ow ner Occupied    81,813,679     1,883,807    924,384
    2023                             38.82       38.16       37.30     Renter Occupied    48,023,512     1,160,724    672,480
    2028                             39.66       38.95       38.05    AVERAGE HOUSEHOLD INCOME
    CAGR                            0.43%        0.41%       0.40%     2023                  $106,372    $122,114    $142,647
   MEDIAN HOME VALUE                                                   2028                  $129,361    $146,350    $168,629
    2023                         $244,554     $396,052    $517,711     CAGR                      4.0%        3.7%        3.4%
   PER CAPITA INCOME                                                  MEDIAN HOUSEHOLD INCOME
    2023                          $42,322      $48,514     $57,484     2023                  $74,269      $88,635    $105,203
    2028                          $52,008      $58,320     $68,112     2028                  $91,864     $107,640    $127,655
    CAGR                             4.2%         3.8%        3.5%     CAGR                      4.3%        4.0%        3.9%
   Source: Pitney Bow es/Gadberry Group - GroundView ®

Population
According to Pitney Bowes/Gadberry Group - GroundView®, a Geographic Information System (GIS) Company,
the Seattle-Tacoma-Bellevue metropolitan area had a 2023 total population of 4,037,629 and experienced an
annual growth rate of 0.1%, which was lower than the Washington annual growth rate of 0.4%. The metropolitan
area accounted for 51.7% of the total Washington population (7,816,676). Within the metropolitan area the
population density was 663 people per square mile compared to the lower Washington population density of 115
people per square mile and the lower United States population density of 93 people per square mile. The 2023
median age for the metropolitan area was 37.30, which was 4.07% younger than the United States median age
of 38.82 for 2023. The median age in the metropolitan area is anticipated to grow by 0.40% annually, increasing
the median age to 38.05 by 2028.
Education
The Seattle metropolitan area is home to several institutions of higher education. The most prominent university
in the area is the University of Washington, one of the oldest on the west coast. The University of Washington
has an annual enrollment of approximately 45,200 students and its research budget has surpassed $1 billion.
The institution has been consistently ranked among the top 20 universities internationally by the Academic
Ranking of World Universities and is renowned for its graduate programs in medicine and clinical psychology.
The region is also home to Everett Community College, a college that offers degrees in science, business, and
general studies. The annual enrollment for the college is of approximately 19,600 students and its main campus
is in north Everett. Bellevue College is another institution of higher learning in the MSA, with an annual enrollment
of 37,000 students. The college offers four-year bachelor’s degrees focused on scientific disciplines, healthcare
technology management, imaging sciences, and information systems.
Household Trends
The 2023 number of households in the metropolitan area was 1,596,864. The number of households in the
metropolitan area is projected to grow by 0.8% annually, increasing the number of households to 1,664,192 by
2028. The 2023 average household size for the metropolitan area was 2.48, which was 1.27% smaller than the
United States average household size of 2.51 for 2023. The average household size in the metropolitan area is


        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES             Entered 02/19/25 16:03:51          Pg 26 of 189            12
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                                       SEA240464


anticipated to decrease by 0.05% annually, reducing the average household size by 2028. The Seattle-Tacoma-
Bellevue metropolitan area had 42.11% renter occupied units, compared to the lower 38.12% in Washington and
the lower 36.99% in the United States.
Income Trends
The 2023 median household income for the metropolitan area was $105,203, which was 41.7% higher than the
United States median household income of $74,269. The median household income for the metropolitan area is
projected to grow by 3.9% annually, increasing the median household income to $127,655 by 2028. As is often
the case when the median household income levels are higher than the national average, the cost of living index
is also higher. According to the American Chamber of Commerce Researchers Association (ACCRA) Cost of
Living Index, the Seattle-Tacoma-Bellevue, WA MSA’s cost of living is 146.5 compared to the national average
score of 100. The ACCRA Cost of Living Index compares groceries, housing, utilities, transportation, health care
and miscellaneous goods and services for over 300 urban areas.
                                         Consumer Spending Seattle-Tacoma-Bellevue
                                                                              Health Care, 22.31%
                               Eating Out, 12.88%

                                                                                                Hsld Furnishings,
                                                                                                     11.55%


                                                                                                 Auto Maint., 0.37%
                           Food at Home,
                              21.98%                                                           Apparel, 7.47%
                                                                                         Computers, 2.64%
                                                                                     Education, 5.43%
                                                    Entertainment, 15.36%




                                        Consumer Spending Comparison
                                             Average Household
                      $8,000

                      $6,000

                      $4,000

                      $2,000

                          $0




                                United States             Washington                 Seattle-Tacoma-Bellevue




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                   Entered 02/19/25 16:03:51                 Pg 27 of 189    13
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                                                       SEA240464


EMPLOYMENT
Total employment has increased annually over the past decade in the state of Washington by 1.80% and
increased annually by 1.84% in the area. From 2022 to 2023 unemployment experienced a slight change in
Washington and increased by 0.2% in the area. In the state of Washington unemployment has increased over
the previous month by 0.4% and increased by 0.2% in the area.
                            EMPLOYMENT & UNEMPLOYMENT STATISTICS 2014 - 2023
                                  TOTAL EMPLOYMENT                                                            UNEMPLOYMENT RATE

                                               Seattle-Tacoma-Bellevue, WA Metropolitan                                             Seattle-Tacoma-
                     Washington                                                                                                      Bellevue, WA
                                                            Statistical Area
                                                                                                United States*       Washington
                                                                                                                                      Metropolitan
    Year         Total                                 Total                                                                        Statistical Area

    2014       3,287,904            1.8%             1,848,821                  2.3%                    6.2%                5.9%                5.1%
    2015       3,361,249            2.2%             1,889,699                  2.2%                    5.3%                5.4%                4.6%
    2016       3,459,527            2.9%             1,945,781                  3.0%                    4.9%                5.2%                4.3%
    2017       3,554,754            2.8%             1,988,062                  2.2%                    4.4%                4.6%                4.0%
    2018       3,645,992            2.6%             2,042,198                  2.7%                    3.9%                4.4%                3.7%
    2019       3,794,004            4.1%             2,119,427                  3.8%                    3.7%                4.2%                3.2%
    2020       3,560,168           (6.2%)            1,976,449                  (6.7%)                  8.1%                8.5%                8.4%
    2021       3,667,123            3.0%             2,048,202                  3.6%                    5.3%                5.2%                4.7%
    2022       3,806,848            3.8%             2,142,067                  4.6%                    3.6%                4.1%                3.5%
    2023       3,860,883            1.4%             2,179,394                  1.7%                    3.6%                4.1%                3.7%
    CAGR         1.80%                -                1.84%                      -                           -                 -                      -
   Source: U.S. Bureau of Labor Statistics *Unadjusted Non-Seasonal Rate

                                                       UNEM PLOYMENT RATES
                           6.0%

                           5.5%

                           5.0%

                           4.5%

                           4.0%

                           3.5%

                           3.0%
                                      Aug    Sep     Oct   Nov    Dec     Jan    Feb     Mar     Apr   May         Jun    Jul
                                      2023   2023   2023   2023   2023   2024    2024    2024   2024   2024       2024   2024
                           USA        3.9%   3.6%   3.6%   3.5%   3.5%   4.1%    4.2%    3.9%   3.5%   3.7%       4.3%   4.5%
                           Washington 4.3%   4.0%   4.2%   4.3%   4.6%   5.4%    5.6%    5.1%   4.4%   4.6%       4.7%   5.1%
                           Area       3.9%   3.9%   4.0%   3.9%   3.9%   4.7%    4.7%    4.4%   4.1%   4.4%       4.8%   5.0%


The preceding chart depicts unemployment trends in the region, Washington, and the U.S. Overall levels of
unemployment in the region experienced a minor increase throughout the past three months. By the end of July
2024, unemployment in the region was 0.1% lower than Washington’s and 0.5% higher than the national
average.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                   Entered 02/19/25 16:03:51                           Pg 28 of 189               14
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                                  SEA240464



                                                          TOP EMPLOYERS
                 EMPLOYER NAME                              EMPLOYEES                                       INDUSTRY
                 Amazon.com Inc.                                  87,000                        Wholesale/Retail Trade
                 The Boeing Company                               66,797                                 Manufacturing
                 Microsoft Corporation                            55,119     Professional/Scientific/Technical Services
                 Joint Base Lew is-McChord                        54,025                          Public Administration
                 University of Washington Seattle                 53,305                                     Education
                 Source: https://w w w .bizjournals.com

The preceding chart depicts the top employers in the Seattle-Tacoma-Bellevue, WA MSA. Principal employers
are spread throughout diverse sectors, including wholesale/retail trade, manufacturing, and
professional/scientific/technical services. The largest employer is Amazon.com Inc., the multinational technology
company that focuses on e-commerce, cloud computing, digital streaming, and artificial intelligence. The Boeing
Company is the second largest employer. Boeing is a multinational corporation that designs, manufactures, and
sells aerospace products around the world. Microsoft Corporation is the third largest employer. Microsoft is a
multinational technology company headquartered in Redmond, which develops, manufactures, licenses,
supports and sells computer software/hardware and services.
AIRPORT STATISTICS
The following chart summarizes the local airport statistics.

                                   SEATTLE-TACOMA INTERNATIONAL AIRPORT (SEA)
                           YEAR                      ENPLANED PASSENGERS                       % CHG
                           2012                             16,121,123                             -
                           2013                             16,690,295                           3.5%
                           2014                             17,888,080                           7.2%
                           2015                             20,148,980                          12.6%
                           2016                             21,887,110                           8.6%
                           2017                             22,639,124                           3.4%
                           2018                             24,024,908                           6.1%
                           2019                             25,001,762                           4.1%
                           2020                              9,462,411                         (62.2%)
                           2021                             17,430,195                          84.2%
                           2022                            22,157,862                           27.1%
                           Source: U.S. Department of Transportation

SUMMARY
The Seattle-Tacoma-Bellevue, WA MSA has a diverse economical foundation. The large concentration of
technological and service-based industries in the region has an undeniably positive impact on the MSA’s
economic stability. The region is home to numerous company headquarters in the healthcare and biotechnology
sectors, adding a strong component of innovation and competitiveness to the local economy. The strength of the
Seattle metropolitan area’s economy and the varied means of employment that attracts permanent residents,
tourists, and businesses are main factors for the region’s commercial growth. All these are positive trends that
show signs of improvement recently and in the near future.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                Entered 02/19/25 16:03:51               Pg 29 of 189    15
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                 SEA240464


LOCAL AREA ANALYSIS
In this section of the report, we provide details about the local area and describe the influences that bear on the
real estate market as well as the subject property. Below are insights into the local area based on fieldwork,
interviews, demographic data and experience working in this market.
LOCAL AREA PROFILE
The subject property is in Bellevue, Washington, within King County. According to the 2020 census, the
population was 151,854. The city is in the eastern portion of the county, east of Seattle across Lake Washington.
Bellevue is connected to Seattle by two floating bridges: the Evergreen Point Floating Bridge, and the Lacey V.
Murrow Memorial Floating Bridge on Interstate 90. The city is bordered by Lake Washington and the cities of
Clyde Hill and Medina to the west, Lake Sammamish to the east, Kirkland to the north and Newcastle to the
south. Bellevue is served by Interstates 90 and 405. The Port of Seattle, the second largest container port in the
United States, is approximately 13 miles southwest of Bellevue. Air transportation is provided by Seattle-Tacoma
International Airport, approximately 21 miles southwest of Bellevue’s central business district.
DEMOGRAPHIC PROFILE
Below is a demographic study of the area, sourced by Pitney Bowes/Gadberry Group - GroundView®, an on-
line resource center that provides information used to analyze and compare the past, present, and future trends
of properties and geographical areas. Please note that our demographics provider sets forth income projections
in constant dollars which, by definition, reflect projections after adjustment for inflation. We are aware of other
prominent demographic data providers that project income in current dollars, which do not account for inflation.
A simple comparison of projections for a similar market area made under the constant and current dollar
methodologies can and likely will produce data points that vary, in some cases, widely. Further, all forecasts,
regardless of demographer methodology(ies), are subjective in the sense that the reliability of the forecast is
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        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51        Pg 30 of 189        16
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                                              SEA240464



                                                  LOCAL AREA DEMOGRAPHICS
     DESCRIPTION                    1 MILE    3 MILES    5 MILES    DESCRIPTION                   1 MILE   3 MILES    5 MILES
     POPULATION                                                     AVERAGE HOUSEHOLD INCOME
      2010 Population                16,652    102,336   214,846      2023                      $157,859 $187,630 $194,632
      2020 Population                21,086    126,197   262,353      2028                      $183,841 $213,607 $220,004
      2023 Population                21,540    127,180   263,475      Change 2023-2028           16.46%     13.84%     13.04%
      2028 Population                23,981    136,076   277,279    MEDIAN HOUSEHOLD INCOME
      Change 2010-2020             26.63%      23.32%     22.11%     2023                       $125,504 $148,198 $157,965
      Change 2020-2023               2.15%      0.78%      0.43%     2028                       $154,991 $183,651 $191,974
      Change 2023-2028             11.33%       6.99%      5.24%     Change 2023-2028            23.49%     23.92%     21.53%
     POPULATION 65+                                                 PER CAPITA INCOME
      2020 Population                 2,500     16,601     34,571    2023                        $72,323    $82,378    $82,335
      2023 Population                 2,562     16,837     34,906    2028                        $85,399    $94,966    $94,058
      2028 Population                 3,009     19,590     40,416    Change 2023-2028            18.08%     15.28%     14.24%
      Change 2020-2023               2.48%      1.42%      0.97%    2023 HOUSEHOLDS BY INCOME
      Change 2023-2028              17.45%     16.35%     15.79%        <$15,000                    9.9%      6.0%       4.9%
     NUMBER OF HOUSEHOLDS                                               $15,000-$24,999             2.8%      3.4%       3.1%
      2010 Households                 7,251     43,697     89,675       $25,000-$34,999             3.3%      2.7%       2.9%
      2020 Households                 9,554     53,161    106,937       $35,000-$49,999             5.6%      4.4%       4.4%
      2023 Households                10,094     55,121    110,288       $50,000-$74,999             9.2%      7.9%       7.8%
      2028 Households                11,366     59,774    117,334       $75,000-$99,999            11.9%      8.7%       8.1%
      Change 2010-2020              31.76%     21.66%     19.25%        $100,000-$149,999          15.4%     17.4%      16.5%
      Change 2020-2023               5.65%      3.69%      3.13%        $150,000-$199,999          16.6%     13.4%      14.0%
      Change 2023-2028             12.60%       8.44%      6.39%        $200,000 or greater        25.2%     36.0%      38.2%
     HOUSING UNITS (2023)                                           MEDIAN HOME VALUE           $716,170 $907,652 $956,861
      Ow ner Occupied                 2,663     22,780     54,056   AVERAGE HOME VALUE          $841,551 $1,091,942 $1,190,823
      Renter Occupied                 7,423     32,329     56,200   HOUSING UNITS BY UNITS IN STRUCTURE
     HOUSING UNITS BY YEAR BUILT                                      1, detached                   1,611    19,999     49,414
      Built 2010 or later             2,335      7,894     14,901     1, attached                     884     3,089      6,450
      Built 2000 to 2009                798      6,838     14,782     2                               120       807      1,239
      Built 1990 to 1999              1,045      6,297     15,233     3 or 4                          929     3,128      5,521
      Built 1980 to 1989              1,530      7,879     17,164     5 to 9                        1,359     5,040      8,552
      Built 1970 to 1979              2,633     11,285     20,646     10 to 19                        637     3,476      6,821
      Built 1960 to 1969              1,384      9,054     15,021     20 to 49                      1,259     4,357      8,091
      Built 1950 to 1959                233      4,947      9,068     50 or more                    3,279    15,163     23,665
      Built 1940 to 1949                  1        351      1,404     Mobile home                       7        17        456
      Built 1939 or earlier             133        577      2,069     Boat, RV, van, etc.               0        33         46
     Source: Pitney Bow es/Gadberry Group - GroundView ®

Transportation Routes
Major traffic arteries are shown in the chart below:

                                       MAJOR ROADWAYS & THOROUGHFARES
   HIGHWAY                           DIRECTION            FUNCTION              DISTANCE FROM SUBJECT
   Interstate 405                    north-south          Interstate Highw ay   This is w ithin three miles of the subject property.
   State Route 520                   east-w est           Local Highw ay        This is w ithin one mile of the subject property.
   Interstate 90                     east-w est           Interstate Highw ay   This is w ithin four miles of the subject property.
   Interstate 5                      north-south          Interstate Highw ay   This is w ithin 10 miles of the subject property.
   SURFACE STREETS                   DIRECTION            FUNCTION              DISTANCE FROM SUBJECT
   Northeast Bellevue-Redmond Road   east-w est           Secondary Arterial    The subject property fronts this street.


Public transportation is available near the subject property. The immediate area is served by King County Metro
with bus stops on Bel-Red Road, 148th Avenue Northeast, and 140th Avenue Northeast.
Economic Factors
Bellevue is home to the headquarters of large corporations, many of which are within the technology sector. It
has since become a high-technology and retail center on the eastside of Lake Washington, with approximately
140,000 job opportunities. A diversified mix of industries exists in Bellevue, with retail and service sectors being
the most prominent. In the service sector, a high concentration of real estate companies, engineering firms,

        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES             Entered 02/19/25 16:03:51                     Pg 31 of 189             17
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                 SEA240464


financial institutions and accounting firms are based in the city. There are many high-technology firms in Bellevue
with market incursions in software development and network services. Companies in the city include Microsoft,
Expedia, Puget Sound Energy, and PACCAR. The city has numerous commercial districts, including three high-
end shopping centers aside from Bellevue Square: Factoria Mall, Crossroads Mall, and the Overlake Shopping
District.
Community Services
Community services and facilities are readily available in the surrounding area. These include public services
such as fire stations, hospitals, police stations, and schools (all ages).
IMMEDIATE AREA PROFILE
This section discusses uses and development trends in the immediate area that directly impact the performance
and appeal of the subject property.
Predominant Land Uses
Significant development in the immediate area consists of office and industrial uses along major arterials that
are interspersed with multi-family complexes and single-family residential development removed from arterials.
The subject property is in northern Bellevue, approximately one mile south of State Route 520 and three miles
east of Interstate 405. Retail uses in the area include Supreme Dumplings, IHOP, 85°C Bakery Cafe, Asian
Family Market Bellevue, and Sun Sui Wah Seafood Restaurant. Office uses consist of King East DCFS Office,
Washington State Department of Social and Health Services Office, Bellevue Mini City Hall, Bellevue Resource
Management, and Washington State Department of Labor and Industries. Industrial development near the
subject includes Data Blanket Incorporated, Columbia NW Pharmaceuticals, Second May International,
Advanced Micro Devices Incorporated, and Dynotag Incorporated. Residential uses in the immediate area are
mobile homes, single-family, and multi-family properties, including Modera Overlake, Colonial Square Apartment
Homes, Cascadian Apartments, Highland Village Apartments, and The Village at Overlake Station. Schools
within a two-mile radius include Sarodgini Academy Private Elementary School, Bellevue Children's Academy,
Stevenson Elementary School, Odle Middle School, and Puesta Del Sol Elementary School. The subject is
approximately 13 miles northeast of Renton Municipal Airport and four miles north of Eastern Washington
University at Bellevue College. Overlake Medical Center is approximately two miles southwest of the subject.
SUBJECT PROPERTY ANALYSIS
The following discussion draws context and analysis on how the subject property is influenced by the local and
immediate areas.
Subject Property Analysis
The uses adjacent to the property are noted below:
   ›   North - Retail Development
   ›   South - Northeast Bellevue-Redmond Road, Single-Family Residential Neighborhood
   ›   East – Medical Office Development
   ›   West – Bellevue Family YMCA
Access
The subject site has frontage on an arterial. Based on our field work, the subject’s access is rated average/good
compared to other properties with which it competes.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51        Pg 32 of 189        18
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                   SEA240464


Visibility
The subject is clearly visible in both directions along the street. The visibility of the property is not hampered by
adjacent properties, trees or other obstructions. In comparison to competitive properties, the subject property
has average visibility.
Subject Conclusion
Trends in the local and immediate areas, adjacent uses and the property’s specific location features indicate an
overall typical external influence for the subject, which is concluded to have a good position in context of
competing properties.
SUMMARY
Bellevue is considered a business hub across Lake Washington from Seattle. The city has a dynamic business
community and is home to a diverse group of industries. Bellevue has a strategic location with convenient
connections to well-traveled transportation networks. The condition and appeal of the market is good.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES    Entered 02/19/25 16:03:51         Pg 33 of 189        19
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



PLAT MAP




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 34 of 189    20
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



GIS AERIAL MAP




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 35 of 189    21
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



ZONING MAP




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 36 of 189    22
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



FLOOD MAP




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 37 of 189    23
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                         SEA240464



FLOOR PLANS




                   FIRST FLOOR
                                                                         SECOND FLOOR




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 38 of 189    24
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                SEA240464


SITE DESCRIPTION
General Description           The subject site consists of 1 parcel. As noted below, the subject site has 43,200
                              SF (0.99 AC) of land area. The area is estimated based on the assessor's parcel
                              map, and may change if a professional survey determines more precise
                              measurements.
Assessor Parcel               272505-9147
Number Of Parcels             1
Land Area                     Acres            Square Feet
 Primary Parcel               0.99                  43,200
 Unusable Land                0.00                       0
 Excess Land                  0.00                       0
 Surplus Land                 0.00                       0
Total Land Area               0.99                        43,200
Shape                         Generally Rectangular - See Plat Map For Exact Shape
Topography                    Sloping at street grade
Drainage                      Assumed Adequate
Utilities                     All available to the site




Street Improvements           Street           Direction           No. LanesStreet Type
 Northeast Bellevue-Redmond
                              Secondary Stree two-way              two-lane   minor arterial
 Road
Frontage                      The subject has approximately 160 feet of frontage on Northeast Bellevue-
                              Redmond Road.


Accessibility                 The accessibility of the subject is rated as average/good. The subject is accessed
                              from one street, with the main entrance and primary point of ingress/egress being
                              Northeast Bellevue-Redmond Road. Major transportation arterials within proximity
                              to the subject include State Route 520 and Interstate 405, providing linkage to the
                              surrounding area.
Exposure                      The subject has average exposure, as it is located along a minor arterial. The
                              project's exposure rating takes into account its average visibility and its average
                              traffic count.
Seismic                       Very High Risk
Flood Zone                    Zone X (Unshaded). This is referenced by Community Number 530074, Panel
                              Number 53033C0369G, dated August 19, 2020. Zone X (unshaded) is a moderate
                              and minimal risk area. Areas of moderate or minimal hazard are studied based
                              upon the principal source of flood in the area. However, buildings in these zones
                              could be flooded by severe, concentrated rainfall coupled with inadequate local
                              drainage systems. Local stormwater drainage systems are not normally
                              considered in a community’s flood insurance study. The failure of a local drainage
                              system can create areas of high flood risk within these zones. Flood insurance is
                              available in participating communities, but is not required by regulation in these

        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES     Entered 02/19/25 16:03:51        Pg 39 of 189    25
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                  SEA240464


                             zones. Nearly 25-percent of all flood claims filed are for structures located within
                             these zones. Minimal risk areas outside the 1-percent and .2-percent-annual-
                             chance floodplains. No BFEs or base flood depths are shown within these zones.
                             (Zone X (unshaded) is used on new and revised maps in place of Zone C.)
Site Rating                  Overall, the subject site is considered a good office site in terms of its location,
                             exposure, and access to employment, education and shopping centers,
                             recognizing its location along a minor arterial.
Easements                    A preliminary title report was not available for review. During the on-site inspection,
                             no adverse easements or encumbrances were noted. This appraisal assumes that
                             there is no negative value impact on the subject improvements. If questions arise
                             regarding easements, encroachments, or other encumbrances, further research is
                             advised.
Soils                        A detailed soils analysis was not available for review. Based on the development
                             of the subject, it appears the soils are stable and suitable for the existing
                             improvements.
Hazardous Waste              We have not conducted an independent investigation to determine the presence
                             or absence of toxins on the subject property. If questions arise, the reader is
                             strongly cautioned to seek qualified professional assistance in this matter. Please
                             see the Assumptions and Limiting Conditions for a full disclaimer.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51         Pg 40 of 189        26
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                               SEA240464


IMPROVEMENT DESCRIPTION
The subject improvements consist of a 2-story office building (no elevator), and its supportive parking area. The
information presented below is a basic description of the existing improvements using sources deemed
dependable for this analysis. It is assumed that there are no hidden defects, and that all structural components
are functional and operational, unless otherwise noted.
Property Type                Office - Low-Rise Office
Design                       Multi-Tenant Occupied By Third-Party Tenants - 24 Tenant Spaces
Number of Buildings          1
Number of Stories            2
Net Rentable Area (NRA) 16,796 SF
Gross Building Area (GBA 17,386 SF
Floor Plate                  8,693 SF
Building Class               D
Site Coverage Ratio          20.1%
Land to Building Ratio       2.5 : 1
Parking                      73 (Surface) 4.3/1,000 SF NRA
Year Built                   1978
Age/Life Analysis
  Actual Age                 46 Years
  Effective Age              43 Years
  Economic Life              45 Years
  Remaining Life             2 Years
Quality                      Average
Condition                    Average

Basic Construction            Wood frame
Foundation                    Poured concrete slab
Framing                       Wood post and beam
Exterior Walls                Wood Siding
Roof                          Sealed membrane
Insulation                    Assumed to be standard and to code for both walls and ceilings
Heating                       Warmed and cooled air
Air Conditioning              HVAC
Lighting                      Fluorescent and Incandescent
Interior Walls                Drywall
Electrical                    Assumed adequate and to-code.
Ceilings                      2 x 4 acoustical tile


        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51       Pg 41 of 189       27
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                  SEA240464


Windows                      Standard windows; glass in aluminum frames
Doors                        Glass in metal frame, interior doors are hollow wood/metal in metal frames
Flooring                     Commercial carpet
Plumbing                     Standard plumbing for a low-rise office building
Fire Protection              The subject has smoke alarms but does not have a fire sprinkler system.
Security                     Video surveillance and alarm system
Elevators                    None noted
Landscaping                  Asphalt paving, concrete sidewalks, concrete curbing, pole mounted lights and low
                             maintenance sprinklered landscaping
Signage                      There is a monument style sign visible along Northeast Bellevue-Redmond Road
                             at the entrance to the subject.
Parking                      The subject property has an asphalt paved parking lot that is in good condition.
                             The subject’s parking lot provides a ratio of 4.2 spaces per 1,000 SF, which is a
                             moderate to high ratio for office uses.
Deferred Maintenance         Based on our interview with the property manager and the onsite inspection by the
                             field appraiser, no observable deferred maintenance exists.
Functional Design            The subject improvements offer average utility to the tenants. The quality and
                             condition of the property are suitable for lower-rent suites and shorter lease terms,
                             and will attract primarily tenants who are looking for the cheapest rent possible and
                             will not object to a 2nd-floor walk-up office. The site coverage and parking ratios are
                             within market standards. Overall, the subject has a functional design considering
                             the site and building configurations.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51        Pg 42 of 189         28
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                             SEA240464




ASSESSMENT & TAXATION
The subject property is located within the King County municipality. The assessed value and property tax for the
current year are summarized in the following table.

                                                    ASSESSMENT & TAXES
             Tax Year              2023 Payable 2024                                      Levy Rate        $7.80884
             Levy Code                      0330                                          Taxes Current        Yes
             Taxes SF Basis   Net Rentable Area

             APN                  LAND             IMPV          TOTAL       EXEMPTIONS    TAXABLE        BASE TAX
             272505-9147        $5,832,000     $2,358,100       $8,190,100         $0      $8,190,100      $63,955
             Totals             $5,832,000     $2,358,100       $8,190,100         $0      $8,190,100      $63,955
             Total/SF            $347.23           $140.40       $487.62        $0.00        $487.62         $3.81
                                                          Additional Tax Charges
             Noxious Weed                                                                                    $6.63
             Conservation                                                                                    $12.6
             Total Additional Tax Charges                                                                    $19.3
             Total Additional Tax Charges Per SF                                                             $0.00
             Total Base Tax & Additional Tax Charges                                                       $63,974
             Total Base Tax & Additional Tax Charges Per SF                                                  $3.81
             Source: King County Assessment & Taxation


Subject Property Analysis
The total taxable value for the subject property is $8,190,100 or $487.62/SF. There are no exemptions in place.
Total taxes for the property are $63,974 or $3.81/SF. The current assessed value is 105.3% of our concluded
market value. The assessed value included both land and improvement value, whereas our value conclusion is
based on land value and the site’s redevelopment potential. The assessor’s estimate does not yet reflect the
declining viability of the improvements, which can only command rental income at the low end of market range.
As part of the scope of work, we researched assessment and tax information related to the subject property. The
following are key factors related to local assessment and taxation policy. Real property in King County is
assessed at 100% of market value. Real property is reassessed annually. The next scheduled reassessment
date is January 1, 2025. In addition to scheduled reassessments, properties in King County are reassessed upon
conversion, renovation or demolition.
According to the King County treasury's office, real estate taxes for the subject property are current as of the
date of this report.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES              Entered 02/19/25 16:03:51           Pg 43 of 189     29
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                              SEA240464


ZONING ANALYSIS
The zoning characteristics for the subject property are summarized below:

                                                          ZONING SUMMARY
            Municipality Governing Zoning     City of Bellevue Planning & Zoning Department
            Current Zoning                    BelRed-Commercial/Residential District (BR-CR)
            Permitted Uses                    Uses including but not limited to: office uses, retail uses,
                                              hotels and motels, care facilities, residential uses, and
            Prohibited Uses                   Any other use not listed as permitted nor compatible with the
                                              district purpose and intent.
            Current Use                       Low-Rise Office
            Is Current Use Legally Permitted? Yes
            Zoning Change                     Not Likely

                                                      ZONING REQUIREMENTS
            Conforming Use                               The existing improvements represent a conforming use within
                                                         this zone
            Minimum Gross Floor Area (SF)                28,000
            Minimum Building Height (Feet)               45
            Minimum Yard Setbacks
             Front (Feet)                                0
             Rear (Feet)                                 0
             Side (Feet)                                 0
            Maximum Lot Coverage                         75%
            Maximum Building Height (Feet)               70
            Base Floor Area Ratio (FAR)                  1
            Parking Requirement
             Spaces Per 1,000 SF                         3.00
             Spaces Required                             50
             Spaces Provided                             73
            Source: City of Bellevue Planning & Zoning Department


Zoning Conclusions
Based on the interpretation of the zoning ordinance, the subject property is an outright permitted use that could
be rebuilt if unintentionally destroyed.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES              Entered 02/19/25 16:03:51         Pg 44 of 189        30
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                                  SEA240464


MARKET ANALYSIS
This section provides a study of office supply/demand conditions for the Seattle/Puget Sound market and
Suburban Bellevue submarket, competitive dataset analysis, market participant interviews and transaction
trends. These findings are used to support our conclusions for the competitive position, general vacancy and
exposure period for the subject property.
SEATTLE/PUGET SOUND OFFICE MARKET
The following is an analysis of supply/demand trends in the Seattle/Puget Sound office market using information
provided by CoStar, widely recognized as a credible source for tracking market statistics. The table below
presents historical data for key market indicators.
                      SEATTLE/PUGET SOUND HISTORICAL STATISTICS (LAST TEN YEARS)
            PERIOD        SUPPLY         NEW CONSTRUCTION          NET ABSORPTION         VACANCY            ASKING RENT
             2014     199,399,178 SF           692,715 SF            3,245,532 SF            8.9%             $28.21/SF
             2015     204,078,446 SF          4,679,268 SF           5,870,275 SF            7.9%             $29.80/SF
             2016     208,815,781 SF          4,737,335 SF           5,034,873 SF            6.9%             $31.05/SF
             2017     211,996,612 SF          3,180,831 SF           3,182,169 SF            7.3%             $31.55/SF
             2018     214,278,704 SF          2,282,092 SF           4,838,224 SF            6.2%             $31.71/SF
             2019     218,953,581 SF          4,674,877 SF           5,229,450 SF            5.8%             $33.00/SF
             2020     224,528,331 SF          5,574,750 SF           1,465,371 SF            6.3%             $34.11/SF
             2021     228,278,654 SF          3,750,323 SF           (1,178,982) SF          9.0%             $33.58/SF
             2022     229,810,127 SF          1,531,473 SF           (1,017,490) SF         10.0%             $34.15/SF
             2023     234,838,625 SF          5,028,498 SF           (4,473,338) SF         12.6%             $34.99/SF
             CAGR          1.6%                     -                      -                   -                2.2%
            *Supply numbers based on information w hich is amended/updated on an on-going basis by Costar.
             Source: Costar®

Over the past ten years the Seattle/Puget Sound office market was stable where there was balance in prevailing
office supply/demand conditions, until 2020, after which time demand collapsed. Over the 10-year time period
the market inventory significantly increased by 18.1%. Further there was moderate increase in the vacancy rate
(3.8% change, although rising sharply after 2020) and considerable increase of the asking average rent (24.0%
change).
The following table summarizes the trailing four quarter performance of the Seattle/Puget Sound market.
                        SEATTLE/PUGET SOUND TRAILING FOUR QUARTER PERFORMANCE
            PERIOD        SUPPLY         NEW CONSTRUCTION          NET ABSORPTION         VACANCY            ASKING RENT
            2023 Q3   233,004,235 SF          1,279,632 SF           (765,587) SF           12.9%             $34.73/SF
            2023 Q4   234,838,625 SF          1,834,390 SF           (1,058,904) SF         14.1%             $34.45/SF
            2024 Q1   236,380,791 SF          1,542,166 SF           (936,121) SF           15.0%             $34.35/SF
            2024 Q2   236,437,261 SF           56,470 SF               28,577 SF            15.0%             $34.24/SF
            Source: Costar®


Over the past four quarters the Seattle/Puget Sound office market has experienced an increase of supply.
Demand has been very weak until recently, and vacancy has risen. Asking rents have fallen slightly in the past
year.
Key supply/demand statistics for the most recent quarter, last year and historical averages are summarized
below.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES            Entered 02/19/25 16:03:51                   Pg 45 of 189    31
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                                     SEA240464


                                     SEATTLE/PUGET SOUND MARKET TREND ANALYSIS
                                                                               Q2 2024              2023           Last 10
            Total SF                                                      236,437,261      234,838,625         217,497,804
            Vacant SF                                                     35,547,271        29,589,667          17,560,773
            Market Vacancy                                                      15.0%              12.6%               8.1%
            Construction Grow th Rate                                           0.02%               2.1%               1.6%
            Absorption Rate                                                     0.01%              (1.9%)              0.9%
            Average Asking Rent/SF                                              $34.24             $34.99           $32.22
            Source: Costar®


Seattle/Puget Sound Market Conclusion
Based on the preceding analysis, the Seattle/Puget Sound office market is oversupplied and struggling with
weak demand. While the most recent market data may show the beginnings of a recovery, vacancy remains high
and only time will tell if a recovery can actually take hold.
SUBURBAN BELLEVUE OFFICE SUBMARKET OVERVIEW
The following is an analysis of supply/demand trends in the Suburban Bellevue office submarket using
information provided by CoStar. The table below presents historical data for key market indicators.
                        SUBURBAN BELLEVUE HISTORICAL STATISTICS (LAST TEN YEARS)
             PERIOD       SUPPLY         NEW CONSTRUCTION          NET ABSORPTION         VACANCY            ASKING RENT
              2014      7,065,247 SF              0 SF                120,885 SF             8.9%             $30.24/SF
              2015      7,065,247 SF              0 SF                127,918 SF             7.1%             $30.86/SF
              2016      7,071,027 SF            5,780 SF               65,286 SF             6.3%             $31.07/SF
              2017      7,167,258 SF           96,231 SF              157,918 SF             5.0%             $32.12/SF
              2018      7,167,258 SF              0 SF                 27,819 SF             4.5%             $32.51/SF
              2019      7,167,258 SF              0 SF                 2,043 SF              4.3%             $34.90/SF
              2020      7,949,030 SF           781,772 SF             599,482 SF             4.9%             $35.74/SF
              2021      8,176,816 SF           227,786 SF             226,596 SF             6.4%             $36.00/SF
              2022      8,222,016 SF           45,200 SF              127,549 SF             5.0%             $37.63/SF
              2023      8,878,853 SF           656,837 SF             (55,000) SF           10.4%             $39.68/SF
             CAGR             2.3%                  -                      -                   -                2.8%
            *Supply numbers based on information w hich is amended/updated on an on-going basis by Costar.
             Source: Costar®

Over the past ten years the Suburban Bellevue office submarket was stable where there was balance in
prevailing office supply/demand conditions. Over this time period the submarket inventory significantly increased
by 25.7%. Further there was significant positive absorption (19.8% change), moderate increase in the vacancy
rate (1.5% change) and considerable increase of the asking average rent (31.2% change).
The following table summarizes the trailing four quarter performance of the Suburban Bellevue submarket.
                          SUBURBAN BELLEVUE TRAILING FOUR QUARTER PERFORMANCE
             PERIOD       SUPPLY         NEW CONSTRUCTION          NET ABSORPTION         VACANCY            ASKING RENT
            2023 Q3     8,547,016 SF              0 SF                 58,060 SF             9.3%             $39.79/SF
            2023 Q4     8,878,853 SF           331,837 SF              2,369 SF             12.6%             $39.14/SF
            2024 Q1     9,096,853 SF           218,000 SF             163,226 SF            12.9%             $37.92/SF
            2024 Q2     9,096,853 SF              0 SF                (10,716) SF           13.1%             $38.19/SF
            Source: Costar®


Over the past four quarters the Suburban Bellevue office submarket has experienced an increase of supply.
There was also positive net absorption, increase in vacancy rates and decrease of asking rent in the marketplace.



        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES            Entered 02/19/25 16:03:51                   Pg 46 of 189       32
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                               SEA240464


Key supply/demand statistics for the most recent quarter, last year and historical averages are summarized
below.
                                     SUBURBAN BELLEVUE MARKET TREND ANALYSIS
                                                                  Q2 2024         2023       Last 10
            Total SF                                            9,096,853    8,878,853      7,593,001
            Vacant SF                                           1,187,503      918,961       475,246
            Market Vacancy                                         13.1%         10.4%          6.3%
            Construction Grow th Rate                                0.0%         7.4%          2.3%
            Absorption Rate                                        (0.1%)       (0.6%)          1.6%
            Average Asking Rent/SF                                 $38.19       $39.68        $34.08
            Source: Costar®

Suburban Bellevue Submarket Conclusion
Based on the preceding analysis, the Suburban Bellevue office submarket is somewhat oversupplied, although
demand has been much stronger than the region overall. Bellevue’s office stock is much more recent than the
older office buildings in downtown Seattle that are at the core of the office market’s affliction. Demand remains
inconstant and recently soft, but the local market has stronger prospects than the region overall.
INFLATION IMPACT / MACROECONOMY OVERVIEW
Over the past two years, macroeconomic conditions have slowed commercial real estate activity and tightened
debt markets. GDP growth has moderated. CPI trends indicate a continued but slower pace of inflation,
reflecting the impact of tighter monetary policy. Inflation reached a high of 9.1% in June 2022 and declined to
3.0% in July 2024. Although above the goal of 2.0% targeted as normal for a healthy economy, the inflation
break has paved the way for a shift in interest rates. With employment growth slowing, the unemployment rate
has increased to 4.3% in July 2024. Macroeconomic changes of this nature suggest a softening economy or the
potential for recession. Bond markets are pricing at a level that suggests a federal funds rate cut may be
imminent. Some analysts have predicted an emergency inter-meeting federal funds rate cut may occur prior to
the scheduled September meeting. Likewise, many economists believe the certainty of multiple rate cuts in 2024
has increased. The following charts summarize the current inflation rates in the United States.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51       Pg 47 of 189       33
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                  SEA240464


Federal Funds Effective Rate




In the July 2024 meeting, the Federal Reserve announced that it would keep its benchmark interest rate
unchanged at 5.25% to 5.5%. However, statements from the Chair suggested a September rate cut was being
considered, and indeed the September meeting announced a -0.50% decrease (not reflected in the chart above).
The higher cost of capital weighed on investment decisions in the real estate market from midyear 2022 through
early 2024. As rates have moderated back downward to prompt more transaction activity in the form of
recapitalizations, refinancing, and outright sales transactions, investment activity is expected to increase. The
market for commercial real estate is still responding to these changes and their impact is not yet fully understood.
IMPACT OF TREASURY RATE CHANGES
As of August 5, 2024, the 10-Year Treasury was at 3.768%. This shift marks a decrease from a high of 5% in
the 4th Quarter of 2023 and a trend in the 4.25 to 4.5% range through most of 2024. The August 2024 rapid
decline of the 10-year treasury reflect the lowest levels since June 2023.




The following table reflects changes in the US Treasury note over the past 30 days, illustrating the 50-basis point
drop in the last week.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51         Pg 48 of 189        34
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                    SEA240464




While it remains unclear as to how the market will react overall, the expectation is that the drop will be a catalyst
for transaction volume. Initial feedback from investors conveys that the lower 10-year treasury reflects the
market’s anticipation of what the Federal Reserve will do relative to the Federal Funds Rate. Nonetheless, the
10-year Treasury is a benchmark for lending and has resulted in lower lending rates in the past week, which is
anticipated to have an influence on buyer/seller actions.
The outcome of those actions remains to be seen along with how the economic factors driving the rate
adjustments may impact demand going forward. We have weighed the adjustment in rates in our capitalization
rate conclusion, recognizing more clarity on the market’s reaction will take more time to manifest fully.
TRANSACTION TRENDS
The trends informing the subject’s value involve both medical office leasing trends, and trends of redevelopment
toward higher-density multifamily residential uses.
As shown in the market analysis above, local office vacancy is rising, indicating weak demand for medical office
space. For a property such as the subject, which includes a sizable parking area, potential buyers would surely
see the subject as a current or future redevelopment candidate.
Multifamily residential development on the sites of formerly lower-density retail or office uses has long been the
most favored development trend in the Puget Sound region. This remains true at present, even though in the
past year the pace of new construction has slowed dramatically under the pressures of extreme inflation of costs
in labor and materials, as well as financial burdens stemming from high interest rates. As of late September
2024, the Federal Reserve has just decreased interest rate by 50 basis points. Market participants expect this
to spur new transactions and some new enthusiasm.
While new multifamily construction remains diminished regionally, it is still occurring in certain hotspots, including
in the subject’s area in Bellevue.
In the open market, the subject property type would command most interest from regional developers, who would
wait for in-place rents to expire before preparing the site for redevelopment.
SUBJECT PROPERTY ANALYSIS
The subject is an Office (Low-Rise Office) asset with a total net rentable area of 16,796 SF. The market generally
classifies the subject as a small investment property, although the property is also viewed as a medium-term
redevelopment candidate. As such, any new leases in the vacant suites would not be likely to exceed a few years
in duration, i.e., new leases would not extend beyond the longest in-place lease through July 2026. Rental
income for the property would be viewed as interim income.
GENERAL VACANCY CONCLUSION
As summarized in the table below this market analysis relied on various published data sources and field
research for assessing how supply/demand conditions influence the long-term vacancy estimate of the subject
property.


        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES    Entered 02/19/25 16:03:51          Pg 49 of 189        35
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                                         SEA240464


                                         GENERAL VACANCY CONCLUSION
                     CoStar                                   2024 Q3           LAST YR    10 YR AVG
                      Seattle/Puget Sound Market               15.0%              12.6%          8.1%
                      Suburban Bellevue Submarket              13.1%              10.4%          6.3%
                     Subject                                   22.0%              22.0%           n/a
                     GENERAL VACANCY RATE CONCLUSIONS                                            0.0%


Because the subject improvements are nearing the end of their economic life, any future leasing is likely to be
short-term and below-market. Because the subject’s primary value is in its land, a general vacancy deduction is
not relevant.
EXPOSURE TIME & MARKETING PERIOD
Exposure time is best established based the recent history of marketing periods for comparable sales, discussions
with market participants and information from published surveys. The following table summarizes the information
that was taken into consideration to develop an estimate of exposure time and marketing period for the subject
property:

                                      EXPOSURE TIME & MARKETING PERIOD
                   SOURCE                           QUARTER      RANGE             AVG LAST Q LAST YR
                   PriceWaterhouse Coopers
                    National Secondary Office        3Q 24     3.0 to    12.0        6.8   6.8          6.7
                    Seattle Office                   3Q 24     3.0 to     9.0        5.8   5.5          5.0
                   Comparable Sales Dataset                    0.0 to     8.0        3.5
                   AVERAGE                                     2.0 to     9.7        5.4   6.2          5.9


The preceding information generally supports an exposure time range from 3 to 12 months for Office (Low-Rise
Office) properties. However, a developer would take immediate interest in the subject, and marketing would likely
require less than 6 months. The availability of acquisition financing also factors into exposure time and marketing
period. Our review of the local capital market indicate that adequate financing options would have been available
to consummate a sale of the subject on the date of value.
Exposure Time Conclusion
Six Months Or Less
Marketing Period Conclusion
Six Months Or Less




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES      Entered 02/19/25 16:03:51                Pg 50 of 189    36
PROPERTY & ASSIGNMENT OVERVIEW
CONTINUED                                                                                              SEA240464


HIGHEST AND BEST USE ANALYSIS
This section develops the highest and best use of the subject property as-vacant and as-improved. The highest
and best use, or most probable use, must be legally permissible, physically possible, financially feasible, and
maximally productive.
As-Vacant Analysis
Permitted uses of the subject’s BelRed-Commercial/Residential District (BR-CR) zoning were listed in the Zoning
Analysis section. Regarding physical characteristics, the subject site is generally rectangular in shape and has
sloping topography with average/good access and average exposure. The subject site has frontage on an
arterial. The immediate area is developed with office and retail development along major arterials that is
interspersed with multi-family complexes and single-family residential development removed from arterials.
Based on our observations of land development trends for sites with similar zoning and physical characteristics
as the subject and analysis of current supply/demand trends, the highest and best use of the subject site as-
vacant is development of a multifamily residential property as market conditions warrant.
As-Improved Analysis
The subject’s Office (Low-Rise Office) use (as-improved) is permitted outright by the BR-CR zoning. The
subject’s improvements were constructed in 1978 and have a remaining economic life of 2 years based on our
estimate. As such, the improvements are nearing the end of their economic life, and the underlying land value
already exceeds the value as-improved.
While the subject is encumbered by in-place leases extending through July 2026, it is already the case that the
subject’s underlying land value exceeds its value as improved (refer to our Land Valuation section later in this
report). As such, the Highest & Best Use of the property is concluded to be continued use as an office property
for the interim until expiration of in-place leases allows for demolition of the improvements and redevelopment
with a multifamily residential use.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51      Pg 51 of 189       37
VALUATION METHODS
                                                                                                         SEA240464


VALUATION METHODS
The following presentation of the appraisal process deals directly with the valuation of the subject property. The
paragraphs below describe the standard approaches to value that were considered for this analysis.
Income Approach
The two fundamental methods of this valuation technique include Discounted Cash Flow and Direct
Capitalization.
Characteristics specific to the subject property warrant that this valuation technique is developed. Development
of the Income Approach is a specific scope requirement of this assignment. The subject is an investment
property; therefore, the Income Approach represents the decision making process of knowledgeable buyers and
sellers of this property type. The Direct Capitalization method is used in this analysis. Discounted Cash Flow
analysis does not contribute substantially to estimating value beyond the direct capitalization method and is not
used in this analysis.
Sales Comparison Approach
Characteristics specific to the subject property warrant that this valuation technique to be developed.
Development of the Sales Comparison Approach is a specific scope requirement of this assignment. Sufficient
sales data is available to provide a credible value estimate by the Sales Comparison Approach. Based on this
reasoning, the Sales Comparison Approach is presented within this appraisal.
Land Valuation
Characteristics specific to the subject property do not warrant that a site value is developed. Development of the
subject site value is not a specific scope requirement of this assignment. Therefore, this appraisal does not
provide valuation of the subject site.
Cost Approach
Characteristics specific to the subject property do not warrant that this valuation technique is developed.
Development of the Cost Approach is not a specific scope requirement of this assignment. The Cost Approach
has limited applicability due to the age of the improvements and lack of market based data to support an estimate
of accrued depreciation. Based on the preceding information, the Cost Approach will not be presented.
Reconciliation of Value Conclusions
The Income (Direct Capitalization) and Sales Comparison approaches are used to value the subject property,
which will be reconciled into the final opinions of market value in the Analysis of Value Conclusions section.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51       Pg 52 of 189        38
INCOME APPROACH
                                                                                                        SEA240464


INCOME APPROACH
As previously discussed within the Valuation Methods section, the Direct Capitalization method is used in this
analysis, and Discounted Cash Flow analysis is not developed.
DIRECT CAPITALIZATION
The first step in the direct capitalization method is to estimate the subject’s durable rental income through
reconciliation of the subject’s in-place lease terms and market rent analysis. Next, we analyze other income
items including reimbursements and miscellaneous revenue. Then, vacancy allowance and operating expenses
are estimated based on analysis of the subject and market indicators. Finally, the resulting net operating income
is capitalized at an appropriate supported rate. The implied value may be adjusted to account for non-stabilized
conditions or required capital expenditures to reflect an as is value.
RENTAL INCOME ANALYSIS
In this section, we developed an opinion of the subject’s rental income through examination of subject lease
terms and market rent analysis. The rental income conclusion was reconciled taking into account such items as
durability of in-place contract rents, lease escalations and market terms as measured by rent comparables.
Rent Roll
The following Rent Roll Summary reflects a breakdown of the individual tenant spaces and a snapshot of in-
place contract rents including lease term, expense structure and base rent.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51       Pg 53 of 189       39
INCOME APPROACH
CONTINUED                                                                                                                   SEA240464



       RENT ROLL SUMMARY
                                  TOTAL      % OF     TENANT       LEASE TERMS           EXPENSE       CURRENT BASE RENT
     SUITE TENANT NAME            NRA (SF)    NRA     GROUP     START END        YEARS STRUCTURE $/SF(MO.) $/SF(YR.)   ANNUAL
     100    Olga Shade              228      1.4%      Office   12/23    10/24    0.9    Triple Net   $1.38   $16.58     $3,780
     102    Conant Lens            1,044     6.2%      Office    8/19    7/26     7.0    Triple Net   $1.75   $21.06    $21,984
     103    Cruise Center           781      4.6%      Office    6/19    5/25     6.0    Triple Net   $1.22   $14.70    $11,481
     104    Wenrui Art Studio       600      3.6%      Office   9/23     8/25     2.0    Triple Net   $1.24   $14.90     $8,940
     105    Kinese Studio           519      3.1%      Office   10/19    9/25     6.0    Triple Net   $1.59   $19.08     $9,900
     106    Mona Foundation         854      5.1%      Office   6/19     5/25     6.0    Triple Net   $2.04   $24.45    $20,884
     110    Syntax Tech             610      3.6%      Office   4/24     5/25     1.1    Triple Net   $1.50   $18.00    $10,980
     101A AMG Financial             223      1.3%      Office   5/18     4/26     8.0    Triple Net   $1.77   $21.26     $4,740
     101B Silver Pacific Homes      345      2.1%      Office   2/22     2/26     4.0    Triple Net   $1.75   $21.01     $7,248
     101C Olga Shade                573      3.4%      Office   3/24     2/26     2.0    Triple Net   $1.25   $14.99     $8,592
     108A S-On Chinese School       318      1.9%      Office   11/23    10/25    2.0    Triple Net   $1.81   $21.74     $6,912
     108B Sudden Beauty             702      4.2%      Office   3/24     3/25     1.0    Triple Net   $0.87   $10.50     $7,368
     109A CYT Makeup                486      2.9%      Office   7/24     7/25     1.1    Triple Net   $1.50   $18.02     $8,760
     202    NSA Motors              545      3.2%      Office   12/23    12/24    1.0    Triple Net   $1.25   $14.99     $8,172
     203    Levite Construction     684      4.1%      Office   4/24     3/26     2.0    Triple Net   $1.25   $15.00    $10,260
     204    Longwell Office II      995      5.9%      Office   1/23     12/24    2.0    Triple Net   $1.50   $18.00    $17,910
     205    US Tiny Bear           1,102     6.6%      Office   6/24     6/25     1.1    Triple Net   $1.25   $15.01    $16,536
     206    InExt Staging           878      5.2%      Office    1/22    1/25     3.1    Triple Net   $1.57   $18.79    $16,496
     208    LuComm Technology       644      3.8%      Office    3/20    2/25     5.0    Triple Net   $1.62   $19.49    $12,555
     204A Anna Lozhinka             320      1.9%      Office    3/23    2/25     2.0    Triple Net   $1.50   $18.01     $5,764
     204B Signature Eyelash         645      3.8%      Office    5/23    10/24    1.5    Triple Net   $1.76   $21.14    $13,634
     OCCUPIED SUBTOTALS            13,096    78.0%                                                    $1.48   $17.78   $232,894
      201 Vacant                   1,399     8.3%      Office
      207 Vacant                   1,265     7.5%      Office
      109B Vacant                  1,036     6.2%      Office
     VACANT SUBTOTALS              3,700     22.0%
     TOTAL NRA                     16,796    100.0%                                                   $1.16   $13.87   $232,894


As indicated in the preceding table the subject property contains 16,796 SF of NRA of which 13,096 SF is
currently occupied, and 3,700 SF is currently vacant. The current occupancy level is 78.0%. Because the
property’s land value is concluded to exceed its value as improved, no stabilized occupancy level is concluded.
Future interim leasing of vacant spaces is likely to be shorter-term leases at lower rents (which already describes
many current tenants).
Asking Rent
Asking rents for vacant spaces are close to the rates of recent leases, i.e., $15-$18/SF/year NNN.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES               Entered 02/19/25 16:03:51             Pg 54 of 189        40
INCOME APPROACH
CONTINUED                                                                                               SEA240464


MARKET RENT ANALYSIS
This section examines competitive comparable properties within the marketplace to establish our opinion of
market rent for the subject property. This allows for a comparison of the subject property’s contract to what is
attainable in the current market.
Adjustment Process
Quantitative adjustments are made to the comparable leases. The following adjustments or general market
trends were considered for the basis of market rent analysis.
Transactional Adjustments     If warranted, the comparable leases were adjusted for varying lease structures,
                              atypical concessions and market conditions.
Concession Adjustment         Free rent and TI concessions vary widely in the market, and the subject’s suites
                              are generally in market-ready condition, within minimal TIs offered. Comparables
                              with significant TI outlays are adjusted downward as appropriate.
Property Adjustments          Quantitative percentage adjustments were made for location and physical
                              characteristics such as size, age, condition, exposure and parking ratio. It should
                              be stressed that the adjustments are subjective in nature and are meant to
                              illustrate our logic in deriving a value opinion for the subject site.
Tenant Space Adjustments      The lease comparables were further adjusted to the subject to account for tenant
                              space specific characteristics such as size and space functionality.
The following table summarizes the market conditions adjustment applied in this analysis.
                                       MARKET CONDITIONS ADJUSTMENT
                                 Per Year As Of September 2024    (As-Is)       2%


The analysis applies an upward market conditions adjustment of 2% annually reflecting the conditions between
the oldest comparable lease date up through the effective valuation date.
ANALYSIS OF COMPARABLE OFFICE LEASES
The Office lease analysis is used to derive an opinion of market rent and correlating leasing assumptions for the
Office MLA category. The following pages present a summation table of the comparables selected for this
analysis, a location map and comparable photographs, the lease comparable adjustment process and our market
rent conclusion.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES        Entered 02/19/25 16:03:51   Pg 55 of 189      41
INCOME APPROACH
CONTINUED                                                                                                                   SEA240464



                              OFFICE LEASE SUMMATION TABLE
               COMPARABLE            SUBJECT         LEASE 1          LEASE 2          LEASE 3        LEASE 4
               Name                  Amity Court     Bellewood Three Northup North      Creekside     12950 Northup
                                                                     Offices - Building Offices       Way, Suites A
                                                                     A                                and B
               Address               14400 Northeast 2101 112th Ave 2300 130th          1530 140th    12950 Northup
                                     Bellevue-       NE              Avenue             Avenue        Way, Suites A
                                     Redmond Road                    Northeast          Northeast     and B
               City                  Bellevue        Bellevue        Bellevue           Bellevue      Bellevue
               State                 WA              WA              WA                 WA            WA
               Zip                   98007           98004           98005              98005         98005
                                                    PHYSICAL INFORMATION
               Property Type         Office          Office           Office           Office         Office
               NRA                   16,796          6,550            17,122           20,316         57,122
               Occupancy             78.0%           81.0%            12.0%            93.0%          -
               Location              Average/Good    Good             Good             Average/Good   Average/Good
               Quality               Average         Average/Good     Good             Average        Average
               Condition             Average         Average/Good     Average/Good     Average        Average
               Exposure              Average         Average          Average          Average        Average
               Access                Average/Good    Good             Good             Average/Good   Average/Good
               Parking Spaces        73              30               79               144            86
               Year Built            1978            1979             1985             1988           1979
                                                     LEASE INFORMATION
               Tenant Name                           D&Y Music        SmallTalk        Good USA       Accoustic
                                                     School
               Commencement Date                     6/1/2024         4/1/2023         11/1/2022      1/1/2022
               Lease Type                            New              New              New            New
               Lease Status                          Signed           Signed           Signed         Signed
               Rate Type                             NNN              FSG              Gross          NNN
               Size (SF)                             1,216            1,717            996            7,306
               % Office                              0.0%             0.0%             0.0%           100.0%
               Term (Yrs)                            3.0              5.0              4.2            5.2
               Rent ($/SF/Yr.)                       $32.00           $38.00           $21.69         $13.92
               Avg. Escalation/Yr                    2.0%             3.0%             5.0%           -
               Concessions                           3 Mos.           2 Mos.           -              0
               TI's ($/SF)                           $15              $15              -              -
               Options                               No               No               No             No
               Confirmation Source                   Madison Bay      Kidder Mathews Lease Document First Western
                                                     Commercial                                     Properties

               Confirmation Name                     Ted Winskill     Todd Gauthier    -              Jake Thurber




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES             Entered 02/19/25 16:03:51                   Pg 56 of 189    42
INCOME APPROACH
CONTINUED                                                                                                             SEA240464



COMPARABLE OFFICE LEASE MAP




                                                    COMPARABLE KEY
COMP        DISTANCE    ADDRESS                                                             LEASE DATE        SF     $/SF
SUBJECT         -       14400 Northeast Bellevue-Redmond Road, Bellevue, WA                      -              -        -
No. 1       2.0 Miles   2101 112th Ave NE, Bellevue, WA                                       6/1/2024      1,216   $32.00
No. 2       0.9 Miles   2300 130th Avenue Northeast, Bellevue, WA                             4/1/2023      1,717   $38.00
No. 3       0.3 Miles   1530 140th Avenue Northeast, Bellevue, WA                            11/1/2022       996    $21.69
No. 4       0.9 Miles   12950 Northup Way, Suites A and B, Bellevue, WA                       1/1/2022      7,306   $13.92




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                 Entered 02/19/25 16:03:51      Pg 57 of 189        43
INCOME APPROACH
CONTINUED                                                                                         SEA240464



COMPARABLE OFFICE RENT PHOTOGRAPHS



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        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 58 of 189    44
INCOME APPROACH
CONTINUED                                                                                                                         SEA240464



                             OFFICE LEASE ADJUSTMENT TABLE
               COMPARABLE              SUBJECT           LEASE 1        LEASE 2            LEASE 3          LEASE 4
               Name                    Marray Franklyn Bellewood Three Northup North      Creekside         12950 Northup
                                       Building                        Offices - Building Offices           Way, Suites A
                                                                       A                                    and B
               Address                 14400 Northeast 2101 112th Ave 2300 130th          1530 140th        12950 Northup
                                       Bellevue-       NE              Avenue             Avenue            Way, Suites A
                                       Redmond Road                    Northeast          Northeast         and B
               City                    Bellevue        Bellevue        Bellevue           Bellevue          Bellevue
               NRA                     16,796          6,550           17,122             20,316            57,122
               Year Built              1978              1979           1985               1988             1979
                                                        LEASE INFORMATION
               Tenant Name                               D&Y Music      SmallTalk          Good USA         Accoustic
                                                         School
               Commencement Date                         6/1/2024       4/1/2023           11/1/2022        1/1/2022
               Lease Type                                New            New                New              New
               Lease Status                              Signed         Signed             Signed           Signed
               Rate Type                                 NNN            FSG                Gross            NNN
               Size (SF)                                 1,216          1,717              996              7,306
               Term (Yrs)                                3.0            5.0                4.2              5.2
               Rent ($/SF/Yr.)                           $32.00         $38.00             $21.69           $13.92
               Avg. Escalation/Yr                        2.0%           3.0%               5.0%             -
               Concessions                               3 Mos.         2 Mos.             -                0
               TI's ($/SF)                               $15            $15                -                -
                                                 TRANSACTIONAL ADJUSTMENTS
               Lease Type                                $0.00          ($9.00)            ($7.00)          $0.00
               Concessions                               ($7.67)        ($4.27)            $0.00            $0.00
               Market Conditions¹                        1%             3%                 4%               6%
               Subtotal Eff Rent                         $24.48         $25.46             $15.25           $14.69
                                                    PROPERTY ADJUSTMENTS
               Location                Average/Good      Good           Good               Average/Good     Average/Good
                  Adjustment                             -5%            -5%                0%               0%
               Size (Property)         16,796            6,550          17,122             20,316           57,122
                  Adjustment                             0%             0%                 0%               0%
               Quality                 Average           Average/Good   Good               Average          Average
                  Adjustment                             -5%            -10%               0%               0%
               Condition               Average           Average/Good   Average/Good       Average          Average
                  Adjustment                             -5%            -5%                0%               0%
               Exposure                Average           Average        Average            Average          Average
                  Adjustment                             0%             0%                 0%               0%
               Access                  Average/Good      Good           Good               Average/Good     Average/Good
                  Adjustment                             -5%            -5%                0%               0%
               Subtotal Property Adj                     -20%           -25%               0%               0%
               TOTAL ADJUSTED RENT                       $19.58         $19.10             $15.25           $14.69
               STATISTICS              UNADJUSTED        ADJUSTED             MARKET CONCESSIONS¹
               LOW                     $13.92            $14.69               Lease Type       Triple Net
               HIGH                    $38.00            $19.58               Free Rent        0 Mos.
               MEDIAN                  $26.85            $17.17               TI's             $0/SF
               AVERAGE                 $26.40            $17.15
               ¹ Market Conditions Adjustment - Compound annual change in market conditions: 2%
               Date of Value (for adjustment calculations): 9/18/24

Office Lease Analysis
We have selected four comparable leases from the nearby Bellevue area for analysis of the subject’s market
rent.




        25-00240-WLH11
© 2024 COLLIERS                Doc 10 & ADVISORY
                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES               Entered 02/19/25 16:03:51                       Pg 59 of 189    45
INCOME APPROACH
CONTINUED                                                                                                                  SEA240464


Lease 1 is a music school lease west of the subject. After downward adjustment for concessions, the property
is adjusted downward for superior location closer to downtown Bellevue, and superior quality, condition and
access closer to Interstate 405.
Lease 2 is adjusted downward for lease type to equate to a NNN basis, and downward for concessions. Then
the property is adjusted downward for location, quality, condition and access closer to SR-512.
Lease 3 is adjusted downward for lease type and upward for market conditions, and there are no property
adjustments. This is considered one of the stronger comparisons.
Lease 4 is in a retail/office building. After market conditions adjustment, there are no property adjustments. This
is also a strong comparison.
OFFICE SPACE MARKET RENT CONCLUSION
Leases 3 and 4 are the strongest comparisons. They indicate rents slightly below the average of the subject’s
in-place leases. However the average of adjusted indications is very close, so we conclude at a market rent
of $17/SF/year NNN, which is bracketed by the indications. The following table summarizes the analysis of the
comparable leases and the Office market rent conclusion.

                                            OFFICE LEASE CONCLUSION TABLE
                          LEASE                               ADJUSTMENT                         NET GROSS     OVERALL
            LEASE          RATE        TRANSACTIONAL¹ ADJUSTED PROPERTY²              FINAL     ADJ % ADJ % COMPARISON
               1          $32.00             ($7.52)          $24.48   -20%           $19.58    -39%    45%   SECONDARY
               2          $38.00            ($12.54)          $25.46   -25%           $19.10    -50%    63%   SECONDARY
               3          $21.69             ($6.44)          $15.25       0%         $15.25    -30%    36%    PRIMARY
               4          $13.92             $0.77            $14.69       0%         $14.69     6%      6%    PRIMARY
             LOW          $14.69                                                               AVERAGE          $17.15
             HIGH         $19.58                                                               MEDIAN           $17.17
                                  AVERAGE CONTRACT                         MARKET RANGE                       CONCLUSION
            Office                           $17.78                        $14.69 - $19.58                      $17.00
            ¹Cumulative ²Additive (Includes Tenant Adjustments)


POTENTIAL GROSS RENT
Our analysis and conclusions of the subject’s potential gross rent are detailed as follows:




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES              Entered 02/19/25 16:03:51                Pg 60 of 189     46
INCOME APPROACH
CONTINUED                                                                                                                                   SEA240464



       POTENTIAL GROSS RENT SUMMARY                                                                             AS OF SEPTEMBER 2024
     OCCUPIED SPACE
                                TOTAL       % OF TENANT CONTRACT MARKET CONTRACT BASIS FOR     RENT FORECAST
     TENANT                    NRA (SF)     NRA CATEGORY  RENT    RENT V MARKET PROFORMA $/SF(MO.) $/SF(YR.) ANNUAL
     Olga Shade                       228    1.4%      Office       $16.58        $17.00   98%       Contract       $1.38    $16.58      $3,780
     Conant Lens                    1,044    6.2%      Office       $21.06        $17.00   124%      Contract       $1.75    $21.06     $21,984
     Cruise Center                    781    4.6%      Office       $14.70        $17.00   86%       Contract       $1.22    $14.70     $11,481
     Wenrui Art Studio                600    3.6%      Office       $14.90        $17.00   88%       Contract       $1.24    $14.90      $8,940
     Kinese Studio                    519    3.1%      Office       $19.08        $17.00   112%      Contract       $1.59    $19.08      $9,900
     Mona Foundation                  854    5.1%      Office       $24.45        $17.00   144%      Contract       $2.04    $24.45     $20,884
     Syntax Tech                      610    3.6%      Office       $18.00        $17.00   106%      Contract       $1.50    $18.00     $10,980
     AMG Financial                    223    1.3%      Office       $21.26        $17.00   125%      Contract       $1.77    $21.26      $4,740
     Silver Pacific Homes             345    2.1%      Office       $21.01        $17.00   124%      Contract       $1.75    $21.01      $7,248
     Olga Shade                       573    3.4%      Office       $14.99        $17.00   88%       Contract       $1.25    $14.99      $8,592
     S-On Chinese School              318    1.9%      Office       $21.74        $17.00   128%      Contract       $1.81    $21.74      $6,912
     Sudden Beauty                    702    4.2%      Office       $10.50        $17.00   62%       Contract       $0.87    $10.50      $7,368
     CYT Makeup                       486    2.9%      Office       $18.02        $17.00   106%      Contract       $1.50    $18.02      $8,760
     NSA Motors                       545    3.2%      Office       $14.99        $17.00   88%       Contract       $1.25    $14.99      $8,172
     Levite Construction              684    4.1%      Office       $15.00        $17.00   88%       Contract       $1.25    $15.00     $10,260
     Longwell Office II               995    5.9%      Office       $18.00        $17.00   106%      Contract       $1.50    $18.00     $17,910
     US Tiny Bear                   1,102    6.6%      Office       $15.01        $17.00   88%       Contract       $1.25    $15.01     $16,536
     InExt Staging                    878    5.2%      Office       $18.79        $17.00   111%      Contract       $1.57    $18.79     $16,496
     LuComm Technology                644    3.8%      Office       $19.49        $17.00   115%      Contract       $1.62    $19.49     $12,555
     Anna Lozhinka                    320    1.9%      Office       $18.01        $17.00   106%      Contract       $1.50    $18.01      $5,764
     Signature Eyelash                645    3.8%      Office       $21.14        $17.00   124%      Contract       $1.76    $21.14     $13,634
     OCCUPIED SUBTOTAL            13,096    78.0%        -                                  -           -           $1.48    $17.78    $232,894
     VACANT SPACE                                                                                                MARKET POTENTIAL RENT (1)
     Vacant                         1,399    8.3%      Office          -          $17.00    -        Market         $1.42    $17.00     $23,783
     Vacant                         1,265    7.5%      Office          -          $17.00    -        Market         $1.42    $17.00     $21,505
     Vacant                         1,036    6.2%      Office          -          $17.00    -        Market         $1.42    $17.00     $17,612
     VACANT SUBTOTALS               3,700   22.0%                                                                   $1.42    $17.00     $62,900
     TOTAL                        16,796 100.0%                                                                     $1.47    $17.61    $295,794
     (1) Potential rent at current market levels, reflected on an annual basis.


In the table above, we applied contract rents to occupied spaces that represent durable income. Market rents
were applied to vacant spaces and occupied spaces with tenants that are scheduled to roll-over near-term.
Our conclusions of the subject’s rental income in relationship to historical rental income are detailed as follows:

                                                             TOTAL RENTAL INCOME
       YEAR                      TOTAL      $/SF     %EGI                                         ANALYSIS
       2023                    $423,148     $25.19    99.9% The projection is based on the contract rent in place with the vacant space being
       PROFORMA                $295,794     $17.61    60.0% leased at market rates. Note that the 2023 rent was reported bundled together with
                                                            NNN charges representing about $10/SF/year.


The subject’s actual contract rents were compared with market rents within the previously presented Potential
Gross Rent Summary table. Overall, the contract rents within the subject property are considered to be
representative of market levels in general, which will be factored into our rate selections later in this analysis.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                          Entered 02/19/25 16:03:51                Pg 61 of 189          47
INCOME APPROACH
CONTINUED                                                                                                         SEA240464


INCOME & EXPENSE ANALYSIS
In this section, we estimate additional revenue sources, vacancy and credit loss, and applicable operating
expenses. The following table summarizes the historical operations of the subject property, along with our
estimate of income and expenses on a stabilized basis.

                              SUBJECT OPERATING HISTORY
                          YEAR                              2023               PROFORMA
                          INCOME ITEMS                   TOTAL        $/SF      TOTAL        $/SF
                            Base Contract Income        $423,148    $25.19     $232,894    $13.87
                            Market Rent Vacant Space          $0          -     $62,900     $3.74
                          TOTAL RENTAL INCOME           $423,148    $25.19     $295,794    $17.61
                          REIMBURSEMENTS
                                                                -         -     $63,974     $3.81
                                                                -         -      $8,398     $0.50
                                                                -         -     $37,791     $2.25
                                                                -         -     $21,835     $1.30
                                                                -         -     $50,388     $3.00
                                                                -         -     $14,789     $0.88
                          TOTAL REIMBURSEMENTS                $0          -    $197,175    $11.74
                          MISCELLANEOUS
                            Other Income                    $463     $0.03           $0          -
                          TOTAL MISCELLANEOUS               $463     $0.03           $0          -
                          TOTAL GROSS INCOME            $423,611    $25.22     $492,970    $29.35
                          General Vacancy                       -         -          $0          -
                          Credit & Collection Loss              -         -          $0             -
                          EFFECTIVE GROSS INCOME        $423,611    $25.22     $492,970    $29.35
                          EXPENSE ITEMS
                            Real Estate Taxes           ($57,923)   ($3.45)    ($63,974)   ($3.81)
                            Property Insurance           ($7,116)   ($0.42)     ($8,398)   ($0.50)
                            Repairs and Maintenance     ($35,268)   ($2.10)    ($37,791)   ($2.25)
                            Cleaning and Janitorial     ($21,217)   ($1.26)    ($21,835)   ($1.30)
                            Utilities                   ($46,864)   ($2.79)    ($50,388)   ($3.00)
                            Management Fees             ($14,871)   ($0.89)    ($14,789)   ($0.88)
                            Reserves                          $0          -     ($1,680)   ($0.10)
                          TOTAL EXPENSES               ($183,259) ($10.91)    ($198,855) ($11.84)

                          NET OPERATING INCOME          $240,352    $14.31     $294,115    $17.51




Expense Reimbursements
The subject’s historicals were reported as bundled together with base rent, but clearly corresponds to the
reported expenses.
The rental income conclusion assumes a predominantly NNN expense structure where the tenant pays all
operating expenses through reimbursement to the owner. These reimbursements were based on the operating
expenses that are concluded later in the Income Approach. The subject’s reported expense levels are within a
typical range, and we forego the analysis of expense comparables, as it has been noted that the subject’s land
value exceeds its value as improved.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES     Entered 02/19/25 16:03:51                 Pg 62 of 189    48
INCOME APPROACH
CONTINUED                                                                                                                           SEA240464


VACANCY AND CREDIT LOSS
General vacancy was discussed in depth in the market analysis section of this report. Regarding credit loss,
investors generally apply credit loss in a range from none to 2% depending on the quality of tenant mix and
current economic conditions. As shown below, no general vacancy deduction is relevant, because any future
leasing in the subject will likely be short-term.
                                                      VACANCY & CREDIT LOSS
                          General Vacancy Rate                                                                  0.0%

                          Credit Loss Conclusion                                                                0.0%
                          Total                                                                                 0.0%




DEVELOPMENT OF CAPITALIZATION RATE
In developing our opinion of the capitalization rate, also known as overall rate (OAR), the following techniques
were used:
       Comparable Sales
       Investor Surveys
       Band of Investment Technique
Comparable Sales
The following table presents a summary of the comparable sales used ahead in the Sales Comparison Approach,
and the capitalization rates from each of those sales (Rate Comparables 1 thru 3). We have included additional
sales (Comparables 4 and 5) to further support capitalization rate trends for the subject property.

                                       CAPITALIZATION RATE COMPARABLES (OAR)
            NAME                      CITY            SALE DATE        YR BLT    NRA      $/SF SALE PRICE       NOI    NOI/SF CAP RATE
       1 Bellevue Forest 1            Bellevue     February 29, 2024    1984     6,776    $520   $3,522,480   $223,677 $33.01   6.35%
       2 The 15885 Building           Bellevue     December 26, 2023 1999       12,444    $522   $6,500,000   $394,550 $31.71   6.07%
       3 Aurora Ave. Office           Seattle      December 7, 2023     1953    20,093    $370   $7,425,000   $388,216 $19.32   5.23%
       4 Tukwila Office               Tukwila        June 11, 2024      1969    19,244    $229   $4,400,000   $310,200 $16.12   7.05%
       5 Shoreline Office             Shoreline       May 8, 2024       1979    17,355    $242   $4,200,000   $252,000 $14.52   6.00%
      LOW                                          December 7, 2023                                                             5.23%
      HIGH                                           June 11, 2024                                                              7.05%
      AVERAGE                                        March 4, 2024                                                              6.14%
      MEDIAN                                       February 29, 2024                                                            6.07%
      SUBJECT                          Bellevue                         1978     16,796                                $17.51


Rates range from a low of 5.23% for a an older office sale along Aurora Ave. north of downtown Seattle, to a
high of 7.05% for an office sale in Tukwila. The subject’s rate would fall within this range, with the expectation of
medium-term redevelopment likely pushing it toward the low end, around the average and median of indications.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                      Entered 02/19/25 16:03:51               Pg 63 of 189       49
INCOME APPROACH
CONTINUED                                                                                                                      SEA240464


Investor Surveys
The following table provides capitalization rate statistics as surveyed by investors that we considered to be
relevant to the subject property and our independent market participant interview.

                                          CAPITALIZATION RATE SURVEYS (OAR)
                   SOURCE                                  QUARTER           RANGE              AVG LAST Q LAST YR
                   PriceWaterhouse Coopers
                    National Secondary Office                   3Q 24     6.50% to 10.25%   8.50%        8.50%    8.16%
                    Seattle Office                              3Q 24     6.25% to 11.00%   7.96%        7.95%    7.07%
                   Real Capital Analytics
                    Tertiary West Office                        2Q 24                       8.79%             -   6.33%
                    Seattle Office                              2Q 24                              -     8.17%        -
                   AVERAGE                                                6.38% to 10.63%   8.42%         8.21%   7.19%


Trends from investor surveys are generally higher than our rate comparisons from sales. As noted, the subject’s
good tenancy is likely only interim income, as redevelopment can be expected with the land value already
exceeding the subject’s value as improved. As such, future income streams are less applicable to the subject
property, and so a lower capitalization rate would be appropriate.
Band of Investment Technique
Most properties are purchased with debt and equity capital; therefore, the overall capitalization rate must satisfy
the market return requirements of both investment positions. Available financing information from lenders and
the sales comparables indicates the following terms:

                                           BAND OF INVESTMENT ASSUMPTIONS
                                     Loan Amortization Period                                    30 Years
                                     Interest Rate                                                 6.50%
                                     Loan-to-Value (LTV) Ratio                                         70%
                                     Mortgage Constant                                             7.58%


Equity dividend rates vary depending upon motivations of buyers and financing terms. The previous terms and
an appropriate equity dividend rate are used in the Band of Investments calculations, which are presented on
the following chart.

                                           BAND OF INVESTMENT CALCULATION
                                Mortgage Component                  70%       x    7.58%    =    5.309%
                                Equity Component                    30%       x    7.00%    =    2.100%
                                Indicated Capitalization Rate                                    7.409%
                                INDICATED CAPITALIZATION RATE                                     7.41%


Debt Coverage Ratio Technique
An alternate method to calculating capitalization rates based on financing metrics is the Debt Coverage Ratio
method, which uses the relationship between the DCR, LTV, and mortgage constant to conclude to a rate value.
Based on the assumptions previously discussed, we have concluded to a DCR of 1.30, an LTV of 70% and a
mortgage constant of 7.58%. The following calculation indicates the cap rate conclusion by this method:
                                          DEBT COVERAGE RATIO CALCULATION
                                     Debt Coverage Ratio                                               1.30
                                     LTV Ratio                                                         70%
                                     Mortgage Constant                                             7.58%
                                INDICATED CAPITALIZATION RATE                                      6.90%




        25-00240-WLH11
© 2024 COLLIERS                Doc 10 & ADVISORY
                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                   Entered 02/19/25 16:03:51                Pg 64 of 189    50
INCOME APPROACH
CONTINUED                                                                                                     SEA240464


Capitalization Rate Conclusion
Taking all factors into consideration, the following table summarizes the various capitalization rate indicators and
provides the final capitalization rate conclusion.

                                    CAPITALIZATION RATE CONCLUSION (OAR)
                     SOURCE                         QUARTER RANGE                AVG LAST Q LAST YR
                     Comparable Sales                        5.23% to   7.05%   6.14%       -       -
                     Investor Surveys                3Q 24   6.38% to 10.63%    8.42%   8.21%   7.19%
                     Band of Investment Technique                               7.41%       -       -
                     Debt Coverage Ratio                                        6.90%       -       -
                     AVERAGE                                 5.80% to   8.84%   7.32%   8.21%   7.19%
                     CAPITALIZATION CONCLUSION (LEASED FEE)                     6.25%


Rate indications from recent sales are most reliable. Considering that the subject’s land value exceeds its value
as improved, any investor would regard the subject as a redevelopment candidate and expect that any future
leases would be shorter-term and provide interim income before redevelopment. A lower capitalization rate of
6.25% is warranted.




        25-00240-WLH11
© 2024 COLLIERS                Doc 10 & ADVISORY
                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES        Entered 02/19/25 16:03:51          Pg 65 of 189    51
INCOME APPROACH
CONTINUED                                                                                                             SEA240464


DIRECT CAPITALIZATION CONCLUSION
The table below summarizes the direct capitalization method and the Income Approach Value conclusion.

                        DIRECT CAPITALIZATION SUMMATION TABLE
         INCOME ITEMS                                 %PGI           %EGI    $/SF(MO.)    $/SF(YR.)             TOTAL
            Base Contract Income                      47.2%         47.2%       $1.48       $17.78            $232,894
            Market Rent Vacant Space                  12.8%         12.8%       $1.42       $17.00             $62,900
         TOTAL RENTAL INCOME                          60.0%         60.0%       $1.47       $17.61            $295,794
         REIMBURSEMENTS
            Real Estate Taxes                         13.0%         13.0%       $0.32        $3.81             $63,974
            Property Insurance                         1.7%          1.7%       $0.04        $0.50              $8,398
            Repairs and Maintenance                    7.7%          7.7%       $0.19        $2.25             $37,791
            Cleaning and Janitorial                    4.4%          4.4%       $0.11        $1.30             $21,835
            Utilities                                 10.2%         10.2%       $0.25        $3.00             $50,388
            Management Fees                            3.0%          3.0%       $0.07        $0.88             $14,789
            Reserves                                        -            -            -              -              $0
         TOTAL REIMBURSEMENTS                         40.0%         40.0%       $0.98       $11.74            $197,175
       POTENTIAL GROSS INCOME (PGI)                  100.0%        100.0%        $2.45      $29.35             $492,970
         VACANCY & CREDIT LOSS
            General Vacancy                            0.0%                           -              -               $0
            Credit & Collection Loss                   0.0%                           -              -               $0
         TOTAL VACANCY & CREDIT LOSS                   0.0%                           -              -               $0
       EFFECTIVE GROSS INCOME (EGI)                  100.0%        100.0%        $2.45      $29.35             $492,970
         EXPENSE ITEMS
            Real Estate Taxes                        (13.0%)       (13.0%)      ($0.32)     ($3.81)            ($63,974)
            Property Insurance                        (1.7%)        (1.7%)      ($0.04)     ($0.50)             ($8,398)
            Repairs and Maintenance                   (7.7%)        (7.7%)      ($0.19)     ($2.25)            ($37,791)
            Cleaning and Janitorial                   (4.4%)        (4.4%)      ($0.11)     ($1.30)            ($21,835)
            Utilities                                (10.2%)       (10.2%)      ($0.25)     ($3.00)            ($50,388)
            Management Fees                           (3.0%)        (3.0%)      ($0.07)     ($0.88)            ($14,789)
            Reserves                                  (0.3%)        (0.3%)      ($0.01)     ($0.10)             ($1,680)
         TOTAL EXPENSES                              (40.3%)       (40.3%)      ($0.99)    ($11.84)           ($198,855)
       NET OPERATING INCOME (NOI)                    59.7%         59.7%        $1.46       $17.51            $294,115
         Capitalization Rate                                                                                     6.25%
         Capitalized Value                                                                                   $4,705,834
       INDICATED VALUE                                                                    $280/SF           $4,710,000
         Lease- Up Costs                                                                    From Lease-Up Analysis

            Rent Loss                                 (6.3%)        (6.3%)      ($0.15)     ($1.85)            ($31,011)
            Expense Carry                             (4.3%)        (4.3%)      ($0.11)     ($1.27)            ($21,415)
            Tenant Improvements                       (7.5%)        (7.5%)      ($0.18)     ($2.20)            ($37,000)
            Leasing Commissions                       (1.3%)        (1.3%)      ($0.03)     ($0.37)             ($6,290)
            Total Lease-Up Costs                     (19.4%)       (19.4%)      ($0.47)     ($5.70)            ($95,715)
         TOTAL LEASE-UP COSTS                        (19.4%)       (19.4%)      ($0.47)     ($5.70)            ($95,715)
       AS-IS MARKET VALUE                                                                 $274/SF           $4,610,000
                                                                                           Rounded to nearest $10,000


ADJUSTMENTS TO VALUE
To reflect conditions in effect at the subject property as the date of value, adjustments to the capitalized value
were necessary for lease up costs. The following discussion summarizes our support of the value adjustments.


        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES       Entered 02/19/25 16:03:51                Pg 66 of 189       52
INCOME APPROACH
CONTINUED                                                                                                                    SEA240464


Lease-Up Analysis
Regarding lease-up costs, the subject property has a current occupancy level of 78.0%. While the subject is a
redevelopment candidate, some additional (but shorter-term) leasing is likely before the expiration of in-place
leases that extend through July 2026. As such, lease-up costs associated with the subject achieving stabilization
are warranted in arriving to the As-Is Market Value. Based on our research of prevailing supply/demand
conditions and the subject’s competitive position in the marketplace, we have projected a period of 12 months
for the vacant space to be absorbed. This will require an average absorption rate of 308 SF per month.
The following table summarizes our analysis of lease-up costs for current vacancies. There are 3 vacant tenant
suites and 3 tenant suites will be leased to reach stabilized occupancy. The lease-up cost analysis calculates
rent loss, tenant improvements, leasing commissions and free rent based on our market leasing assumptions
previously supported in the Market Rent Analysis section.
The lease-up costs reflect the actual costs associated with leasing up the vacant space. When warranted an
additional provision for entrepreneurial profit is used to mirror investor behavior related to risks of investing in a
property with vacancy.

                                                       LEASE-UP COSTS
       VACANT        MARKET RENT    RENT LOSS EXPENSE TENANT IMPV. LEASING COMMISSION FREE RENT                         TOTAL
       SUITE      SF $/MO    $/YR MONTH COST    CARRY TI $/SF COST TERM FEE    COST MOS.    COST                         COST
       201      1,399   $1.42   $17.00   8   $15,855   $10,949   $10     $13,990   2   5%   $2,378     0         $0    $43,173
       207      1,265   $1.42   $17.00   6   $10,753    $7,425   $10     $12,650   2   5%   $2,151     0         $0    $32,978
       109B     1,036   $1.42   $17.00   3    $4,403    $3,041   $10     $10,360   2   5%   $1,761     0         $0    $19,565
       SUBTOTAL                              $31,011   $21,415           $37,000            $6,290               $0    $95,715
       TOTAL LEASE UP COSTS                                                                                           $100,000
                                                                                                     Rounded to nearest $10,000




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES              Entered 02/19/25 16:03:51             Pg 67 of 189          53
SALES APPROACH
                                                                                                             SEA240464


SALES APPROACH
The Sales Comparison Approach analyzes comparable sales by applying transactional and property adjustments
to bracket the subject property within an appropriate unit value comparison. The most relevant unit of comparison
is the price per square foot of NRA, as it best reflects the analysis used by buyers and sellers in this market for
improved properties with similar design and utility. We completed a thorough search for similar improved sales
in terms of property type, location, physical characteristics, and date of sale. Overall, the sales selected represent
the best comparables available for this analysis.
Adjustment Process
The following adjustments or general market trends were considered for the basis of valuation.
Transactional Adjustments
Dollar adjustments to the comparable sales were considered and made when warranted for transactional
adjustments including property rights transferred, financing terms, conditions of sale, expenditures after
purchase and market conditions. The following table summarizes the market conditions adjustment applied in
this analysis.
                                        MARKET CONDITIONS ADJUSTMENT
                                   Per Year As Of September 2024     (As-Is)     0%


The market has exhibited value stability during the time from the oldest sale date up through the effective
valuation date; therefore a market conditions adjustment is not warranted.
Property Adjustments
Quantitative percentage adjustments are also made for location and physical characteristics such as size, age,
site and parking ratios, access, exposure, quality and condition, as well as other applicable elements of
comparison. Where possible the adjustments applied are based on paired data or other statistical analysis. It
should be stressed that the adjustments are subjective in nature and are meant to illustrate our logic in deriving
a value opinion for the subject site.
Presentation
The following Sales Summation Table, Location Map and photographs summarize the improved sales data.
Following these items, the comparable sales are adjusted for applicable elements of comparison and the opinion
of value by the Sales Comparison Approach is concluded.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES          Entered 02/19/25 16:03:51    Pg 68 of 189        54
SALES APPROACH
CONTINUED                                                                                                                     SEA240464



                           IMPROVED SALES SUMMATION TABLE
              COMPARABLE            SUBJECT         COMPARABLE 1 COMPARABLE 2 COMPARABLE 3 COMPARABLE 4
              Name                  Amity Court     Bellevue Forest 1 The 15885        Aurora Ave. Office Pacific
                                                                      Building                            Engineering
                                                                                                          Building
              Address               14400 Northeast 2105 112th       15885 Northeast   4001 Aurora        15445 53rd Ave S
                                    Bellevue-       Avenue Northeast 28th Street       Avenue North
                                    Redmond Road
              City                  Bellevue        Bellevue         Bellevue          Seattle           Tukwila
              State                 WA              WA               WA                WA                WA
              Zip                   98007           98004            98008             98103             -
              County                King            King             King              King              King
              APN                   272505-9147     068702-0012      673100090         193130-0915       115720-0035
                                                   PHYSICAL INFORMATION
              Property Type         Office          Office           Office            Office            Office
              NRA (SF)              16,796          6,776            12,444            20,093            8,700
              Land Area (SF)        43,200          22,211           42,465            13,504            50,887
              L:B Ratio             2.5             3.3              3.4               0.7               5.8
              Location              Average/Good    Good             Good/Excellent    Average/Good      Average
              Quality               Average         Average/Good     Good/Excellent    Average/Good      Average
              Condition             Average         Average/Good     Good              Average/Good      Average
              Exposure              Average         Average          Average           Good              Average
              Access                Average/Good    Good             Average/Good      Average/Good      Good
              Year Built            1978            1984             1999              1953              1980
                                                      SALE INFORMATION
              Date                                  2/29/2024        12/26/2023        12/7/2023         3/7/2023
              Status                                Recorded         Recorded          Recorded          Recorded
              Recording Number                      20240229000345 20231221000785 20231207000566 20230306000752
              Marketing Period                      2 Mos.           4 Mos.            8 Mos.            0 Mos.
              Rights Transferred                    Leased Fee       Leased Fee        Leased Fee        Fee Simple
              Transaction Price                     $3,522,480       $6,500,000        $7,425,000        $2,450,000
              Analysis Price                        $3,522,480       $6,500,000        $7,425,000        $2,450,000
              $/SF NRA                              $520             $522              $370              $282
              NOI/SF NRA            $17.51          $33.01           $31.71            $19.32            -
              Occupancy             78.0%           100.0%           100.0%            100.0%            100.0%
              Capitalization Rate                   6.35%            6.07%             5.23%           -
              Confirmation Source                   MarKoa           CBRE              NAI Puget Sound Kidder Mathews
              Confirmation Name                     Cheryl McIvor    Tim Owens         Rick Page         Brian Clapp




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES             Entered 02/19/25 16:03:51                     Pg 69 of 189    55
SALES APPROACH
CONTINUED                                                                                                            SEA240464



SALES LOCATION MAP




                                                       COMPARABLE KEY
   COMP      DISTANCE      ADDRESS                                                   OCC.    SALE DATE      OAR       $/SF
   SUBJECT        -        14400 Northeast Bellevue-Redmond Road, Bellevue, WA        -           -           -           -
   No. 1      2.0 Miles    2105 112th Avenue Northeast, Bellevue, WA                100.0%   2/29/2024      6.35%   $519.85
   No. 2      1.1 Miles    15885 Northeast 28th Street, Bellevue, WA                100.0%   12/26/2023     6.07%   $522.34
   No. 3      9.5 Miles    4001 Aurora Avenue North, Seattle, WA                    100.0%    12/7/2023     5.23%   $369.53
   No. 4      12.5 Miles   15445 53rd Ave S, Tukwila, WA                            100.0%    3/7/2023              $281.61




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES              Entered 02/19/25 16:03:51          Pg 70 of 189        56
SALES APPROACH
CONTINUED                                                                                         SEA240464



COMPARABLE SALES PHOTOGRAPHS

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                 COMPARABLE 1                                              COMPARABLE 2


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                 COMPARABLE 3                                              COMPARABLE 4




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 71 of 189    57
SALES APPROACH
CONTINUED                                                                                                                     SEA240464



                           IMPROVED SALES ADJUSTMENT TABLE
             COMPARABLE             SUBJECT          COMPARABLE 1 COMPARABLE 2 COMPARABLE 3 COMPARABLE 4
             Name                   Marray Franklyn Bellevue Forest 1 The 15885        Aurora Ave. Office Pacific
                                    Building                          Building                            Engineering
                                                                                                          Building
             Address                14400 Northeast 2105 112th       15885 Northeast   4001 Aurora        15445 53rd Ave S
                                    Bellevue-       Avenue Northeast 28th Street       Avenue North
                                    Redmond Road
             City, State            Bellevue, WA    Bellevue, WA     Bellevue, WA      Seattle, WA       Tukwila, WA
             Zip                    98007           98004            98008             98103             -
             APN                    272505-9147     068702-0012      673100090         193130-0915       115720-0035
             NRA (SF)               16,796          6,776            12,444            20,093            8,700
             Land Area (AC)         1.0              0.5             1.0               0.3               1.2
             Land Area (SF)         43,200           22,211          42,465            13,504            50,887
             Year Built             1978             1984            1999              1953              1980
                                                        SALE INFORMATION
             Date                                    2/29/2024       12/26/2023        12/7/2023         3/7/2023
             Status                                  Recorded        Recorded          Recorded          Recorded
             Rights Transferred                      Leased Fee      Leased Fee        Leased Fee        Fee Simple
             Analysis Price                          $3,522,480      $6,500,000        $7,425,000        $2,450,000
             $/SF NRA                                $520            $522              $370              $282
             NOI/SF NRA             $15.85           $33.01          $31.71            $19.32            -
             Occupancy              78.0%            100.0%          100.0%            100.0%            100.0%
                                                TRANSACTIONAL ADJUSTMENTS
             Property Rights                         0%              0%                0%                0%
             Financing                               0%              0%                0%                0%
             Conditions of Sale                      0%              0%                0%                0%
             Expenditures After the Sale             0%              0%                0%                0%
             Market Conditions¹                      0%              0%                0%                0%
             Subtotal Transactional Adj Price        $520            $522              $370              $282
                                                   PROPERTY ADJUSTMENTS
             Location             Average/Good       Good            Good/Excellent    Average/Good      Average
                Adjustment                           -5%             -10%              0%                5%
             Size                 16,796             6,776           12,444            20,093            8,700
                Adjustment                           -10%            0%                0%                -5%
             Quality              Average            Average/Good    Good/Excellent    Average/Good      Average
                Adjustment                           -5%             -10%              -5%               0%
             Condition            Average            Average/Good    Good              Average/Good      Average
                Adjustment                           -5%             -10%              -5%               0%
             Exposure             Average            Average         Average           Good              Average
                Adjustment                           0%              0%                -10%              0%
             Access               Average/Good       Good            Average/Good      Average/Good      Good
                Adjustment                           -5%             0%                0%                -5%
             Subtotal Property Adjustment            -30%            -30%              -20%              -5%
             TOTAL ADJUSTED PRICE                      $364          $366              $296              $268
             STATISTICS              UNADJUSTED ADJUSTED
             LOW                     $282              $268
             HIGH                    $522              $366
             MEDIAN                  $445              $330
             AVERAGE                 $423              $323
             ¹ Market Conditions Adjustment: 0%
             Date of Value (for adjustment calculations): 9/18/24




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES             Entered 02/19/25 16:03:51                     Pg 72 of 189    58
SALES APPROACH
CONTINUED                                                                                                             SEA240464


SALES COMPARABLE ANALYSIS
Sale 1 is the February 2024 sale of an office property near the interchange of Interstate 405 and SR-520. The
property is adjusted downward for superior location closer to downtown Bellevue, for smaller building area, and
for quality, condition, and superior access near the freeways.
Sale 2 is the December 2023 sale of a single-tenant office near the Microsoft campus. The property is adjusted
downward for superior location, and superior quality and condition.
Sale 3 is the December 2023 sale of an older (1953) office building fronting Aurora Ave. north of downtown
Seattle. The property is adjusted downward for superior quality and condition, and superior exposure and access.
Sale 4 is the March 2023 sale of a one-story office in Tukwila. The property is adjusted upward for location,
downward for smaller size, and downward for superior access near the interchange of Interstates 5 and 405.
SALES COMPARISON APPROACH CONCLUSION
Sales 3 and 4 are the best indicators, with lower net and gross adjustments. These sales indicate a value range
from $268 to $296/SF. We conclude within this range at a value of $275/SF. The following table summarizes
the analysis of the comparables, reports the reconciled price per NRA value conclusion, and presents the
concluded value of the subject property.

                               SALES COMPARISON APPROACH CONCLUSION (NRA)
                           ANALYSIS                  ADJUSTMENT                        NET GROSS      OVERALL
              COMP          PRICE     TRANSACTIONAL¹ ADJUSTED PROPERTY²       FINAL    ADJ % ADJ % COMPARISON
                 1           $520          0%          $520        -30%       $364     -30%   30%    SECONDARY
                 2           $522          0%          $522        -30%       $366     -30%   30%    SECONDARY
                 3           $370          0%          $370        -20%       $296     -20%   20%     PRIMARY
                 4           $282          0%          $282        -5%        $268     -5%    15%     PRIMARY
              LOW            $268                                                       AVERAGE          $323
              HIGH           $366                                                        MEDIAN          $330
                                                    SUBJECT SF           $/SF CONCLUSION                VALUE
             INDICATED VALUE                          16,796        x        $275/SF    =             $4,620,000
             Lease- Up Costs                                                                From Lease-Up Analysis

               Rent Loss                                                                                ($31,011)
               Expense Carry                                                                            ($21,415)
               Tenant Improvements                                                                      ($37,000)
               Leasing Commissions                                                                       ($6,290)
               Total Lease-Up Costs                                                                     ($95,715)
               TOTAL LEASE-UP COSTS                                                                     ($95,715)
             AS-IS MARKET VALUE                                              $269/SF                  $4,520,000
             ¹Cumulative ²Additive                                                       Rounded to nearest $10,000




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES        Entered 02/19/25 16:03:51               Pg 73 of 189       59
LAND VALUATION
                                                                                                         SEA240464


LAND VALUATION
The most relevant unit of comparison is the price per square foot, as it best reflects the analysis used by buyers
and sellers in this market for land with similar utility and zoning. A thorough search was made for similar land
sales in terms of proximity to the subject, size, location, development potential, and date of sale. Overall, the
sales selected represent the best comparables available for this analysis.
Adjustment Process
The following adjustments or general market trends were considered for the basis of valuation.
Transactional Adjustments
Dollar adjustments to the comparable sales were considered and made when warranted for transactional
adjustments including property rights transferred, financing terms, conditions of sale, expenditures after
purchase such as demolition costs and market conditions. The following table summarizes the market conditions
adjustment applied in this analysis.
                                      MARKET CONDITIONS ADJUSTMENT
                                 Per Year As Of September 2024    (As-Is)      0%


The market has exhibited value stability during the time from the oldest sale date up through the effective
valuation date; therefore a market conditions adjustment is not warranted.
Property Adjustments
Quantitative percentage adjustments are also made for location and physical characteristics such as size, shape,
access, exposure, topography, zoning and overall utility. Where possible the adjustments applied are based on
paired data or other statistical analysis. It should be stressed that the adjustments are subjective in nature and
are meant to illustrate our logic in deriving a value opinion for the subject site.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES        Entered 02/19/25 16:03:51   Pg 74 of 189       60
LAND VALUATION
CONTINUED                                                                                                                          SEA240464


Presentation
The following Land Sales Summation Table, Location Map and plat maps summarize the sales data used in this
analysis. Following these items, the comparable land sales are adjusted for applicable elements of comparison
and the opinion of site value is concluded.

                                   LAND SALES SUMMATION TABLE
      COMPARABLE            SUBJECT        COMPARABLE 1 COMPARABLE 2 COMPARABLE 3 COMPARABLE 4 COMPARABLE 5
      Name                  Amity Court    Alta North City   Great Floors     Kirkland US Bank Modera Bridle      Bothell Way
                                           Apt. Site         Redevelopment    Site             Trails Land        Redevelopment
                                                             Site                                                 Site
      Address               14400 Northeast 17712 15th       12802 Bel-Red    177 Central Way   13033 Northeast   7520 Northeast
                            Bellevue-       Avenue Northeast Road                               70th Place        Bothell Way
                            Redmond Road
      City                  Bellevue        Shoreline        Bellevue         Kirkland          Kirkland          Kenmore
      State                 WA              WA               WA               WA                WA                WA
      Zip                   98007           98155            98005            98033             98033             98028
      County                King           King              King             King              King              King
      APN                   272505-9147    Multiple          282505-9260; -   124450-0035       124150-0285,      0114100-904, -
                                                             9268                               124150-0277       905
                                                       PHYSICAL INFORMATION
      SF                    43,200         60,146            38,223           19,279            128,712           51,836
      Location              Average/Good   Average/Good      Average/Good     Good/Excellent    Average/Good      Fair/Average
      Exposure              Average        Average           Average          Good              Average           Average
      Access                Average/Good   Average           Average/Good     Good              Average/Good      Average
      Shape                 Generally      Irregular         Rectangular      Rectangular       Generally         Generally
      Site Utility Rating   Average        Average           Average          Average           Average           Average
                                                        SALE INFORMATION
      Date                                 6/8/2023          7/26/2023        4/30/2024         4/26/2024         10/31/2023
      Status                               Recorded          Recorded         Recorded          Recorded          Recorded
      Rights Transferred                   Leased Fee        Fee Simple       Fee Simple        Fee Simple        Fee Simple
      Transaction Price                    $9,450,000        $10,000,000      $7,000,000        $23,587,547       $4,500,000
      Analysis Price                       $9,450,000        $7,500,000       $7,050,000        $23,587,547       $4,500,000
      /SF Land                             $157.12           $196.22          $365.68           $183.26           $86.81




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                Entered 02/19/25 16:03:51                Pg 75 of 189           61
LAND VALUATION
CONTINUED                                                                                                             SEA240464



LAND SALES LOCATION MAP




                                                     COMPARABLE KEY
     COMP      DISTANCE     ADDRESS                                                 SALE DATE    ACRES       SF      $/SF
     SUBJECT        -       14400 Northeast Bellevue-Redmond Road, Bellevue, WA         -          1.0    43,200         -
     No. 1     11.9 Miles   17712 15th Avenue Northeast, Shoreline, WA               6/8/2023      1.4    60,146   $157.12
     No. 2      1.0 Miles   12802 Bel-Red Road, Bellevue, WA                        7/26/2023      0.9    38,223   $196.22
     No. 3      4.4 Miles   177 Central Way, Kirkland, WA                           4/30/2024      0.4    19,279   $365.68
     No. 4      2.9 Miles   13033 Northeast 70th Place, Kirkland, WA                4/26/2024      3.0   128,712   $183.26
     No. 5     10.0 Miles   7520 Northeast Bothell Way, Kenmore, WA                 10/31/2023     1.2    51,836    $86.81




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                Entered 02/19/25 16:03:51       Pg 76 of 189        62
LAND VALUATION
CONTINUED                                                                                                                               SEA240464



  COMPARABLE 1
 LOCATION INFORMATION
 Name                    Alta North City Apt. Site
 Address                 17712 15th Avenue Northeast
 City, State, Zip Code   Shoreline, WA, 98155
 County                  King
 MSA                     Seattle-Tacoma-Bellevue, WA
 APN                     Multiple
 SALE INFORMATION
 Buyer                   North City Apartments Owner LP
 Seller                  PAR Mark Shoreline LLC and Niko 1 LLC
 Transaction Date        06/8/2023
 Transaction Status      Recorded
 Transaction Price       $9,450,000
 Analysis Price          $9,450,000                              ALTA NORTH CITY APT. SITE
 Recording Number        20230626000412                          ANALYSIS INFORMATION
 Rights Transferred      Leased Fee                              Price                  $/Acre             $/SF               $/Unit
 Financing               Conventional                               Gross               $6,842,867         $157.12            $41,087
 Conditions of Sale      Assemblage                                 Net                 $6,842,867         $157.12            $41,087
 PHYSICAL INFORMATION                                            CONFIRMATION
 Intended Use            Mid-Rise                                Name                   Confidential
 Location                Average/Good                            Company                Confidential
 Site Size (Net)         1.38 Acres (60,146 SF)                  Source                 Assessor
 Site Size (Gross)       1.38 Acres (60,146 SF)                  Date / Phone Number 04/27/2023            Confidential
 Zoning                  CB                                      REMARKS
 Development Potential   230                                     Land assemblage from two different sellers that located about one mile from
                                                                 the future 185th St. Light Rail Station in Shoreline. The property is improved
 Shape                   Irregular
                                                                 with single story retail buildings. The interim income generated from the leases
 Topography              Generally Level                         will off-set the demolition costs. The buyer plans to build a 230-unit apartment
 Access                  Average                                 property with streel level retail.
 Exposure                Average
 Corner                  Yes
 Utilities               No




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                Entered 02/19/25 16:03:51                    Pg 77 of 189                  63
LAND VALUATION
CONTINUED                                                                                                                         SEA240464



  COMPARABLE 2
 LOCATION INFORMATION
 Name                    Great Floors Redevelopment Site
 Address                 12802 Bel-Red Road
 City, State, Zip Code   Bellevue, WA, 98005
 County                  King
 MSA                     Seattle-Bellevue-Everett, WA
 APN                     282505-9260; -9268
 SALE INFORMATION
 Buyer                   SC Bellevue RE LLC
 Seller                  Og Bellevue LLC
 Transaction Date        07/26/2023
 Transaction Status      Recorded
 Transaction Price       $10,000,000
 Analysis Price          $7,500,000                        GREAT FLOORS REDEVELOPMENT SITE
 Recording Number        20230726000381                    ANALYSIS INFORMATION
 Rights Transferred      Fee Simple                        Price                  $/Acre             $/SF               $/Unit
 PHYSICAL INFORMATION                                         Gross               $8,551,881         $196.22            $7,500,000
 Intended Use            Redevelopment                        Net                 $8,551,881         $196.22            $7,500,000
 Location                Average/Good                      CONFIRMATION
 Flood Zone              B and X                           Name                   Chad Waldbaum
 Site Size (Net)         0.88 Acres (38,223 SF)            Company                JSH Properties
 Site Size (Gross)       0.88 Acres (38,223 SF)            Source                 Buyer's Broker
 Zoning                  BR-CR                             Date / Phone Number 09/21/2023            +1 425 455 0500
 Shape                   Rectangular                       REMARKS
 Topography              Level                             This rectangular-shaped parcel has frontage on Bel-Red Road. The Great
                                                           Floors building was vacant at time of purchase. The seller's broker was Chad
 Access                  Average/Good
                                                           Waldbaum with JSH Properties and the buyer's broker was Taylor Hoff with
 Exposure                Average                           Newmark. According to the seller's broker, the buyer and seller negotiated the
 Corner                  No                                purchase price down to $7.5 million to account for environmental cleanup. Mr.
 Utilities               No                                Waldbaum also said the original price was established prior to hikes in interest
                                                           rates. On the other hand, the purchase was an all cash transaction.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES          Entered 02/19/25 16:03:51                    Pg 78 of 189                  64
LAND VALUATION
CONTINUED                                                                                                                         SEA240464



  COMPARABLE 3
 LOCATION INFORMATION
 Name                    Kirkland US Bank Site
 Address                 177 Central Way
 City, State, Zip Code   Kirkland, WA, 98033
 County                  King
 MSA                     Seattle-Bellevue-Everett, WA
 APN                     124450-0035
 SALE INFORMATION
 Buyer                   The Cordillera Group
 Seller                  US Bank
 Transaction Date        04/30/2024
 Transaction Status      Recorded
 Transaction Price       $7,000,000
 Analysis Price          $7,050,000                     KIRKLAND US BANK SITE
 Recording Number        TBD                            ANALYSIS INFORMATION
 Rights Transferred      Fee Simple                     Price                  $/Acre              $/SF                $/Unit
 Conditions of Sale      Arms-Length                       Gross               $15,914,221         $365.68             $207,353
 Marketing Time          12 Months                         Net                 $15,914,221         $365.68             $207,353
 PHYSICAL INFORMATION                                   CONFIRMATION
 Intended Use            Residential                    Name                   Michael Eney
 Location                Good/Excellent                 Company                The Cordillera Group
 Site Size (Net)         0.44 Acres (19,279 SF)         Source                 Buyer
 Site Size (Gross)       0.44 Acres (19,279 SF)         Date / Phone Number 05/1/2024              +1 503 957 1107
 Zoning                  CBD 1                          REMARKS
 Development Potential   34                             The Cordillera Group (under the Central Peak 2024, LLC) purchased this
                                                        development site in central Kirkland. The site was sold by US Bank, who had
 Density                 76.75
                                                        marketed the site and had been under contract with a different buyer who was
 Shape                   Rectangular                    planning to develop apartments, but couldn't make the apartment plans
 Topography              Level                          feasible and attract financing. The Cordillera Group had bid on the site
 Access                  Good
 Exposure                Good
                                                        The Cordillera Group plans to develop the site with 25 to 34 new condominiums
 Corner                  No                             with ground level retail (as required by the zoning). Due to the high water-table,
 Utilities               Yes                            the developer reports that digging down to add parking would be difficult, thus
                                                        resulting in lower unit count and minimal below-grade parking.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES       Entered 02/19/25 16:03:51                     Pg 79 of 189                   65
LAND VALUATION
CONTINUED                                                                                                                     SEA240464



  COMPARABLE 4
 LOCATION INFORMATION
 Name                    Modera Bridle Trails Land
 Address                 13033 Northeast 70th Place
 City, State, Zip Code   Kirkland, WA, 98033
 County                  King
 MSA                     Seattle-Bellevue-Everett, WA
 APN                     124150-0285, 124150-0277
 SALE INFORMATION
 Buyer                   Bridle Trails Apartments LLC
 Seller                  Totem Bowl & Investment Inc.
 Transaction Date        04/26/2024
 Transaction Status      Recorded
 Transaction Price       $23,587,547
 Analysis Price          $23,587,547                    MODERA BRIDLE TRAILS LAND
 Recording Number        20240430001040                 ANALYSIS INFORMATION
 Rights Transferred      Fee Simple                     Price                  $/Acre            $/SF               $/Unit
 Conditions of Sale      Arms-Length                       Gross               $7,982,249        $183.26            $63,923
 PHYSICAL INFORMATION                                      Net                 $7,982,249         $183.26           $63,923
 Intended Use            Residential                    CONFIRMATION
 Location                Average/Good                   Name                   David Young
 Site Size (Net)         2.96 Acres (128,712 SF)        Company                JLL
 Site Size (Gross)       2.96 Acres (128,712 SF)        Source                 Buyer's Broker
 Zoning                  BCX                            Date / Phone Number 09/18/2024           +1 206 607 1719
 Development Potential   369                            REMARKS
 Shape                   Generally Rectangular          This sale reflects the price allocated to one parcel of a 2-parcel sale in
                                                        Kirkland. This parcel contains a bowling alley and small office which are to be
 Topography              Generally Level
                                                        demolished for redevelopment with a fully approved 369-unit multifamily
 Access                  Average/Good                   housing development that includes 6,700 SF of retail and 425 parking stalls.
 Exposure                Average                        This was an off-market sale but traded at a price understood by both sides as
 Corner                  Yes                            market-based Information confirmed by buyer's brokers.

 Utilities               Yes




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES       Entered 02/19/25 16:03:51                   Pg 80 of 189                  66
LAND VALUATION
CONTINUED                                                                                                                       SEA240464



  COMPARABLE 5
 LOCATION INFORMATION
 Name                    Bothell Way Redevelopment Site
 Address                 7520 Northeast Bothell Way
 City, State, Zip Code   Kenmore, WA, 98028
 County                  King
 APN                     0114100-904, -905
 SALE INFORMATION
 Buyer                   TWG Development
 Seller                  Soofian Three Properties
 Transaction Date        10/31/2023
 Transaction Status      Recorded
 Transaction Price       $4,500,000
 Analysis Price          $4,500,000
 Recording Number        20231026000672                   BOTHELL WAY REDEVELOPMENT SITE
 Rights Transferred      Fee Simple                       ANALYSIS INFORMATION
 Conditions of Sale      Assumed Arms-Length              Price                  $/Acre            $/SF               $/Unit
 Marketing Time          10 Months                           Gross               $3,781,513        $86.81             $4,500,000
 PHYSICAL INFORMATION                                        Net                 $3,781,513         $86.81            $4,500,000
 Intended Use            Mixed Use                        CONFIRMATION
 Location                Average                          Name                   CoStar/Assessor/Marketing Brochure
 Site Size (Net)         1.19 Acres (51,836 SF)           Company                CoStar/Assessor/Marketing Brochure
 Site Size (Gross)       1.19 Acres (51,836 SF)           Source                 CoStar
 Zoning                  Urban Center                     Date / Phone Number 03/10/2024           Confidential
 Shape                   Generally Rectangular            REMARKS
 Topography              Level                            Sale of a redevelopment site with a 1-story cafe along Bothell Way, at the east
                                                          end of the town center. Eventual redevelopment with a multifamily mixed-use
 Access                  Average
                                                          property is assumed, but no plans are known at present. It was marketed at a
 Exposure                Average                          price of $3.9M and estimated that over 140 multifamily units could be
 Corner                  No                               developed on the site.
 Utilities               No




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES         Entered 02/19/25 16:03:51                   Pg 81 of 189                  67
LAND VALUATION
CONTINUED                                                                                                                              SEA240464



                                  LAND SALES ADJUSTMENT TABLE
       COMPARABLE           SUBJECT          COMPARABLE 1 COMPARABLE 2 COMPARABLE 3 COMPARABLE 4 COMPARABLE 5
       Name                 Amity Court      Alta North City Great Floors         Kirkland US Bank Modera Bridle      Bothell Way
                                             Apt. Site       Redevelopment        Site             Trails Land        Redevelopment
                                                             Site                                                     Site
       Address              14400 Northeast 17712 15th       12802 Bel-Red        177 Central Way   13033 Northeast   7520 Northeast
                            Bellevue-       Avenue Northeast Road                                   70th Place        Bothell Way
                            Redmond Road
       City                 Bellevue        Shoreline        Bellevue             Kirkland          Kirkland          Kenmore
                                                             282505-9260; -                         124150-0285,      0114100-904, -
       APN                  272505-9147     Multiple                              124450-0035
                                                             9268                                   124150-0277       905
       SF                   43,200          60,146           38,223               19,279            128,712           51,836
                                                               SALE INFORMATION
       Date                                  6/8/2023            7/26/2023        4/30/2024         4/26/2024         10/31/2023
       Status                                Recorded            Recorded         Recorded          Recorded          Recorded
       Rights Transferred                    Leased Fee          Fee Simple       Fee Simple        Fee Simple        Fee Simple
       Analysis Price                        $9,450,000          $7,500,000       $7,050,000        $23,587,547       $4,500,000
       Price/SF                              $157.12             $196.22          $365.68           $183.26           $86.81
                                                    TRANSACTIONAL ADJUSTMENTS
       Property Rights                       0%                  0%               0%                0%                0%
       Financing                             0%                  0%               0%                0%                0%
       Conditions of Sale                    0%                  0%               0%                0%                0%
       Expenditures After the Sale           0%                  0%               0%                0%                0%
       Market Conditions¹                    0%                  0%               0%                0%                0%
       Subtotal Transactional Adj Price      $157.12             $196.22          $365.68           $183.26           $86.81
                                                         PROPERTY ADJUSTMENTS
       Location             Average/Good     Average/Good        Average/Good     Good/Excellent    Average/Good      Fair/Average
            Adjustment                       0%                  0%               -10%              0%                10%
       Size                 43,200           60,146              38,223           19,279            128,712           51,836
            Adjustment                       0%                  0%               -5%               5%                0%
       Exposure             Average          Average             Average          Good              Average           Average
            Adjustment                       0%                  0%               -10%              0%                0%
       Access               Average/Good     Average             Average/Good     Good              Average/Good      Average
            Adjustment                       5%                  0%               -5%               0%                5%
       Shape                Generally RectangIrregular           Rectangular      Rectangular       Generally RectanguGenerally Rectangu
            Adjustment                       0%                  0%               0%                0%                0%
       Site Utility Rating Average           Average             Average          Average           Average           Average
            Adjustment                       0%                  0%               0%                0%                0%
       Subtotal Property Adjustment          5%                  0%               -30%              5%                15%
       TOTAL ADJUSTED PRICE                  $165                $196             $256              $192              $100
       STATISTICS           UNADJUSTED       ADJUSTED
       LOW                  $86.81           $99.83
       HIGH                 $365.68          $255.98
       MEDIAN               $183.26          $192.42
       AVERAGE              $197.82          $181.88
       ¹ Market Conditions Adjustment: 0%
       Date of Value (for adjustment calculations): 9/18/24




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                      Entered 02/19/25 16:03:51              Pg 82 of 189           68
LAND VALUATION
CONTINUED                                                                                                             SEA240464


LAND SALES ANALYSIS
Our five selected comparable land sales are all improved properties that sold for land value, with eventual
redevelopment either assumed or already planned.
Land Sale 1 is the June 2023 sale of multiple parcels from different owners into an assemblage for
redevelopment in Shoreline, WA. The property is adjusted upward only for access.
Land Sale 2 is the July 2023 sale of a redevelopment site a short distance west of the subject. There are no
property adjustments.
Land Sale 3 is the April 2024 sale of a former bank branch in Kirkland’s downtown core. The property is adjusted
upward for superior location, smaller site size, and superior exposure and access.
Land Sale 4 is the April 2024 sale of a former bowling alley in Kirkland for redevelopment with a 369-unit mixed
use development. The property is adjusted upward for larger site size.
Land Sale 5 is the October 2023 sale of a retail site in Kenmore for redevelopment. The property is adjusted
upward for location and access.
CALCULATION OF LAND VALUE
Sales 1, 2, and 4 are the strongest comparisons, with low or no net and gross adjustments. They show a value
range from $165 to $196/SF. We conclude in the middle of this range at a value of $180/SF of site area. No
deduction for demolition costs is made, as such costs will be offset by interim rental income. The following table
summarizes the analysis of the comparables, reports the reconciled price per square foot value conclusion, and
presents the concluded value of the subject site.

                                          CALCULATION OF LAND VALUE
                         ANALYSIS                   ADJUSTMENT                          NET GROSS     OVERALL
              COMP          PRICE    TRANSACTIONAL¹ ADJUSTED PROPERTY²       FINAL     ADJ % ADJ % COMPARISON
                 1         $157.12        0%         $157.12      5%         $165       5%      5%    PRIMARY
                 2         $196.22        0%         $196.22      0%         $196       0%      0%    PRIMARY
                 3         $365.68        0%         $365.68      -30%       $256      -30%    30%   SECONDARY
                 4         $183.26        0%         $183.26      5%         $192       5%      5%    PRIMARY
                 5          $86.81        0%         $86.81       15%        $100      15%     15%   SECONDARY
              LOW           $99.83                                                    AVERAGE            $182
              HIGH         $255.98                                                    MEDIAN             $192
             COMPONENT                             SUBJECT SF           $/SF CONCLUSION                 VALUE
             TOTAL PROPERTY                          43,200        x        $180.00      =            $7,780,000
             ¹Cumulative ²Additive                                                       Rounded to nearest $10,000




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES       Entered 02/19/25 16:03:51                Pg 83 of 189       69
RECONCILIATION OF VALUE CONCLUSIONS
                                                                                                         SEA240464


RECONCILIATION OF VALUE CONCLUSIONS
The Analysis of Value Conclusions is the final step in the appraisal process and involves the weighing of the
individual valuation techniques in relationship to their substantiation by market data, and the reliability and
applicability of each valuation technique to the subject property. The following table summarizes the opinions of
the As-Is Market Value of the subject property’s leased fee interest. At the request of the client, we have also
completed an Insurable Replacement Cost Estimate. As can be seen, the land value exceeds the valuations of
the property as-improved. This land value is our concluded market value. No deduction for demolition costs is
required, as such costs would be funded by interim rental income.
Our opinion of value reflects current conditions and the likely actions of market participants as of the date of
value. It is based on the available information gathered and provided to us, as presented in this report, and does
not predict future performance. Changing market or property conditions can and likely will have an effect on the
subject's value.

                                    ANALYSIS OF VALUE CONCLUSIONS
                                                                                          AS-IS
       VALUATION INDICES
                                                                                      MARKET VALUE
       INTEREST APPRAISED                                                               LEASED FEE
       DATE OF VALUE                                                                SEPTEMBER 18, 2024
       Land Valuation                                                                    $7,780,000
       Sales Comparison Approach                                                         $4,520,000
       Income Approach                                                                   $4,610,000
       FINAL VALUE CONCLUSION                                                            $7,780,000
       $/SF                                                                                $463/SF
       Exposure Time                                                                  Six Months or Less
       Marketing Period                                                               Six Months or Less
       OTHER CONCLUSIONS                                                            SEPTEMBER 18, 2024
       Insurable Replacement Cost                                                        $3,120,000




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51       Pg 84 of 189        70
CERTIFICATION
                                                                                                          SEA240464


We certify that, to the best of our knowledge and belief:
   The statements of fact contained in this report are true and correct.
   The reported analyses, opinions, and conclusions of the signers are limited only by the reported assumptions
   and limiting conditions, and are our personal, impartial, and unbiased professional analyses, opinions, and
   conclusions.
   The signers of this report have no present or prospective interest in the property that is the subject of this
   report, and no personal interest with respect to the parties involved.
   Joseph Liss has performed no services, as an appraiser or in any other capacity regarding the property that
   is the subject of this report within the three-year period immediately preceding acceptance of this assignment.
   Reid Erickson, MAI has performed no services, as an appraiser or in any other capacity regarding the
   property that is the subject of this report within the three-year period immediately preceding acceptance of
   this assignment.
   The signers are not biased with respect to the property that is the subject of this report or to the parties
   involved with this assignment.
   The engagement in this assignment was not contingent upon developing or reporting predetermined results.
   The compensation for completing this assignment is not contingent upon the development or reporting of a
   predetermined value or direction in value that favors the cause of the client, the amount of the value opinion,
   the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended
   use of this appraisal.
   The reported analysis, opinions, and conclusions were developed, and this report has been prepared, in
   conformity with the Uniform Standards of Professional Appraisal Practice and the Code of Professional Ethics
   and Standards of Professional Appraisal Practice of the Appraisal Institute.
   Joseph Liss inspected the property that is the subject of this report. Reid Erickson, MAI did not inspect the
   property that is the subject of this report.
   No one provided significant real property appraisal assistance to appraisers signing this certification.
The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly
authorized representatives.
As of the date of this report Reid Erickson, MAI completed the continuing education program for Designated
Members of the Appraisal Institute.
As of the date of this report Joseph Liss has completed the Standards and Ethics Education Requirement for
(Candidates or Practicing Affiliates) of the Appraisal Institute.



                                                                           September 30, 2024
Joseph Liss                                                                      Date
Valuation Specialist
Certified General Real Estate Appraiser
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        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51        Pg 85 of 189       71
CERTIFICATION
CONTINUED                                                                                          SEA240464




                                                                          September 30, 2024
Reid Erickson, MAI                                                              Date
Executive Managing Director
Certified General Real Estate Appraiser
State of Washington License #1100150
+1 206 965 1106
reid.erickson@colliers.com




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51    Pg 86 of 189    72
ASSUMPTIONS & LIMITING CONDITIONS
                                                                                                                   SEA240464


This appraisal is subject to the following assumptions and limiting conditions:
   The appraisers may or may not have been provided with a survey of the subject property. If further verification
   is required, a survey by a registered surveyor is advised.
   We assume no responsibility for matters legal in character, nor do we render any opinion as to title, which is
   assumed to be marketable. All existing liens, encumbrances, and assessments have been disregarded,
   unless otherwise noted, and the property is appraised as though free and clear, under responsible ownership,
   and competent management.
   The exhibits in this report are included to assist the reader in visualizing the property. We have made no
   survey of the property and assume no responsibility in connection with such matters.
   Unless otherwise noted herein, it is assumed that there are no encroachments, zoning, or restrictive
   violations existing in the subject property.
   The appraisers assume no responsibility for determining if the property requires environmental approval by
   the appropriate governing agencies, nor if it is in violation thereof, unless otherwise noted herein.
   Information presented in this report has been obtained from reliable sources, and it is assumed that the
   information is accurate.
   This report shall be used for its intended purpose only, and by the party to whom it is addressed. Possession
   of this report does not include the right of publication.
   The appraisers may not be required to give testimony or to appear in court by reason of this appraisal, with
   reference to the property in question, unless prior arrangements have been made therefore.
   The statements of value and all conclusions shall apply as of the dates shown herein.
   There is no present or contemplated future interest in the property by the appraisers which is not specifically
   disclosed in this report.
   Without the written consent or approval of the authors neither all, nor any part of, the contents of this report
   shall be conveyed to the public through advertising, public relations, news, sales, or other media. This applies
   particularly to value conclusions and to the identity of the appraisers and the firm with which the appraisers
   are connected.
   This report must be used in its entirety. Reliance on any portion of the report independent of others, may lead
   the reader to erroneous conclusions regarding the property values. Unless approval is provided by the
   authors no portion of the report stands alone.
   The valuation stated herein assumes professional management and operation of the buildings throughout the
   lifetime of the improvements, with an adequate maintenance and repair program.
   The liability of Colliers International Valuation & Advisory Services, its principals, agents, and employees is
   limited to the client. Further, there is no accountability, obligation, or liability to any third party. If this report is
   placed in the hands of anyone other than the client, the client shall make such party aware of all limiting
   conditions and assumptions of the assignment and related discussions. The appraisers are in no way
   responsible for any costs incurred to discover or correct any deficiency in the property.
   The appraisers are not qualified to detect the presence of toxic or hazardous substances or materials which
   may influence or be associated with the property or any adjacent properties, has made no investigation or
   analysis as to the presence of such materials, and expressly disclaims any duty to note the degree of fault.
   Colliers International Valuation & Advisory Services and its principals, agents, employees, shall not be liable
   for any costs, expenses, assessments, or penalties, or diminution in value, property damage, or personal

        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES       Entered 02/19/25 16:03:51            Pg 87 of 189         73
ASSUMPTIONS & LIMITING CONDITIONS
CONTINUED                                                                                                       SEA240464


   injury (including death) resulting from or otherwise attributable to toxic or hazardous substances or materials,
   including without limitation hazardous waste, asbestos material, formaldehyde, or any smoke, vapors, soot,
   fumes, acids, alkalis, toxic chemicals, liquids, solids or gasses, waste materials or other irritants,
   contaminants or pollutants.
   The appraisers assume no responsibility for determining if the subject property complies with the Americans
   with Disabilities Act (ADA). Colliers International Valuation & Advisory Services, its principals, agents, and
   employees, shall not be liable for any costs, expenses, assessments, penalties or diminution in value
   resulting from non-compliance. This appraisal assumes that the subject meets an acceptable level of
   compliance with ADA standards; if the subject is not in compliance, the eventual renovation costs and/or
   penalties would negatively impact the present value of the subject. If the magnitude and time of the cost were
   known today, they would be reduced from the reported value conclusion.
   An on-site inspection of the subject property was conducted. No evidence of asbestos materials on-site was
   noted. A Phase 1 Environmental Assessment was not provided for this analysis. This analysis assumes that
   no asbestos or other hazardous materials are stored or found in or on the subject property. If evidence of
   hazardous materials of any kind occurs, the reader should seek qualified professional assistance. If
   hazardous materials are discovered and if future market conditions indicate an impact on value and increased
   perceived risk, a revision of the concluded values may be necessary.
   A detailed soils study was not provided for this analysis. The subject's soils and sub-soil conditions are
   assumed to be suitable based upon a visual inspection, which did not indicate evidence of excessive settling
   or unstable soils. No certification is made regarding the stability or suitability of the soil or sub-soil conditions.
   This analysis assumes that the financial information provided for this appraisal, including rent rolls and
   historical income and expense statements; accurately reflect the current and historical operations of the
   subject property.




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES     Entered 02/19/25 16:03:51           Pg 88 of 189         74
ADDENDA
                                                                                                  SEA240464


 Engagement Letter
 Rent Roll
 P&L Statements
 Subject Data
 Valuation Glossary
 Qualifications of Appraisers
 Qualifications of Colliers International Valuation & Advisory Services




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES   Entered 02/19/25 16:03:51   Pg 89 of 189    75
ADDENDA
CONTINUED                                                                                                                 SEA240464


INSURABLE REPLACEMENT COST
At the client’s request, we have included an estimate of the insurable replacement cost estimate of the subject
improvements, which represents the replacement cost new of the subject improvements, exclusive of land value
and profit. Insurance coverage is usually specific to a given project. We have not been provided with the specific
policy requirements, which limit the reliability of the conclusion. Insurable replacement cost is a matter of
underwriting as opposed to valuation. Users of this report should not construe the conclusion of insurable value
to be an indication of market value. The insurable estimate is made using base costs and multiplier adjustments
for market conditions and location from Marshall Valuation Service, which is assumed to accurately reflect
replacement cost of the subject. We assume no liability as to the subject’s insurable replacement cost and
recommend that an estimate from a reputable insurance company be obtained if further assurance is required.
The following chart summarizes the insurable replacement cost estimate:

                                           INSURABLE REPLACEMENT COST
                                            MARSHALL VALUATION SERVICE DIRECT COST
            Number of Buildings                     1
            Gross Building Area             17,386 SF                                                                1
            MVS Building Type                                                                                    Office
            Number of Stories                                                                                        2
            Height per Story                                                                                        10'
            MVS Section/Page/Class                                                                            15/p.17/D
            MVS Publication Date                                                                                Nov-23
            Quality Rating                                                                                     Average
            Component SF (Gross)                                                                                17,386
            Base Cost (Per SF)                                                                                 $149.00
                                                             HEIGHT & SIZE REFINEMENTS
            Number of Stories Multiplier                                                                          1.000
            Height Per Story Multiplier                                                                           0.953
            Area/Perimeter Multiplier                                                                             0.998
            Subtotal                                                                                           $141.71
                                                                 COST MULTIPLIERS
            Current Cost Multiplier                                                                                1.01
            Local Multiplier                                                                                       1.21
            DIRECT COSTS PER SF                                                                                $173.19
            Indirect Cost (% of Direct)          15%                                                              15%
            INDIRECT COST PER SF                                                                                $25.98
            DIRECT & INDIRECT TOTAL PER SF                                                                     $199.17

            CALCULATION OF REPLACEMENT COST NEW
            Component SF (Gross)                                                                                17,386
            Base Improvement Cost                                                                            $3,462,693
            Demolitions                           0%                                                                $0
            Exclusions                           10%                                                         ($346,269)
            TOTAL REPLACEMENT COST NEW                                                                       $3,116,424

                                           INSURABLE REPLACEMENT COST CONCLUSION
                                           Base Improvement Cost                             $3,462,693
                                           Demolition @ 0%                                           $0
                                           Exclusions @ 10%                                   ($346,269)
                                           INSURABLE REPLACEMENT COST                        $3,120,000
                                                                              Rounded to nearest $10,000




        25-00240-WLH11
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                INTERNATIONAL VALUATION Filed 02/19/25
                                                 SERVICES                   Entered 02/19/25 16:03:51      Pg 90 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 91 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 92 of 189
                                                09/04/24




Reid Erickson is report signatory.


25-00240-WLH11      Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 93 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 94 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 95 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 96 of 189
                                                                                                                                  9/13/2024 12:13 PM
                                                                 Rent Roll
                                                            Property = Amity Court
                                                             As Of = 08/28/2024
                                                              Month = 08/2024
Unit                             Unit       Tenant Name                 Actual           Tenant          CAM       Misc Move In        Lease
                                 SqFt                                     Rent           Deposit                                       Expiration
Current/Notice/Vacant Tenants
100                             228.00      Olga Shade, LLC             315.00            550.00       239.04      0.00 12/01/2023     10/31/2024
102                             1,044.00    Conant Lens                1,832.00          1,659.00     1,094.46     0.00 08/01/2019     07/31/2026
103                             781.00      Cruise Center               956.72           1,144.00      803.52      0.00 06/01/2019     05/31/2025
104                             600.00      Wenrui Art Studio, LLC      745.00           1,395.25      629.00      0.00 09/01/2023     08/31/2025
105                             519.00      Kinese Studio               825.00           1,214.81      544.09      0.00 10/01/2019     09/30/2025
106                             854.00      Mona Foundation            1,740.30          2,045.60      895.28      0.00 06/01/2019     05/31/2025
110                             610.00      Sysmax Tech Inc.            915.00           3,108.00      639.00      0.00 04/24/2024     05/31/2025
201                             1,399.00    VACANT                         0.00             0.00          0.00     0.00
202                             545.00      NSA Motors, LLC             681.00           1,867.00      571.34    625.00 12/15/2023     12/31/2024
203                             684.00      Levite Construction Co.     855.00           1,572.00      717.00      0.00 04/10/2024     03/31/2026
204                             995.00      Longwell Office II LLC     1,492.50              0.00     1,043.20     0.00 01/01/2023     12/31/2024
205                             1,102.00    US Tiny Bear Corporation1,378.00             2,533.00     1,155.00     0.00 06/10/2024     06/30/2025
206                             878.00      InExt Staging              1,374.63          2,085.55      920.44      0.00 01/01/2022     01/31/2025
207                             1,265.00    VACANT                         0.00             0.00          0.00     0.00
208                             644.00      LuComm Technologies        1,046.21              0.00      675.13      0.00 03/01/2020     02/28/2025
101A                            223.00      AMG Financial               395.00            500.00       234.00      0.00 05/01/2018     04/30/2026
101B                            345.00                                604.00
                                            Silver Pacific Home Care and Staffing, LLC    877.00       361.68      0.00 02/18/2022     02/28/2026
101C                            573.00      OLGA Shade, LLC             716.00           1,317.00      601.00      0.00 03/01/2024     02/28/2026
108A                            318.00      S-On Chinese School LLC 576.00                800.00       333.40      0.00 11/15/2023     10/31/2025
108B                            702.00      Sudden Beauty, LLC          614.00           1,350.00      736.00      0.00 03/16/2024     03/31/2025
109A                            486.00                              730.00
                                            CYT Makeup and Hair Studio, LLC              1,239.00      509.00      0.00 07/01/2024     07/31/2025
109B                            1,036.00    VACANT                         0.00             0.00          0.00     0.00
204A                            320.20      Anna Lozhkina Photography480.30               956.00       335.68      0.00 03/01/2023     02/28/2025
204B                            645.00      Signature Eyelash & Spa 1,136.19       3,600.00
                                                                    dba Babybear Beauty and Han Zhao 676.18        0.00 05/01/2023     10/31/2024
Total                                       Amity Court              19,407.85       29,813.21      13,713.44    625.00




                                                                Page 1 of 2




        25-00240-WLH11          Doc 10     Filed 02/19/25                  Entered 02/19/25 16:03:51                      Pg 97 of 189
                                                                                                                        9/13/2024 12:13 PM
                                                            Rent Roll
                                                    Property = Amity Court
                                                        As Of = 08/28/2024
                                                          Month = 08/2024
Unit                            Unit      Tenant Name            Actual        Tenant          CAM       Misc Move In           Lease
                                SqFt                               Rent        Deposit                                          Expiration


Summary Groups                                  Square           Actual       Security         CAM       Misc            Unit            % Sqft
                                               Footage             Rent        Deposit                            Occupancy             Occupied
Current/Notice/Vacant Tenants                 16,796.20        19,407.85      29,813.21    13,713.44   625.00              24
Future Tenants/Applicants                          0.00             0.00           0.00         0.00     0.00               0             0.00%
Occupied Units                                13,096.20             0.00           0.00         0.00     0.00              21            77.97%
Total Vacant Units                             3,700.00             0.00           0.00         0.00     0.00               3            22.03%
Totals:                                      16,796.20        19,407.85      29,813.21    13,713.44    625.00              24             100%




                                                           Page 2 of 2




          25-00240-WLH11        Doc 10   Filed 02/19/25             Entered 02/19/25 16:03:51                   Pg 98 of 189
                                  Income Statement
                           Owner = Amity Court LLC (all properties)
                                 Period = Jan 2023-Dec 2023
                                       Book = Accrual


INCOME
 COMMERCIAL RENT INCOME
   Rent-Commercial                                                             423,148.15
 TOTAL COMMERCIAL RENT INCOME                                                423,148.15
 OTHER INCOME
   Parking                                                                        312.50
   Miscellaneous Income                                                           150.00
   Late Fee                                                                      1,145.46
   CleanUp (Misc)                                                                2,649.51
TOTAl OTHER INCOME                                                              4,257.47
TOTAl INCOME                                                                 427,405.62


EXPENSES
 PROPERTY EXPENSES
   Repair                                                                       21,202.86
   Janitorial                                                                   21,216.71
   HVAC                                                                         12,640.68
   Gardening                                                                     1,424.29
   Advertising                                                                    300.00
   Building Inspection                                                            540.00
   Professional Services                                                          550.00
   Property Insurance                                                            7,116.00
   Property Tax                                                                 57,922.61
   License & Permit                                                               199.00
   Software Fees                                                                  660.60
   Office Supplies                                                                  91.00
   Screening Fee                                                                    24.95
   Electricity                                                                  36,936.75
   Water and Sewer                                                               6,019.34
   Trash Disposal                                                                3,908.27
   Bank Fees                                                                      206.00
   Legal Fees                                                                    6,784.00
   Accounting Fees                                                               5,515.00
   Mortgage Interest                                                           448,468.20
   Management Fees                                                              21,591.71
 TOTAL PROPERTY EXPENSES                                                     653,317.97
TOTAL EXPENSES                                                               653,317.97


 NET INCOME                                                                  -225,912.35




  25-00240-WLH11                Doc 10        Filed 02/19/25          Entered 02/19/25 16:03:51   Pg 99 of 189
Valuation Glossary 2024
Unless specified otherwise, these definitions were extracted or paraphrased from the following sources or publications:

         The Dictionary of Real Estate Appraisal, Seventh Edition, Appraisal Institute, Chicago, Illinois, 2022 (Dictionary).
         Uniform Standards of Professional Appraisal Practice, 2020-2023 Edition (USPAP).
         The Appraisal of Real Estate, Fifteenth Edition, Appraisal Institute, Chicago, Illinois, 2020 (15th Edition).



Absolute Net Lease                                                    Cost Approach
A lease in which the tenant pays all expenses including               A set of procedures through which a value indication is
structural maintenance, building reserves, and management;            derived for the fee simple estate by estimating the cost new
often a long-term lease to a credit tenant. (Dictionary)              as of the effective date of the appraisal to construct a
Ad Valorem Tax                                                        reproduction of (or replacement for) the existing structure,
A real estate tax based on the assessed value of the property,        including    an    entrepreneurial    incentive;    deducting
                                                                      depreciation from the total cost; and adding the estimated
which is not necessarily equivalent to its market value. (15th
                                                                      land value. The contributory value of any site improvements
Edition)
                                                                      that have not already been considered in the total cost can be
       -length Transaction                                            added on a depreciated-cost basis. Adjustments may then be
A transaction between unrelated parties who are each acting           made to the indicated value of the fee simple estate in the
in his or her own best interest. (Dictionary)                         subject property to reflect the value of the property rights
As-Is Market Value                                                    being appraised. (Dictionary)
The estimate of the market value of real property in its current      Curable Functional Obsolescence
physical condition, use, and zoning as of the appraisal date.         An element of depreciation; a curable defect caused by a flaw
(Dictionary)                                                          involving the structure, materials, or design, which can be
Assessed Value                                                        practically and economically corrected. (Dictionary)
The value of a property according to the tax rolls in ad valorem      Debt Coverage Ratio (DCR)
taxation; may be higher or lower than market value, or based          The ratio of net operating income to annual debt service,
on an assessment ratio that is a percentage of market value.          which measures the relative ability of a property to meet its
(Dictionary)                                                          debt service out of net operating income; also called debt
Average Daily Room Rate (ADR)                                         service coverage ratio (DSCR). (Dictionary)
In the lodging industry, the net rooms revenue derived from           Deferred Maintenance
the sale of guest rooms divided by the number of paid                 Items of wear and tear on a property that should be fixed now
occupied rooms. (Dictionary)                                          to protect the value or income-producing ability of a property.
Band of Investment                                                    (Dictionary)
A technique in which the capitalization rates attributable to         Depreciation
components of an investment are weighted and combined to              In appraisal, a loss in the value of improvements from any
derive a weighted-average rate attributable to the total              cause; the difference between the cost of an improvement on
investment. (Dictionary)                                              the effective date of the appraisal and the value of the
Cash-Equivalent Price                                                 improvement on the same date. (Dictionary)
The sale price of a property that is equivalent to what a cash        Direct Costs
buyer would pay. (Dictionary)                                         Expenditures for the labor and materials used in the
Common Area                                                           construction of improvements; also called hard costs.
The total area within a property that is not designed for sale        (Dictionary)
or rental but is available for common use by all owners,              Discounted Cash Flow (DCF) Analysis
tenants, or their invitees, e.g., parking and its appurtenances,      The procedure in which a discount rate is applied to a set of
malls, sidewalks, landscaped areas, recreation areas, public          projected income streams and a reversion. The analyst
toilets, truck and service facilities. (Dictionary)                   specifies the quantity, variability, timing, and duration of the
Contract Rent                                                         income streams and the quantity and timing of the reversion,
The actual rental income specified in a lease. (15th Edition)         and discounts each to its present value at a specified yield
                                                                      rate. (Dictionary)




  25-00240-WLH11             Doc 10       Filed 02/19/25           Entered 02/19/25 16:03:51             Pg 100 of 189
Discount Rate                                                       Effective Rent
A rate of return on capital used to convert future payments or      The total base rent, or minimum rent stipulated in a lease,
receipts into present value. (Dictionary)                           over the specified lease term minus rent concessions - e.g.
                                                                    free rent, excessive tenant improvements, moving allowances,
Disposition Value
The most probable price that a specified interest in property       lease buyouts, cash allowances, and other lease incentives.
should bring under the following conditions:                        (15th Edition)
    1. Consummation of a sale within a specified time,              Eminent Domain
         which is shorter than the typical exposure time for        The right of government to take private property for public use
         such a property in that market.                            upon the payment of just compensation. The Fifth
    2. The property is subjected to market conditions               Amendment of the U.S. Constitution, also known as the takings
         prevailing as of the date of valuation.                    clause, guarantees payment of just compensation upon
    3. Both the buyer and seller are acting prudently and           appropriation of private property. (Dictionary)
         knowledgeably.
                                                                    Entrepreneurial Incentive
    4. The seller is under compulsion to sell.
                                                                    The amount an entrepreneur expects or wants to receive as
    5. The buyer is typically motivated.
                                                                    compensation for providing coordination and expertise and
    6. Both parties are acting in what they consider their          assuming the risks associated with the development of a
         best interests.                                            project. Entrepreneurial incentive is the expectation of future
    7. An adequate marketing effort will be made during the         reward as opposed to the profit actually earned on the
         exposure time.
                                                                    project. (Dictionary)
    8. Payment will be made in cash in U.S. dollars (or the
         local currency) or in terms of financial arrangements      Entrepreneurial Profit
         comparable thereto.                                        A market-derived figure that represents the amount an
    9. The price represents the normal consideration for            entrepreneur received for his or her contribution to a past
         the property sold, unaffected by special or creative       project to compensate for his or her time, effort, knowledge,
         financing or sales concessions granted by anyone           and risk; the difference between the total cost of a property
         associated with the sale.                                  (cost of development) and its market value (property value
This definition can also be modified to provide for valuation       after completion), which represents the entrepreneur's
with specified financing terms. (Dictionary)                        compensation for the risk and expertise associated with
                                                                    development. An entrepreneur is motivated by the prospect
Easement                                                            of future value enhancement (i.e., the entrepreneurial
                                                                    incentive). An entrepreneur who successfully creates value
right-of-way easements may be acquired by private parties or
                                                                    through new development, expansion, renovation, or an
public utilities. Governments may be the beneficiaries of
                                                                    innovative change of use is rewarded by entrepreneurial
easements placed on privately owned land that is dedicated
                                                                    profit. Entrepreneurs may also fail and suffer losses.
to conservation, open space, or preservation. (15th Edition)        (Dictionary)
Economic Life
                                                                    Excess Land
The period over which improvements to real estate contribute
                                                                    Land that is not needed to serve or support the existing use.
to property value. (Dictionary)
                                                                    The highest and best use of the excess land may or may not
Effective Age                                                       be the same as the highest and best use of the improved
The age of property that is based on the amount of observed         parcel. Excess land has the potential to be sold separately and
deterioration and obsolescence it has sustained, which may          is valued separately. (Dictionary)
be different from its chronological age. (Dictionary)               Excess Rent
Effective Date                                                      The amount by which contract rent exceeds market rent at the
The date on which the appraisal or review opinion applies           time of the appraisal; created by a lease favorable to the lessor
(SVP) (Dictionary)                                                  and may reflect superior management, a lease execution in an
Effective Gross Income (EGI)                                        earlier, stronger rental market, or an agreement of the parties.
The anticipated income from all operations of the real estate       Due to the higher risk inherent in the receipt of excess rent, it
after an allowance is made for vacancy and collection losses        may be calculated separately and capitalized or discounted at
and an addition is made for any other income. (Dictionary)          a higher rate in the income capitalization approach. (15th
                                                                    Edition)
Effective Gross Income Multiplier (EGIM)
The ratio between the sale price (or value) of a property and       Expense Stop
its effective gross income. (Dictionary)                            A clause in a lease that limits the landlord's expense
                                                                    obligation, which results in the lessee paying any operating
                                                                    expenses above a stated level or amount. (Dictionary)


  25-00240-WLH11            Doc 10       Filed 02/19/25          Entered 02/19/25 16:03:51             Pg 101 of 189
Exposure Time                                                          the permissible floor area of a building is twice the total land
An opinion, based on supporting market data, of the length of          area. (Dictionary)
time that the property interest being appraised would have
                                                                       Functional Obsolescence
been offered on the market prior to the hypothetical
                                                                       The impairment of functional capacity of improvements
consummation of a sale at market value on the effective date           according to market tastes and standards. (Dictionary)
of the appraisal. (USPAP)
                                                                       Functional Utility
Extraordinary Assumption                                               The ability of a property or building to be useful and to
An assignment-specific assumption as of the effective date             perform the function for which it is intended according to
regarding uncertain information used in an analysis which, if          current market tastes and standards; the efficiency of a
found to be false, could alter the appraiser's opinions or
conclusions. Uncertain information might include physical,             layout, traffic patterns, and the size and type of rooms.
legal, or economic characteristics of the subject property; or
                                                                       (Dictionary)
conditions external to the property, such as market conditions
or trends; or the integrity of data used in an analysis. An            Furniture, Fixtures, and Equipment (FF&E)
extraordinary assumption may be used in an assignment only             Business trade fixtures and personal property, exclusive of
if:                                                                    inventory. (Dictionary)
          It is required to properly develop credible opinions         Going-concern
          and conclusions;                                             An established and operating business having an indefinite
          The appraiser has a reasonable basis for the                 future life. (Dictionary)
          extraordinary assumption;
                                                                       Going-concern Value
          Use of the extraordinary assumption results in a
                                                                       An outdated label for the market value of all the tangible and
          credible analysis; and
                                                                       intangible assets of an established and operating business
          The appraiser complies with the disclosure
                                                                       with an indefinite life, as if sold in aggregate; more accurately
          requirements set forth in USPAP for extraordinary
                                                                       termed the market value of the going concern or market value of
          assumptions. (USPAP)
                                                                       the total assets of the business. (Dictionary)
External Obsolescence
                                                                       Gross Building Area (GBA)
A type of depreciation; a diminution in value caused by
                                                                       Total floor area of a building, excluding unenclosed areas,
negative external influences and generally incurable on the
                                                                       measured from the exterior of the walls of the above-grade
part of the owner, landlord, or tenant. The external influence
                                                                       area. This includes mezzanines and basements if and when
may be either temporary or permanent. There are two forms
                                                                       typically included in the market area of the type of property
of external obsolescence: economic and locational.
                                                                       involved. (Dictionary)
(Dictionary)
                                                                       Gross Leasable Area (GLA)
Fair Market Value
                                                                       Total floor area designed for the occupancy and exclusive use
In nontechnical usage, a term that is equivalent to the
                                                                       of tenants, including basements and mezzanines; measured
contemporary usage of market value.
                                                                       from the center of joint partitioning to the outside wall
As used in condemnation, litigation, income tax, and property
                                                                       surfaces. (Dictionary)
tax situations, a term that is similar in concept to market value
but may be defined explicitly by the relevant agency or                Gross Living Area (GLA)
interpreted differently by court precedent. (Dictionary)               Total area of finished, above-grade residential space area;
                                                                       calculated by measuring the outside perimeter of the
Feasibility Analysis
                                                                       structure and includes only finished, habitable, above-grade
A study of the cost-benefit relationship of an economic
                                                                       living space. (Finished basements and attic areas are not
endeavor. (USPAP)
                                                                       generally included in total gross living area. Local practices,
Fee Simple Estate                                                      however, may differ.) (Dictionary)
Absolute ownership unencumbered by any other interest or
                                                                       Highest & Best Use
estate, subject only to the limitations imposed by the
                                                                       The reasonably probable use of property that results in the
governmental powers of taxation, eminent domain, police
                                                                       highest value. The four criteria that the highest and best use
power and escheat. (Dictionary)
                                                                       must meet are legal permissibility, physical possibility,
Floor Area Ratio (FAR)                                                 financial feasibility, and maximum productivity. The use of an
The relationship between the above-ground floor area of a              asset that maximizes its potential and that is possible, legally
building, as described by the zoning or building code, and the         permissible, and financially feasible. The highest and best use
area of the plot on which it stands; in planning and zoning,
often expressed as a decimal, e.g., a ratio of 2.0 indicates that      alternative use. This is determined by the use that a market




  25-00240-WLH11              Doc 10       Filed 02/19/25           Entered 02/19/25 16:03:51             Pg 102 of 189
participant would have in mind for the asset when formulating           Legal Nonconforming Use
the price that it would be willing to bid (IVS). (Dictionary)           A use that was lawfully established and maintained, but no
                                                                        longer conforms to the use regulations of its current zoning;
Hypothetical Condition
                                                                        sometimes known as a legally nonconforming use. (Dictionary)
A condition, directly related to a specific assignment, which is
contrary to what is known by the appraiser to exist on the              Liquidation Value
effective date of the assignment results, but is used for the           The most probable price that a specified interest in property
purpose of analysis. Hypothetical conditions are contrary to            should bring under the following conditions:
known facts about physical, legal, or economic characteristics              1. Consummation of a sale within a short time period.
of the subject property; or about conditions external to the                2. The property is subjected to market conditions
property, such as market conditions or trends; or about the                      prevailing as of the date of valuation.
integrity of data used in an analysis. (USPAP)                              3. Both the buyer and seller are acting prudently and
                                                                                 knowledgeably.
Income Capitalization Approach
                                                                            4. The seller is under extreme compulsion to sell.
In the income capitalization approach, an appraiser analyzes
                                                                            5. The buyer is typically motivated.
                                                                            6. Both parties are acting in what they consider to be
capitalizes the income into an indication of present value. The
principle of anticipation is fundamental to this approach.                       their best interests.
Techniques and procedures from this approach are used to                    7. A normal marketing effort is not possible due to the
analyze comparable sales data and to measure obsolescence                        brief exposure time.
                                                                            8. Payment will be made in cash in U.S. dollars (or the
in the cost approach. (15th Edition)
                                                                                 local currency) or in terms of financial arrangements
Incurable Functional Obsolescence                                                comparable thereto.
An element of depreciation; a defect caused by a deficiency or              9. The price represents the normal consideration for
superadequacy involving the structure, materials, or design                      the property sold, unaffected by special or creative
that cannot be practically or economically corrected as of the                   financing or sales concessions granted by anyone
effective date of the appraisal. (Dictionary)                                    associated with the sale.
Indirect Costs                                                          This definition can also be modified to provide for valuation
Expenditures or allowances for items other than labor and               with specified financing terms. (Dictionary)
materials that are necessary for construction, but are not              Market Area
typically part of the construction contract. Indirect costs may         The geographic region from which a majority of demand
include administrative costs, professional fees, financing costs        comes and in which the majority of competition is located.
and the interest paid on construction loans, taxes and the              Depending on the market, a market area may be further
builder's or developer's all-risk insurance during construction,        subdivided into components such as primary, secondary, and
and marketing, sales, and lease-up costs incurred to achieve            tertiary market areas, or the competitive market area may be
occupancy or sale. Also called soft costs. (Dictionary)                 distinguished from the general market area. (Dictionary)
Interim Use                                                             Market Rent
The use contemplated by the market participants that the                The most probable rent that a property should bring in a
subject real estate can be put to while waiting for certain             competitive and open market under all conditions requisite to
subsequent factors to occur. (Dictionary)                               a fair lease transaction, the lessee and lessor each acting
Investment Value                                                        prudently and knowledgeably, and assuming the rent is not
The value of a property to a particular investor or class of            affected by undue stimulus. (Dictionary)
                                                                        Market Study
Investment value may be different from market value because             An analysis of the market conditions of supply, demand, and
it depends on a set of investment criteria that are not                 pricing for a specific property type in a specific area.
necessarily typical of the market. (Dictionary)                         (Dictionary)
Leased Fee Interest                                                     Market Value (Most Common Non-FRT)
The ownership interest held by the lessor, which includes the           The most probable price, as of a specific date, in cash, or in
right to receive the contract rent specified in the lease plus the      terms equivalent to cash, or in other precisely revealed terms,
reversion right when the lease expires. (Dictionary)                    for which the specified property rights should sell after
Leasehold Estate                                                        reasonable exposure in a competitive market under all
The right held by the lessee to use and occupy real estate for          conditions requisite to a fair sale, with the buyer and seller
a stated term and under the conditions specified in the lease.          each acting prudently, knowledgeably, and for self-interest,
(Dictionary)                                                            and assuming that neither is under undue distress. (Dictionary)




  25-00240-WLH11              Doc 10       Filed 02/19/25            Entered 02/19/25 16:03:51            Pg 103 of 189
Market Value (Interagency Guidelines)                                   Off-site Costs
The most probable price which a property should bring in a              Costs incurred in the development of a project excluding on-
competitive and open market under all conditions requisite to           site costs such as grading and construction of the building and
a fair sale, the buyer and seller each acting prudently and             other improvements; also called common costs or off-site
knowledgeably, and assuming the price is not affected by                improvement costs. (Dictionary)
undue stimulus. Implicit in this definition is the consummation         On-site Costs
of a sale as of a specified date and the passing of title from          Costs incurred for the actual construction of buildings and
seller to buyer under conditions whereby:
                                                                        improvements on a particular site. (Dictionary)
     1. buyer and seller are typically motivated;
     2. both parties are well informed or well advised, and             Overage Rent
          acting in what they consider their own best interests;        The percentage rent paid over and above the guaranteed
     3. a reasonable time is allowed for exposure in the open           minimum rent or base rent; calculated as a percentage of
          market;                                                       sales in excess of a specified breakeven sales volume. (15th
     4. payment is made in terms of cash in U.S. dollars or in          Edition)
          terms of financial arrangements comparable thereto;           Overall Capitalization Rate (OAR)
          and
     5. the price represents the normal consideration for the           expectancy and the total property price or value. (Dictionary)
          property sold unaffected by special or creative
                                                                        Parking Ratio
          financing or sales concessions granted by anyone
                                                                        The ratio of parking area or parking spaces to an economic or
          associated with the sale. ( 12 CFR, Part 34, Subpart C -
                                                                        physical unit of comparison. Minimum required parking ratios
          Appraisals, 34.42(h)).
                                                                        for various land uses are often stated in zoning ordinances.
Marketability Analysis                                                  (Dictionary)
The study of how a specific property is expected to perform in
                                                                        Potential Gross Income (PGI)
a specific market. A marketability analysis expands on a
                                                                        The total income attributable to property at full occupancy
market analysis by addressing a specific property. (Dictionary)
                                                                        before vacancy and operating expenses are deducted.
Neighborhood Analysis                                                   (Dictionary)
The objective analysis of observable or quantifiable data
                                                                        Potential Gross Income Multiplier (PGIM)
indicating discernible patterns of urban growth, structure, and
                                                                        The ratio between the sale price (or value) of a property and
change that may detract from or enhance property values;
                                                                        its annual potential gross income. (Dictionary)
focuses on four sets of considerations that influence value:
social, economic, governmental, and environmental factors.              Present Value (PV)
(Dictionary)                                                            The value of a future payment or series of future payments
                                                                        discounted to the current date or to time period zero.
Net Net Net Lease
                                                                        (Dictionary)
An alternative term for a type of net lease. In some markets, a
net net net lease is defined as a lease in which the tenant             Prospective Opinion of Value
assumes all expenses (fixed and variable) of operating a                A value opinion effective as of a specified future date. The
property except that the landlord is responsible for structural         term does not define a type of value. Instead, it identifies a
maintenance, building reserves, and management. Also called             value opinion as effective at some specific future date. An
NNN lease, triple net lease, or fully net lease. (Dictionary)           opinion of value as of a prospective date is frequently sought
                                                                        in connection with projects that are proposed, under
Net Operating Income (NOI)
                                                                        construction, or under conversion to a new use, or those that
The actual or anticipated net income that remains after all
                                                                        have not achieved sellout or a stabilized level of long-term
operating expenses are deducted from effective gross income
                                                                        occupancy. (Dictionary)
but before mortgage debt service and book depreciation are
deducted. Note: This definition mirrors the convention used in          Qualitative Adjustment
corporate finance and business valuation for EBITDA                     An indication that one property is superior, inferior, or similar
(earnings before interest, taxes, depreciation, and                     to another property. Note that the common usage of the term
amortization). (15th Edition)                                           is a misnomer in that an adjustment to the sale price of a
                                                                        comparable property is not made. Rather, the indication of a
Obsolescence
One cause of depreciation; an impairment of desirability and
                                                                        relative comparison analysis, bracketing, and other forms of
usefulness caused by new inventions, changes in design,
                                                                        qualitative analysis. (Dictionary)
improved processes for production, or external factors that
make a property less desirable and valuable for a continued
use; may be either functional or external. (Dictionary)



  25-00240-WLH11              Doc 10       Filed 02/19/25            Entered 02/19/25 16:03:51             Pg 104 of 189
Quantitative Adjustment                                                Scope of Work
In the application of the sales comparison and income                  The type and extent of research and analysis in an appraisal
capitalization approaches, a numerical (dollar or percentage)          or appraisal review assignment. Scope of work includes, but is
adjustment to the sale price, rent, or expense amount of a             not limited to:
comparable property to account for the effect on value of a            The extent to which the property is identified;
difference between each comparable property and the                    The extent to which tangible property is inspected;
subject property. (Dictionary)                                         The type and extent of data researched; and
                                                                       The type and extent of analysis applied to arrive at opinions
Rentable Area
                                                                       or conclusions. (USPAP)
The amount of space on which the rent is based; calculated
according to local practice. (Dictionary)                              Shopping Center Types
                                                                       Neighborhood Shopping Center: The smallest type of
Replacement Cost
                                                                       shopping center, generally with a gross leasable area of
The estimated cost to construct, at current prices as of a
                                                                       between 30,000 and 100,000 square feet. Typical anchors
specific date, a substitute for a building or other
                                                                       include supermarkets. Neighborhood shopping centers offer
improvements, using modern materials and current
                                                                       convenience goods and personal services and usually depend
standards, design, and layout. (Dictionary)
                                                                       on a market population support of 3,000 to 40,000 people.
Replacement Cost for Insurance Purposes
                                                                       Community Shopping Center: A shopping center of 100,000 to
The estimated cost, at current prices as of the effective date of
                                                                       400,000 square feet that usually contains one junior
valuation, of a substitute for the building being valued, using
modern materials and current standards, design and layout              department store, a variety store, discount or department
for insurance coverage purposes guaranteeing that damaged              store. A community shopping center generally has between 20
property is replaced with a new property (i.e., depreciation is        and 70 retail tenants and a market population support of
not deducted). (Dictionary)                                            40,000 to 150,000 people.

Reproduction Cost                                                      Regional Shopping Center: A shopping center of 300,000 to
The estimated cost to construct, at current prices as of the           900,000 square feet that is built around one or two full-line
                                                                       department stores of approximately 200,000 square feet each
effective date of the appraisal, an exact duplicate or replica of
the building being appraised, using the same or similar                plus small tenant spaces. This type of center is typically
                                                                       supported by a minimum population of 150,000 people.
materials, construction standards, design, layout, and quality
of workmanship and embodying all the deficiencies,                     Super-Regional Center: A large center of 600,000 to 2.0 million
superadequacies, and obsolescence of the subject building.             square feet anchored by three or more full-line department
(Dictionary)                                                           stores. This type of center is typically supported by a
                                                                       population area of 300,000 people. (15th Edition)
Retrospective Value Opinion
A value opinion effective as of a specified historical date. The       Sum of the Retail Values
term retrospective does not define a type of value. Instead, it        The sum of the separate and distinct market value opinions
identifies a value opinion as being effective at some specific         for each of the units in a condominium; subdivision
prior date. Value as of a historical date is frequently sought in      development, or portfolio of properties, as of the date of
connection with property tax appeals, damage models, lease             valuation. The aggregate of retail values does not represent
renegotiation, deficiency judgments, estate tax, and                   the value of all the units as sold together in a single
condemnation. Inclusion of the type of value with this term is         transaction; it is simply the total of the individual market value
                                                                       conclusions. An appraisal has an effective date, but summing
(Dictionary)                                                           the sales prices of multiple units over an extended period of
                                                                       time will not be the value on that one day unless the prices are
Sales Comparison Approach
                                                                       discounted to make the value equivalent to what another
The process of deriving a value indication for the subject
                                                                       developer or investor would pay for the bulk purchase of the
property by comparing sales of similar properties to the
                                                                       units. Also called the aggregate of the retail values or aggregate
property being appraised, identifying appropriate units of
comparison, and making adjustments to the sale prices (or              retail selling price. (Dictionary)
unit prices, as appropriate) of the comparable properties              Superadequacy
based on relevant, market-derived elements of comparison.              An excess in the capacity or quality of a structure or structural
The sales comparison approach may be used to value                     component; determined by market standards. (Dictionary)
improved properties, vacant land, or land being considered
vacant when an adequate supply of comparable sales is
available. (Dictionary)




  25-00240-WLH11              Doc 10       Filed 02/19/25           Entered 02/19/25 16:03:51             Pg 105 of 189
Surplus Land
Land that is not currently needed to support the existing use
but cannot be separated from the property and sold off for
another use. Surplus land does not have an independent
highest and best use and may or may not contribute value to
the improved parcel. (Dictionary)
Tenant Improvements (TIs)
   1. Fixed improvements to the land or structures
        installed for use by a lessee.
   2. The original installation of finished tenant space in a
        construction project; subject to periodic change for
        succeeding tenants. (Dictionary)
Usable Area
The area that is actually used by the tenants measured from
the inside of the exterior walls to the inside of walls separating
the space from hallways and common areas. (Dictionary)
Useful Life
The period of time over which a structure or a component of
a property may reasonably be expected to perform the
function for which it was designed. (Dictionary)
Vacancy and Collection Loss
A deduction from potential gross income (PGI) made to reflect
income deductions due to vacancies, tenant turnover, and
nonpayment of rent; also called vacancy and credit loss or
vacancy and contingency loss. (Dictionary)
Yield Capitalization
A method used to convert future benefits into present value
by (1) discounting each future benefit at an appropriate yield
rate, or (2) developing an overall rate that explicitly reflects the
investment's income pattern, holding period, value change,
and yield rate. (Dictionary)




  25-00240-WLH11               Doc 10        Filed 02/19/25            Entered 02/19/25 16:03:51   Pg 106 of 189
                                         Joseph Liss



                                         Area of Expertise                              Professional Background

                                         Joseph Liss is a Valuation Specialist in the   Joseph received his appraisal training at
                                         Seattle office of Colliers Valuation &         Kidder   Mathews       Valuation   Advisory
Valuation Specialist                     Advisory Services. He has appraised a          Services. He joined Colliers in 2022.
Valuation & Advisory Services            wide variety of office and industrial
                                         properties for clients including small         Select Client List
joseph.liss@colliers.com
                                         businesses, global investment banks, and
Mobile: +1 323 334 7958                                                                  Bank of America
colliers.com                             municipal agencies.
                                                                                         Wells Fargo
                                                                                         East West Bank
601 Union Street
                                         Property Types Experience                       Columbia Bank
Suite 5300
Seattle, WA 98101                        Office and Industrial (single-tenant and        Commencement Bank
United States                            multi-tenant), including proposed               The City of Olympia
                                         construction projects.                          Pierce County

                                         Retail (strip centers, restaurants)

                                         Land (Commercial, Industrial, and
                                         Residential)

                                         Corridor valuation and right-of-way
    Education or Qualifications
                                         appraisals
    BA in Fundamentals: Issues and
                                         Contaminated properties
    Texts from The University of
    Chicago, 2004


    State Certifications

    Washington




      25-00240-WLH11            Doc 10    Filed 02/19/25          Entered 02/19/25 16:03:51            Pg 107 of 189
      State of Washington
      DEPARTMENT OF LICENSING
      BUSINESS AND PROFESSIONS DIVISION
      APPRAISER PROGRAM
      PO Box 9021
      Olympia, WA 98507-9021




      JOSEPH LISS
      9318 VETERANS DR SW , APT 7
      LAKEWOOD WA 98498-7305




                                          STATE OF WASHINGTON
               DEPARTMENT OF LICENSING - BUSINESS AND PROFESSIONS DIVISION
          THIS CERTIFIES THE PERSON OR BUSINESS NAMED BELOW IS AUTHORIZED AS A




CERTIFIED GENERAL REAL ESTATE APPRAISER


JOSEPH LISS




   22003802                 03/02/2022        01/02/2026
  License Number             Issue Date      Expiration Date




    25-00240-WLH11                Doc 10   Filed 02/19/25      Entered 02/19/25 16:03:51   Pg 108 of 189
                                          Reid C. Erickson, MAI



                                          Area of Expertise                            Professional Background

                                          Executive Managing Director for the          Managing Director and Team Leader,
                                          Pacific Northwest with the appraisal firm    Colliers International Valuation & Advisory
Executive Managing Director               of Colliers   International Valuation &      Services, Seattle, 1992-present
Northwest Region                          Advisory Services with offices nationally.
Valuation & Advisory Services
                                                                                       University of Washington Extension
reid.erickson@colliers.com                Property Types                               Certificate Program of Commercial
Direct: +1 206 965 1106                                                                Real Estate
                                          Eastern Washington Real Estate
Mobile: +1 206 817 6309
Fax: +1 206 965 1206                      Retail                                       Analysis of Development Processes
colliers.com                                                                           Real Estate Investment Analysis
                                          Industrial
601 Union Street                          Professional and Medical Office              The Public Process
Suite 5300                                                                             Property Management and Leasing
Seattle, WA 98101                         Special Purpose Properties (incl. auto
United States                             dealerships, self-storage)                   The Decision Making Process of

                                          Alaska Real Estate                           Commercial Real Estate



    Education or Qualifications           Affiliations or Memberships

    Bachelor of Arts, Business            Member of Appraisal Institute,

    Administration, University of         designated August 2010

    Washington, Seattle,
    Washington, 1987


    State Certifications

    Alaska

    Idaho

    Oregon

    Washington




      25-00240-WLH11             Doc 10    Filed 02/19/25        Entered 02/19/25 16:03:51           Pg 109 of 189
      State of Washington
      DEPARTMENT OF LICENSING
      BUSINESS AND PROFESSIONS DIVISION
      APPRAISER PROGRAM
      PO Box 9021
      Olympia, WA 98507-9021




      REID C ERICKSON
      4737 193RD PL SE
      ISSAQUAH WA 98027-9312




                                          STATE OF WASHINGTON
               DEPARTMENT OF LICENSING - BUSINESS AND PROFESSIONS DIVISION
          THIS CERTIFIES THE PERSON OR BUSINESS NAMED BELOW IS AUTHORIZED AS A




CERTIFIED GENERAL REAL ESTATE APPRAISER


REID C ERICKSON




    1100150                 08/05/1994        10/11/2025
  License Number             Issue Date      Expiration Date




    25-00240-WLH11                Doc 10   Filed 02/19/25      Entered 02/19/25 16:03:51   Pg 110 of 189
Valuation &
Advisory Services




                                                                        Accelerating success.
 25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51    Pg 111 of 189
Valuation &
Advisory Services
 Real estate valuations play a pivotal role in today’s business climate. An accurate and well supported




 and the most current market conditions.




 Professional                                            Information
 Our professionals share a commitment to deliver         Today’s business climate places valuation in a more
 the highest level of service and consistent results.    pivotal position than ever before. All our appraisals
                                                         are evaluated and approved by an experienced
 means meeting a tight deadline or working with a        review team to ensure our clients receive concise
 complex and challenging property.

 Technology                                              Colliers’ valuation and advisory reports give our
 Our unmatched report creation technology speeds         clients the information they need to make better
                                                         business decisions.
 centralized production system generates a wide
 range of reports and high volume portfolio orders
 without delays.




    25-00240-WLH11       Doc 10     Filed 02/19/25      Entered 02/19/25 16:03:51      Pg 112 of 189
What We Do                                                                     Real estate advisors in




                                                                                    Founding member
                                                                                    of the World Green
                                                                                     Building Council




                                                                                Recognized and ranked

                                                                                    more than any other




                                                                                  Ranked in the top 3
                                                                                   most recognized
                                                                                global commercial real
                                                                                 estate brands by The
                                                                                   Lipsey Company



                         400+
                                                                                Ranked in the world’s
                                                                                 top female-friendly
                                                                                     companies.

                         30,000+
                         assignments completed annually



                         63
                         Valuation & Advisory Services
                         market locations across the country
      *2022 statistics




   25-00240-WLH11            Doc 10   Filed 02/19/25    Entered 02/19/25 16:03:51     Pg 113 of 189
Valuation & Advisory Services National Leadership
Jeremy Walling, MAI, MRICS
President | US                                 Executive Vice President
Valuation & Advisory Services                  Eastern US
Jeremy.Walling@colliers.com                    PJ.Cusmano@colliers.com
+1 312 371 4920

Executive Vice President                       Executive Vice President
Western US                                     US Client Relations & Service
                                               Jerry.Gisclair@colliers.com



Executive Managing Director                    Executive Managing Director
Advisory Services                              Quality Assurance
Bruce.Nell@colliers.com                        AJ.Hutson@colliers.com
                                               +1 704 973 7202


Our Experts
To learn more about our Regional and Market Valuation




Why work with Colliers?




                   estate solutions to support your growth strategy.




                   on what you do best. You can count on us to stay focused on your priorities.




                   We attract an exemplary roster of top valuation experts across the United States –
                   specialists who save you time and money by cutting through the noise to deliver the
                   most favorable outcome.




25-00240-WLH11             Doc 10   Filed 02/19/25    Entered 02/19/25 16:03:51         Pg 114 of 189
                           EXHIBIT B




25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 115 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 116 of 189Exhibit - 2
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 117 of 189Exhibit - 3
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 118 of 189Exhibit - 4
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 119 of 189Exhibit - 5
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 120 of 189Exhibit - 6
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 121 of 189Exhibit - 7
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 122 of 189Exhibit - 8
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 123 of 189Exhibit - 9
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 124 of 189
                                                                                   Exhibit - 10
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 125 of 189
                                                                                   Exhibit - 11
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 126 of 189
                                                                                   Exhibit - 12
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 127 of 189
                                                                                   Exhibit - 13
                           EXHIBIT C




25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 128 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 15
                                                                       Pg 129 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 16
                                                                       Pg 130 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 17
                                                                       Pg 131 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 18
                                                                       Pg 132 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 19
                                                                       Pg 133 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 20
                                                                       Pg 134 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 21
                                                                       Pg 135 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 22
                                                                       Pg 136 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 23
                                                                       Pg 137 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 24
                                                                       Pg 138 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 25
                                                                       Pg 139 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 26
                                                                       Pg 140 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 27
                                                                       Pg 141 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 28
                                                                       Pg 142 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 29
                                                                       Pg 143 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 30
                                                                       Pg 144 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 31
                                                                       Pg 145 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 32
                                                                       Pg 146 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 33
                                                                       Pg 147 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 34
                                                                       Pg 148 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 35
                                                                       Pg 149 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 36
                                                                       Pg 150 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 37
                                                                       Pg 151 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 38
                                                                       Pg 152 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 39
                                                                       Pg 153 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 40
                                                                       Pg 154 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 41
                                                                       Pg 155 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 42
                                                                       Pg 156 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 43
                                                                       Pg 157 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 44
                                                                       Pg 158 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 45
                                                                       Pg 159 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 46
                                                                       Pg 160 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 47
                                                                       Pg 161 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 48
                                                                       Pg 162 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 49
                                                                       Pg 163 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 50
                                                                       Pg 164 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 51
                                                                       Pg 165 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 52
                                                                       Pg 166 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 53
                                                                       Pg 167 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 54
                                                                       Pg 168 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 55
                                                                       Pg 169 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 56
                                                                       Pg 170 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 57
                                                                       Pg 171 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 58
                                                                       Pg 172 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 59
                                                                       Pg 173 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 60
                                                                       Pg 174 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 61
                                                                       Pg 175 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 62
                                                                       Pg 176 of 189
                           EXHIBIT D




25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 177 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 64
                                                                       Pg 178 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 65
                                                                       Pg 179 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 66
                                                                       Pg 180 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 67
                                                                       Pg 181 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 68
                                                                       Pg 182 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 69
                                                                       Pg 183 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 70
                                                                       Pg 184 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 71
                                                                       Pg 185 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 72
                                                                       Pg 186 of 189
25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51               Exhibit - 73
                                                                       Pg 187 of 189
                           EXHIBIT E




25-00240-WLH11   Doc 10   Filed 02/19/25   Entered 02/19/25 16:03:51   Pg 188 of 189
                                                         6 Months Income/Expense Buget
                                                                Owner = Amity Court LLC
                                                               Period = Feb 2025-Jul 2025


ACCOUNT                               Feb 11-28 2025     Mar 2024            Apr 2024           May 2024          Jun 2024           Jul 2024           Total


INCOME
   Rent-Commercial                           23,352.02       33,670.28            33,670.28         33,670.28         33,670.28          33,670.28        191,703.42
   Parking                                    1,600.50        2,425.00             2,425.00          2,425.00          2,425.00           2,425.00         13,725.50
TOTAL INCOME                                24,952.52       36,095.28           36,095.28          36,095.28         36,095.28          36,095.28       205,428.92


OPERATION EXPENSES
   Repair                                     4,970.00        2,500.00             2,500.00          2,500.00          2,500.00           2,500.00         17,470.00
   Janitorial                                   963.00        1,543.00             1,562.00          1,532.00          1,525.00           1,509.00          8,634.00
   HVAC                                         370.00          425.00                425.00           870.00          2,250.00           1,980.00          6,320.00
   Gardening                                     87.00          132.00                132.00           132.00            132.00             132.00              747.00
   Advertising                                   50.00              75.00               75.00           75.00                75.00              75.00           425.00
   Property Tax                               3,519.00        5,331.22             5,331.22          5,331.22          5,331.22           5,331.22         30,175.10
   Property Insurance                           271.00          410.00                410.00           410.00            410.00             410.00          2,321.00
   Software Fees                                145.00               0.00             220.40               0.00          220.40                  0.00           585.80
   Electricity                                3,000.00        4,543.44             3,700.00          1,800.00          1,800.00           4,500.00         19,343.44
   Water and Sewer                                0.00          920.00                   0.00          920.00                 0.00          920.00          2,760.00
   Trash Disposal                               278.00          420.00                420.00           420.00            420.00             420.00          2,378.00
   Bank Fees                                     10.00              15.00               15.00           15.00                15.00              15.00            85.00
   UST Fees                                       0.00               0.00             650.00               0.00               0.00          650.00          1,300.00
   Management Fees                            1,248.00        1,804.76             1,804.76          1,804.76          1,804.76           1,804.76         10,271.80
TOTAL OPERATION EXPENSES                    14,911.00       18,119.42           17,245.38          15,809.98         16,483.38          20,246.98       102,816.14


NET OPERATION INCOME                        10,041.52       17,975.86           18,849.90          20,285.30         19,611.90          15,848.30       102,612.78




                                                                        Page 1 of 1


                     25-00240-WLH11   Doc 10      Filed 02/19/25            Entered 02/19/25 16:03:51               Pg 189 of 189
